        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 1 of 162



LYNN SARKO
lsarko@kellerrohrback.com
pro hac vice forthcoming
KELLER ROHRBACK L.L.P.
1201 Third Avenue, Suite 3200
Seattle, WA 98101
Telephone: (206) 623-1900
Facsimile: (206) 623-3384

JAN M. BENNETTS
ADA COUNTY PROSECUTING ATTORNEY

ERICA J. WHITE
civilpafiles@adaweb.net
Idaho State Bar No. 7475
Deputy Prosecuting Attorney
Civil Division
200 W. Front Street, Room 3191
Boise, ID 83702
Telephone: (208) 287-7700
Facsimile: (208) 287-7719

Attorneys for Plaintiff

Additional Counsel on Signature Page


                          UNITED STATES DISTRICT COURT
                               DISTRICT OF IDAHO
                               SOUTHERN DIVISION
ADA COUNTY,

                     Plaintiff,            No. 1:19-cv-00216

v.                                         COMPLAINT

PURDUE PHARMA, L.P.; PURDUE                DEMAND FOR JURY TRIAL
PHARMA, INC.; THE PURDUE
FREDERICK COMPANY, INC.;
RICHARD S. SACKLER; JONATHAN D.
SACKLER; MORTIMER D.A. SACKLER;
KATHE A. SACKLER; ILENE SACKLER
LEFCOURT; BEVERLY SACKLER;
THERESA SACKLER; DAVID A.
SACKLER; TRUST FOR THE BENEFIT
     Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 2 of 162



OF MEMBERS OF THE RAYMOND
SACKLER FAMILY; RHODES
PHARMACEUTICALS L.P.; RHODES
TECHNOLOGIES INC.; RHODES
PHARMACEUTICALS INC.; RHODES
TECHNOLOGIES; ENDO HEALTH
SOLUTIONS, INC.; ENDO
PHARMACEUTICALS, INC.; JANSSEN
PHARMACEUTICALS, INC.; JOHNSON
& JOHNSON; TEVA
PHARMACEUTICALS INDUSTRIES,
LTD.; TEVA PHARMACEUTICALS USA,
INC.; CEPHALON, INC.; ALLERGAN
PLC F/K/A ACTAVIS PLC; ALLERGAN
FINANCE, LLC F/K/A ACTAVIS, INC.
F/K/A WATSON PHARMACEUTICALS,
INC.; WATSON LABORATORIES, INC.;
ACTAVIS LLC; ACTAVIS PHARMA,
INC. F/K/A WATSON PHARMA, INC;
MALLINCKRODT PLC;
MALLINCKRODT, LLC; SPECGX LLC;
CARDINAL HEALTH, INC.; MCKESSON
CORPORATION;
AMERISOURCEBERGEN DRUG
CORPORATION; AND JOHN AND JANE
DOES 1 THROUGH 100,

               Defendants.
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 3 of 162



                                        TABLE OF CONTENTS

I.     INTRODUCTION .............................................................................................. 1

II.    PARTIES ............................................................................................................ 7

III.   JURISDICTION AND VENUE ........................................................................ 18

IV.    FACTUAL ALLEGATIONS ............................................................................ 19

       A.        History and Background of Medical Use of Opioids .............................. 19

       B.        The Sackler Family Played a Pivotal Role in Setting the Stage
                 for the Worst Man-Made Epidemic in Modern Medical History
                 ............................................................................................................... 23

                 1.        The Sackler family pioneered the integration of
                           advertising and medicine. ............................................................ 23

                 2.        The Sacklers were personally involved in the
                           development and aggressive marketing of OxyContin. ................ 27

                 3.        Following reports of OxyContin abuse and federal
                           investigations, the Sacklers continued to promote
                           opioids but took steps to shield their assets from
                           judgment. .................................................................................... 32

                 4.        In response to enforcement actions in the United States,
                           the Sacklers have moved their aggressive opioid
                           marketing—and their wealth—overseas. ..................................... 36

       C.        The Booming Business of Addiction. ..................................................... 40

                 1.        Other Manufacturing Defendants leapt at the opioid
                           opportunity. ................................................................................. 40

                 2.        Distributor Defendants knowingly supplied dangerous
                           quantities of opioids while advocating for limited
                           oversight and enforcement. .......................................................... 45

                 3.        Pill mills and overprescribing doctors also placed their
                           financial interests ahead of their patients’ interests. ..................... 49




                                                               i
Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 4 of 162



     4.       Widespread prescription opioid use broadened the
              market for heroin and fentanyl. .................................................... 52

D.   The Marketing Defendants Promoted Prescription Opioids
     Through Several Channels. .................................................................... 56

     1.       The Marketing Defendants aggressively deployed sales
              representatives to push their products. ......................................... 57

     2.       The Marketing Defendants bankrolled seemingly
              independent “front groups” to promote opioid use and
              fight restrictions on opioids. ........................................................ 63

     3.       “It was pseudoscience”: the Marketing Defendants paid
              prominent physicians to promote their products........................... 68

     4.       The Marketing Defendants used “unbranded”
              advertising as a platform for their misrepresentations
              about opioids. .............................................................................. 75

E.   Specific Misrepresentations Made by the Marketing
     Defendants. ............................................................................................ 76

     1.       The Marketing Defendants falsely claimed that the risk
              of opioid abuse and addiction was low. ....................................... 77

     2.       The Marketing Defendants falsely claimed that opioids
              were proven effective for chronic pain and would
              improve quality of life. ................................................................ 91

     3.       The Marketing Defendants falsely claimed doctors and
              patients could increase opioid usage indefinitely
              without added risk. ...................................................................... 95

     4.       The Marketing Defendants falsely instructed doctors
              and patients that more opioids were the solution when
              patients presented symptoms of addiction. ................................. 101

     5.       The Marketing Defendants falsely claimed that risk-
              mitigation strategies, including tapering and abuse-
              deterrent technologies, made it safe to prescribe opioids
              for chronic use. .......................................................................... 105




                                                ii
      Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 5 of 162



     F.      Research Demonstrates that the Manufacturing Defendants’
             Claims are False. .................................................................................. 111

     G.      The 2016 CDC Guideline and Other Recent Analyses Confirm
             That the Marketing Defendants’ Statements About the Risks
             and Benefits of Opioids Are Patently False. ......................................... 113

     H.      Ada County Has Been Directly Affected by the Opioid
             Epidemic Caused by Defendants. ......................................................... 120

             1.        Ada County’s law enforcement and criminal justice
                       system have incurred substantial costs in responding to
                       the epidemic caused by Defendants. .......................................... 122

             2.        Ada County Paramedics has expended extraordinary
                       resources confronting the opioid epidemic. ................................ 123

             3.        The opioid epidemic has contributed to homelessness in
                       Ada County. .............................................................................. 124

             4.        Defendants’ conduct has increased Ada County’s
                       insurance costs. ......................................................................... 126

     I.      No Federal Agency Action, Including by the FDA, Can
             Provide the Relief Ada County Seeks Here. ......................................... 126

V.   CLAIMS FOR RELIEF .................................................................................. 127

                           VIOLATIONS OF THE IDAHO UNFAIR AND
             DECEPTIVE TRADE PRACTICES ACT, I.C. § 48-601, ET
             SEQ................................................................................................... 127

                              PUBLIC NUISANCE ..................................................... 129

                                 NEGLIGENCE ........................................................... 131

                               NEGLIGENCE PER SE ................................................ 133

                             UNJUST ENRICHMENT ............................................... 134

                           VIOLATIONS OF THE RACKETEER
             INFLUENCED AND CORRUPT ORGANIZATIONS ACT
             (“RICO”), 18 U.S.C. § 1961, ET SEQ. .............................................. 134




                                                        iii
          Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 6 of 162



        A.       Description of the Defendants’ Enterprises........................................... 135

        B.       The Enterprises Sought to Fraudulently Increase Defendants’
                 Profits and Revenues ............................................................................ 139

        C.       Predicate Acts: Mail and Wire Fraud .................................................... 143

        D.       Ada County Has Been Damaged by Defendants’ RICO
                 Violations............................................................................................. 153

PUNITIVE DAMAGES ............................................................................................ 155

PRAYER FOR RELIEF ............................................................................................ 155

JURY TRIAL DEMAND .......................................................................................... 156




                                                            iv
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 7 of 162




                                    I.      INTRODUCTION

       1.      The United States is experiencing the worst man-made epidemic in modern

medical history—the misuse, abuse, and over-prescription of opioids.

       2.      Since 2000, more than 400,000 Americans have lost their lives to an opioid

overdose, more than five times as many American lives as were lost in the entire Vietnam War.

On any given day, 134 people will die from opioid overdoses in the United States. Drug

overdoses are now the leading cause of death for Americans under age fifty. The recent increases

in drug overdose deaths have been so steep that they have contributed to reductions in the

country’s life expectancy over the last three years, a pattern unprecedented since World War II.

       3.      The opioid crisis has become a public health emergency. Plaintiff Ada County,

with over 450,000 residents, has been deeply affected by the crisis. The opioid abuse prevalent

throughout the County has affected Plaintiff in numerous ways, not only through the need for

increased emergency medical services, but also through increased drug-related offenses affecting

law enforcement, corrections, and courts, and through additional resources spent on community

and social programs, including for the next generation of Ada County residents, who are growing

up in the shadow of the opioid epidemic.

       4.      While the County has committed considerable resources to deal with the crisis,

fully addressing the crisis requires that those responsible for it pay for their conduct and to abate

the nuisance and harms they have created in Ada County.

       5.      The opioid epidemic is no accident. On the contrary, it is the foreseeable

consequence of Defendants’ reckless and misleading promotion of potent narcotics as safe and

effective treatment for pain and their relentless distribution of hundreds of millions of pills into




                                                  1
          Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 8 of 162



American communities when they knew or should have known those pills were being diverted to

illicit use.

         6.    Defendant Purdue set the stage for the opioid epidemic, through the production

and promotion of its blockbuster drug, OxyContin. Purdue introduced a drug with a narcotic

payload many times higher than that of previous prescription painkillers, while executing a

sophisticated, multi-pronged marketing campaign to change prescribers’ perception of the risk of

opioid addiction and to portray opioids as effective treatment for chronic pain. Purdue pushed its

message of opioids as a low-risk panacea on doctors and the public through every available

avenue, including through direct marketing, front groups, key opinion leaders, unbranded

advertising, and hundreds of sales representatives who visited doctors and clinics on a regular

basis.

         7.    As sales of OxyContin and Purdue’s profits surged, Defendants Endo, Janssen,

Teva, Actavis, and Mallinckrodt—as explained in further detail below— added additional

prescription opioids, aggressive sales tactics, and dubious marketing claims of their own to the

deepening crisis. They paid hundreds of millions of dollars to market and promote the drugs,

notwithstanding their dangers, and pushed bought-and-paid-for “science” supporting the safety

and efficacy of opioids that lacked any basis in fact or reality. Obscured from the marketing was

the fact that prescription opioids are not much different than heroin—indeed on a molecular

level, they are virtually indistinguishable.

         8.    The opioid epidemic simply could not have become the crisis it is today without

an enormous supply of pills. After the aggressive and misleading marketing of branded opioids

like OxyContin and Opana ignited the epidemic, generic opioids fanned the flames. Defendants

Mallinckrodt, Actavis, Teva, Endo, and Rhodes manufactured and shipped enormous volumes of




                                                2
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 9 of 162



generic opioids to communities across the United States, including Plaintiff’s. Defendants

McKesson, Cardinal Health, and AmerisourceBergen raked in huge profits from the distribution

of branded and generic opioids alike. These companies knew precisely the quantities of potent

narcotics they were delivering to communities across the country, including Ada County. Yet not

only did these Defendants intentionally disregard their monitoring and reporting obligations

under federal law, they also actively sought to evade restrictions and obtain higher quotas to

enable the distribution of even larger shipments of opioids.

       9.      Defendants’ efforts were remarkably successful: since the mid-1990s, opioids

have become the most prescribed class of drugs in America. Between 1991 and 2011, opioid

prescriptions in the U.S. tripled from 76 million to 219 million per year.1 In 2013, health care

providers wrote more than 249 million prescriptions for opioid pain medication, enough for

every adult in the United States to have more than one bottle of pills.2 In terms of annual sales,

the increase has been ten-fold; before the FDA approved OxyContin in 1995, annual opioid sales

hovered around $1 billion. By 2015, they increased to almost $10 billion. By 2020, revenues are

projected to grow to $18 billion.3

       10.     But Defendants’ profits have come at a steep price. Opioids are now the leading

cause of accidental death in the U.S., surpassing deaths caused by car accidents. Opioid overdose



1
   Nora D. Volkow, MD, America’s Addiction to Opioids: Heroin and Prescription Drug Abuse,
   Appearing before the Senate Caucus on International Narcotics Control, NIH Nat’l Inst. on
   Drug Abuse (May 14, 2014), https://www.drugabuse.gov/about-nida/legislative-
   activities/testimony-to-congress/2014/americas-addiction-to-opioids-heroin-prescription-drug-
   abuse.
2
   CDC Guideline for Prescribing Opioids for Chronic Pain, Ctrs. for Disease Control and
  Prevention, https://www.cdc.gov/drugoverdose/pdf/guidelines_at-a-glance-a.pdf (last visited
  June 10, 2019).
3
   Report: Opioid pain sales to hit $18.4B in the U.S. by 2020, CenterWatch (July 17, 2017),
   https://www.centerwatch.com/news-online/2017/07/17/report-opioid-pain-sales-hit-18-4b-u-s-
   2020/.



                                                 3
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 10 of 162



deaths (which include prescription opioids as well as heroin) have risen steeply over the past two

decades, from approximately 8,048 in 1999, to 20,422 in 2009, to over 33,091 in 2015. The

epidemic of overdose deaths shows no sign of slowing: instead, the grim toll climbed to 42,249

in 2016, and to 49,068 in 2017.4 As shown in the graph below, the surge in opioid-related deaths

in the past few years is tied to synthetic opioids such as fentanyl, which is many times more

powerful than other opioids but often illicitly manufactured to look like generic oxycodone. Fatal

overdoses involving heroin have also increased significantly since 2011. Nearly half of all opioid

overdose deaths involve a prescription opioid like those manufactured by Defendants,5 and, as

discussed further below, the increase in overdoses from non-prescription opioids such as heroin

and illicitly manufactured fentanyl is directly attributable to Defendants’ success in expanding

the market for opioids of any kind.




4
  Overdose Death Rates, NIH Nat’l Inst. on Drug Abuse, https://www.drugabuse. gov/related-
  topics/trends-statistics/overdose-death-rates (revised Aug. 2018); Drug Overdose Death Data,
  Ctrs. for Disease Control and Prevention,
  https://www.cdc.gov/drugoverdose/data/statedeaths.html (last updated Dec. 19, 2018).
5
  Understanding the Epidemic, Ctrs. for Disease Control and Prevention,
  https://www.cdc.gov/drugoverdose/epidemic/index.html (last updated Dec. 19, 2018).



                                                4
         Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 11 of 162




         11.    To put these numbers in perspective: in 1970, when a heroin epidemic swept the

U.S., there were fewer than 3,000 heroin overdose deaths. And in 1988, around the height of the

crack epidemic, there were fewer than 5,000 crack overdose deaths recorded. In 2005, at its peak,

methamphetamine was involved in approximately 4,500 deaths.

         12.    Beyond the human cost, the CDC has estimated that the total economic burden of

prescription opioid abuse costs the United States $78.5 billion per year, which includes increased

costs for health care and addiction treatment, increased strains on human services and criminal

justice systems, and substantial losses in workforce productivity.6

         13.    But even these estimates are conservative. The Council of Economic Advisers—

the primary advisor to the Executive Office of the President—recently issued a report estimating



6
    CDC Foundation’s New Business Pulse Focuses on Opioid Overdose Epidemic, Ctrs. for
    Disease Control and Prevention (Mar. 15, 2017),
    https://www.cdc.gov/media/releases/2017/a0315-Business-Pulse-opioids.html.



                                                 5
          Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 12 of 162



that as of 2015, the economic cost of the opioid crisis was $504 billion—over six times larger

than the most comprehensive study that preceded it.7 Whatever the final tally, there is no doubt

that this crisis has had a profound economic impact.

          14.   Defendants orchestrated this crisis. Despite knowing about the true hazards of

their products, Defendants misleadingly advertised their opioids as safe and effective for treating

chronic pain and pushed hundreds of millions of pills into the marketplace for consumption.

Through their sophisticated and well-orchestrated campaign, Defendants touted the purported

benefits of opioids to treat pain and downplayed the risks of addiction. Moreover, even as the

deadly toll of prescription opioid use became apparent to Defendants in years following

OxyContin’s launch, Defendants persisted in aggressively selling and distributing prescription

opioids while evading their monitoring and reporting obligations, so that excessive quantities of

addictive opioids continued to pour into Ada County and other communities around the United

States.

          15.   Defendants consistently, deliberately, and recklessly made and continue to make

false and misleading statements regarding, among other things, the low risk of addiction to

opioids, opioids’ effectiveness for chronic pain and ability to improve patients’ quality of life

with long-term use, the lack of risk associated with higher dosages of opioids, the need to

prescribe more opioids to treat withdrawal symptoms, and that risk-mitigation strategies and

abuse-deterrent technologies allow doctors to safely prescribe opioids. In addition, Defendants



7
    The Underestimated Cost of the Opioid Crisis, The Council of Econ. Advisers (Nov. 2017),
    https://static.politico.com/1d/33/4822776641cfbac67f9bc7dbd9c8/the-underestimated-cost-of-
    the-opioid-crisis-embargoed.pdf; Curtis Florence, Feijun Luo, Chao Zhou, & Likang Xu, The
    Economic Burden of Prescription Opioid Overdose, Abuse and Dependence in the United
    States, 2013, 54 Med. Care 901 (Oct. 2016),
    https://www.researchgate.net/publication/308339245_The_Economic_Burden_of_Prescription
    _Opioid_Overdose_Abuse_and_Dependence_in_the_United_States_2013.



                                                 6
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 13 of 162



made and continued to make misleading representations about their compliance with their

obligations to maintain effective controls against diversion and to report suspicious orders in

connection with the sale of opioids.

       16.     Because of Defendants’ misconduct, Ada County is experiencing a severe public

health crisis and has suffered significant economic damages, including but not limited to

increased costs related to public health, opioid-related crimes and emergencies, criminal justice,

and public safety. Ada County has incurred substantial costs in responding to the crisis and will

continue to do so in the future.

       17.     Accordingly, Ada County brings this action to hold Defendants liable for their

misrepresentations regarding the benefits and risks of prescription opioids, as well as for their

failure to monitor, detect, investigate, and report suspicious orders of those products. This

conduct (i) violates the Idaho Unfair and Deceptive Trade Practices Act (“UDTPA”), I.C. § 48-

601, et seq., (ii) constitutes a public nuisance under Idaho law, (iii) constitutes negligence under

Idaho law, (iv) has unjustly enriched Defendants, and (v) violates the Racketeer Influenced and

Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1961 et seq.

                                         II.     PARTIES

       Ada County

       18.     Plaintiff Ada County (“Plaintiff” or “County”) is an Idaho County organized and

existing under the laws of the State of Idaho.

       Purdue

       19.     Defendant Purdue Pharma, L.P. is a limited partnership organized under the laws

of Delaware. Defendant Purdue Pharma, Inc. is a New York corporation with its principal place

of business in Stamford, Connecticut. Defendant The Purdue Frederick Company is a New York




                                                  7
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 14 of 162



corporation with its principal place of business in Stamford, Connecticut. Collectively, these

entities are referred to as “Purdue.”

       20.     Each Purdue entity acted in concert with one another and acted as agents and/or

principals of one another in connection with the conduct described herein.

       21.     Purdue manufactures, promotes, sells, markets, and distributes opioids such as

OxyContin, MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq ER.

       22.     Purdue generates substantial sales revenue from its opioids. For example,

OxyContin is Purdue’s best-selling opioid, and since 2009, Purdue has generated between $2 and

$3 billion annually in sales of OxyContin alone.

       Sackler Family Defendants

       23.     Defendant Richard S. Sackler has resided in Travis County, Texas, since 2013. He

became member of Purdue’s board of directors in the early 1990s. In 1999, he became Purdue’s

president.

       24.     Defendant Jonathan D. Sackler resides in Fairfield County, Connecticut. He

became member of Purdue’s board of directors in the early 1990s.

       25.     Defendant Mortimer D.A. Sackler resides in New York County, New York. He

became member of Purdue’s board of directors in the 1990s.

       26.     Defendant Kathe A. Sackler resides in Fairfield County, Connecticut. She became

a member of Purdue’s board of directors in the early 1990s.

       27.     Defendant Ilene Sackler Lefcourt resides in New York County, New York. She

became a member of Purdue’s board of directors in the early 1990s.

       28.     Defendant Beverly Sackler resides in Fairfield County, Connecticut. She became

a member of Purdue’s board of directors in the 1990s.




                                                   8
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 15 of 162



       29.     Defendant Theresa Sackler resides in New York County, New York. She became

a member of Purdue’s board of directors in the 1990s.

       30.     Defendant David A. Sackler resides in New York County, New York. He became

a member of Purdue’s board of directors in 2012.

       31.     Defendant Trust for the Benefit of Members of the Raymond Sackler Family (the

“Sackler Trust”) is a trust for which Defendants Beverly Sackler, Jonathan D. Sackler, and/or

Richard S. Sackler are trustees. The Sackler Trust is the 50% direct or indirect beneficial owner

of Purdue and Purdue-related entities and the recipient of 50% of profits from the sale of opioids

by Purdue and Purdue-related entities.

       32.     Collectively, Richard S. Sackler, Jonathan D. Sackler, Mortimer D.A. Sackler,

Kathe A. Sackler, Ilene Sackler Lefcourt, Beverly Sackler, Theresa Sackler, David A. Sackler,

and the Sackler Trust are referred to as the “Sackler Family Defendants.”

       Rhodes

       33.     Defendant Rhodes Pharmaceuticals L.P. is a Delaware limited partnership formed

November 9, 2007, with its principal place of business in Coventry, Rhode Island. At all relevant

times, Rhodes Pharmaceuticals L.P. has marketed generic prescription opioids, including a

generic form of OxyContin, which is manufactured by Purdue Pharmaceuticals L.P.

       34.     Defendant Rhodes Pharmaceuticals Inc. is a New York corporation formed on

November 9, 2007. Rhodes Pharmaceuticals Inc. is a general partner of Rhodes Pharmaceuticals

L.P. Rhodes Pharmaceuticals Inc. is a general partner of Rhodes Pharmaceuticals L.P. At all

relevant times, Rhodes Pharmaceuticals Inc. has marketed generic prescription opioids, including

a generic form of OxyContin, which is manufactured by Purdue Pharmaceuticals L.P.




                                                9
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 16 of 162



       35.     Defendant Rhodes Technologies is a Delaware general partnership formed on

April 12, 2005, with its principal place of business in Coventry, Rhode Island. At all relevant

times, Rhodes Technologies or its predecessor has manufactured and supplied Purdue with

oxycodone, the active pharmaceutical ingredient in OxyContin, for use in the manufacture of

pharmaceutical preparations.

       36.     Defendant Rhodes Technologies Inc. is a Delaware corporation formed January

28, 1999, with its principal place of business in Coventry, Rhode Island. Rhodes Technologies

Inc. is a general partner of Rhodes Technologies. At all relevant times, Rhodes Technologies Inc.

has manufactured and supplied Purdue with oxycodone, the active pharmaceutical ingredient in

OxyContin, for use in the manufacture of pharmaceutical preparations or has managed Rhodes

Technologies or its predecessor in doing so.

       37.     Rhodes Pharmaceuticals L.P., Rhodes Pharmaceuticals Inc., Rhodes

Technologies, and Rhodes Technologies Inc. are collectively referred to as “Rhodes.”

       Endo

       38.     Defendant Endo Pharmaceuticals, Inc. is a wholly owned subsidiary of Defendant

Endo Health Solutions Inc. Both are Delaware corporations with their principal place of business

in Malvern, Pennsylvania. Collectively, these entities are referred to as “Endo.”

       39.     Each Endo entity acted in concert with one another and acted as agents and/or

principals of one another in connection with the conduct described herein.

       40.     Endo manufactures, promotes, sells, markets, and distributes opioids such as

Percocet, Opana, and Opana ER.




                                                10
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 17 of 162



       41.     Endo generates substantial sales from its opioids. For example, opioids accounted

for more than $400 million of Endo’s overall revenues of $3 billion in 2012, and Opana ER

generated more than $1 billion in revenue for Endo in 2010 and 2013.

       Janssen and Johnson & Johnson

       42.     Defendant Janssen Pharmaceuticals, Inc. is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey, and is a wholly owned subsidiary of

Defendant Johnson & Johnson, a New Jersey corporation with its principal place of business in

New Brunswick, New Jersey. Collectively, these entities are referred to as “Janssen.”

       43.     Both entities above acted in concert with one another and acted as agents and/or

principals of one another in connection with the conduct described herein.

       44.     Johnson & Johnson is the only company that owns more than 10% of Janssen

Pharmaceuticals, Inc., and corresponds with the FDA regarding the drugs manufactured by

Janssen Pharmaceuticals, Inc. Johnson & Johnson also paid prescribers to speak about opioids

manufactured by Janssen Pharmaceuticals, Inc. In short, Johnson & Johnson controls the sale and

development of the drugs manufactured by Janssen Pharmaceuticals, Inc.

       45.     Janssen manufactures, promotes, sells, markets, and distributes opioids such as

Duragesic, Nucynta, and Nucynta ER. Janssen stopped manufacturing Nucynta and Nucynta ER

in 2015.

       46.     Janssen generates substantial sales revenue from its opioids. For example,

Duragesic accounted for more than $1 billion in sales in 2009, and Nucynta and Nucynta ER

accounted for $172 million in sales in 2014.




                                               11
          Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 18 of 162



          Cephalon and Teva

          47.    Defendant Cephalon, Inc. (“Cephalon”) is a Delaware corporation with its

principal place of business in Frazer, Pennsylvania. Defendant Teva Pharmaceutical Industries,

Ltd. (“Teva Ltd.”) is an Israeli corporation with its principal place of business in Petah Tikva,

Israel. In 2011, Teva Ltd. acquired Cephalon. Defendant Teva Pharmaceuticals USA, Inc. (“Teva

USA”) is a Delaware corporation and a wholly owned subsidiary of Teva Ltd. in Pennsylvania.

Teva USA acquired Cephalon in October 2011.

          48.    Cephalon manufactures, promotes, sells, and distributes opioids, including Actiq

and Fentora, in the United States.

          49.    Teva Ltd., Teva USA, and Cephalon work together closely to market and sell

Cephalon products in the United States. Teva Ltd. conducts all sales and marketing activities for

Cephalon in the United States through Teva USA and has done so since its October 2011

acquisition of Cephalon. Teva Ltd. and Teva USA hold out Actiq and Fentora as Teva products

to the public. Teva USA sells all former Cephalon-branded products through its “specialty

medicines” division. The FDA-approved prescribing information and medication guide, which

are distributed with Cephalon opioids, disclose that the guide was submitted by Teva USA, and

directs physicians to contact Teva USA to report adverse events.

          50.    All of Cephalon’s promotional websites, including those for Actiq and Fentora,

display Teva Ltd.’s logo.8 Teva Ltd.’s financial reports list Cephalon’s and Teva USA’s sales as

its own, and its year-end report for 2012—the year following the Cephalon acquisition in

October 2011—attributed a 22% increase in its specialty medicine sales to “the inclusion of a




8
    Actiq, http://www.actiq.com/ (last visited June 10, 2019).



                                                  12
         Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 19 of 162



full year of Cephalon’s specialty sales,” including sales of Fentora.9 Through interrelated

operations like these, Teva Ltd. operates in the United States through its subsidiaries Cephalon

and Teva USA. The United States is the largest of Teva Ltd.’s global markets, representing 53%

of its global revenue in 2015, and, were it not for the existence of Teva USA and Cephalon, Teva

Ltd. would conduct those companies’ business in the United States itself.

         51.    Upon information and belief, Teva Ltd. directs the business practices of Cephalon

and Teva USA, and their profits inure to the benefit of Teva Ltd. as controlling shareholder.

Collectively, these entities are referred to as “Teva.”

         Allergan, Actavis, and Watson

         52.    Defendant Allergan plc is a public limited company incorporated in Ireland with

its principal place of business in Dublin, Ireland. Actavis plc acquired Allergan, Inc. in March

2015, and the combined company changed its name to Allergan plc in June 2015. Actavis plc

(formerly known as Actavis Limited) was incorporated in Ireland in May 2013 for the merger

between Actavis, Inc. and Warner Chilcott plc.

         53.    Defendant Watson Pharmaceuticals, Inc. acquired Actavis Group in October 2012

and changed its name to Actavis, Inc. as of January 2013.

         54.    Defendant Allergan Finance, LLC (formerly known as Actavis, Inc.) is based in

Parsippany, New Jersey. It operates as a subsidiary of Allergan plc.

         55.    Defendant Watson Laboratories, Inc. is a Nevada corporation with its principal

place of business in Corona, California, and is a wholly owned subsidiary of Allergan plc (f/k/a

Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.).




9
    Teva Pharm. Indus. Ltd. Form 20-F, U.S. Sec. and Exchange Commission (Feb. 12, 2013),
    http://annualreports.com/HostedData/AnnualReportArchive/t/NASDAQ_TEVA_2012.pdf.



                                                 13
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 20 of 162



       56.     Defendant Actavis Pharma, Inc. is registered to do business in the State of Idaho

as a Delaware corporation with its principal place of business in New Jersey and was formerly

known as Watson Pharma, Inc.

       57.     Defendant Actavis LLC is a Delaware limited liability company with its principal

place of business in Parsippany, New Jersey.

       58.     Each of these defendants and entities is owned by Defendant Allergan plc, which

uses them to market and sell its drugs in the United States. Upon information and belief,

Defendant Allergan plc exercises control over these marketing and sales efforts and profits from

the sale of Allergan/Actavis/Watson products ultimately inure to its benefit. Collectively, these

defendants and entities are referred to as “Actavis.”

       59.     Actavis manufactures, promotes, sells, and distributes opioids in the United

States, including the branded drugs Kadian and Norco and generic versions of Kadian,

Duragesic, and Opana. Actavis acquired the rights to Kadian from King Pharmaceuticals, Inc. on

December 30, 2008, and began marketing Kadian in 2009.

       Mallinckrodt

       60.     Defendant Mallinckrodt plc is an Irish public limited company headquartered in

Staines-upon-Thames, United Kingdom, with its U.S. headquarters in St. Louis, Missouri.

Mallinckrodt plc was incorporated in January 2013 for the purpose of holding the

pharmaceuticals business of Covidien plc, which was fully transferred to Mallinckrodt in June of

that year. Mallinckrodt began as a U.S.-based company, with the founding of Mallinckrodt &

Co. in 1867; Tyco International Ltd. acquired the company in 2000. In 2008, Tyco Healthcare

Group separated from Tyco International and renamed itself Covidien.




                                                14
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 21 of 162



       61.     Defendant Mallinckrodt, LLC is a limited liability company organized and

existing under the laws of the State of Delaware. Mallinckrodt, LLC is a wholly owned

subsidiary of Mallinckrodt plc.

       62.     Formed in 2017, Defendant SpecGX LLC is a Delaware limited liability company

with its principal place of business in St. Louis, Missouri, and is a wholly owned subsidiary of

Defendant Mallinckrodt plc. SpecGX LLC manufactures Mallinckrodt’s generic products and

bulk active pharmaceutical ingredients (APIs).

       63.     Mallinckrodt plc, Mallinckrodt, LLC, and SpecGX LLC are referred to

collectively as “Mallinckrodt.”

       64.     Mallinckrodt manufactures, markets, and sells drugs in the United States. As of

2012, it was the largest U.S. supplier of opioid pain medications. In particular, it is one of the

largest manufacturers of oxycodone in the U.S.

       65.     Mallinckrodt currently manufactures and markets two branded opioids: Exalgo,

which is extended-release hydromorphone, sold in 8, 12, 16, and 32 mg dosage strengths, and

Roxicodone, which is oxycodone, sold in 15 and 30 mg dosage strengths. In addition,

Mallinckrodt previously developed, promoted, and sold the following branded opioid products:

Magnacet, TussiCaps, and Xartemis XR.

       66.     While it has sought to develop its branded opioid products, Mallinckrodt has long

been a leading manufacturer of generic opioids. Mallinckrodt estimated that in 2015 it received

approximately 25% of the U.S. Drug Enforcement Administration’s (“DEA”) entire annual quota

for controlled substances that it manufactures. Mallinckrodt also estimated, based on IMS Health

data for the same period, that its generics claimed an approximately 23% market share of DEA

Schedules II and III opioid and oral solid dose medications.




                                                 15
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 22 of 162



       67.     Mallinckrodt operates a vertically integrated business in the United States: (1)

importing raw opioid materials; (2) manufacturing generic opioid products, primarily at its

facility in Hobart, New York; and (3) marketing and selling its products to drug distributors,

specialty pharmaceutical distributors, retail pharmacy chains, pharmaceutical benefit managers

that have mail-order pharmacies, and hospital buying groups.

       68.     In 2017, Mallinckrodt agreed to settle for $35 million the Department of Justice’s

allegations regarding excessive sales of oxycodone in Florida. The Department of Justice alleged

that even though Mallinckrodt knew that its oxycodone was being diverted to illicit use, it

nonetheless continued to incentivize and supply these suspicious sales, and it failed to notify the

DEA of the suspicious orders in violation of its obligations as a registrant under the Controlled

Substances Act, 21 U.S.C. § 801 et seq. (“CSA”).

       69.     Defendants Purdue, Sackler Family Defendants, Endo, Janssen, Teva, Actavis,

and Mallinckrodt are collectively referred to as the “Marketing Defendants.” These Marketing

Defendants together with Rhodes are collectively referred to as the “Manufacturing Defendants.”

       AmerisourceBergen

       70.     Defendant AmerisourceBergen Drug Corporation (“AmerisourceBergen”) is a

Delaware corporation with its principal place of business located in Chesterbrook, Pennsylvania.

       71.     According to its 2016 Annual Report, AmerisourceBergen is “one of the largest

global pharmaceutical sourcing and distribution services companies” with “over $145 billion in

annual revenue.”

       72.     AmerisourceBergen is licensed as a “wholesale distributor” to sell prescription

and non-prescription drugs, including opioids, in Idaho.




                                                16
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 23 of 162



       Cardinal Health

       73.     Defendant Cardinal Health, Inc. (“Cardinal Health”) is an Ohio Corporation with

its principal place of business in Dublin, Ohio.

       74.     According to its 2017 Annual Report, Cardinal Health is “a global, integrated

healthcare services and products company serving hospitals, healthcare systems, pharmacies,

ambulatory surgery centers, clinical laboratories and physician offices worldwide . . .

deliver[ing] medical products and pharmaceuticals.” In 2017 alone, Cardinal Health generated

revenues of nearly $130 billion.

       75.     Cardinal Health is licensed as a “wholesale distributor” to sell prescription and

non-prescription drugs, including opioids, in Idaho.

       McKesson

       76.     Defendant McKesson Corporation (“McKesson”) is a Delaware Corporation with

its principal place of business in San Francisco, California.

       77.     McKesson is the largest pharmaceutical distributor in North America, delivering

nearly one-third of all pharmaceuticals used in this region.

       78.     According to its 2017 Annual Report, McKesson “partner[s] with pharmaceutical

manufacturers, providers, pharmacies, governments and other organizations in healthcare to help

provide the right medicines, medical products and healthcare services to the right patients at the

right time, safely and cost-effectively.” Additionally, McKesson’s pharmaceutical distribution

business operates and serves thousands of customer locations through a network of twenty-seven

distribution centers, as well as a primary redistribution center, two strategic redistribution centers

and two repackaging facilities, serving all fifty states and Puerto Rico.




                                                   17
          Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 24 of 162



          79.     For the fiscal year ending March 31, 2017, McKesson generated revenues of

$198.5 billion.

          80.     McKesson is licensed as a “wholesale distributor” to sell prescription and non-

prescription drugs, including opioids, in Idaho.

          81.     Collectively, McKesson, AmerisourceBergen, and Cardinal Health (together

“Distributor Defendants”) account for approximately 85% of all drug shipments in the United

States.

          John and Jane Does 1-100, inclusive

          82.     In addition to the Defendants identified herein, the true names, roles, and/or

capacities in the wrongdoing alleged herein of Defendants named John and Jane Does 1 through

100, inclusive, are currently unknown to Plaintiff, and thus, are named as Defendants under

fictitious names as permitted by the rules of this Court. Plaintiff will amend this complaint and

identify their true identities and their involvement in the wrongdoing at issue, as well as the

specific causes of action asserted against them when they become known.

                               III.    JURISDICTION AND VENUE

          83.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332. The

Court also has federal question subject matter jurisdiction arising out of Plaintiff’s RICO claims

pursuant to 28 U.S.C. § 1331 and 18 U.S.C. § 1961, et seq.

          84.     Venue in this Court is proper under 28 U.S.C. § 1391(b).




                                                   18
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 25 of 162



                              IV.     FACTUAL ALLEGATIONS

A.     History and Background of Medical Use of Opioids

       85.     The term “opioid” refers to a class of drugs that bind with opioid receptors in the

brain and includes natural, synthetic, and semi-synthetic opioids.10 Generally used to treat pain,

opioids produce multiple effects on the human body, the most significant of which are analgesia,

euphoria, and respiratory depression. In addition, opioids cause sedation and constipation.

       86.     Most of these effects are medically useful in certain situations, but respiratory

depression is the primary limiting factor for the use of opioids. While the body develops

tolerance to the analgesic and euphoric effects of opioids relatively quickly, this is not true with

respect to respiratory depression. At high doses, opioids can and often do arrest respiration

altogether. This is why the risk of opioid overdose is so high, and why many of those who

overdose simply go to sleep and never wake up.

       87.     Natural opioids are derived from the opium poppy and have been used since

antiquity, going as far back as 3400 B.C. The opium poppy contains various opium alkaloids,

three of which are used commercially today: morphine, codeine, and thebaine.

       88.     A 16th-century European alchemist, Paracelsus, is generally credited with

developing a tincture of opium and alcohol called laudanum, but it was a British physician a

century later who popularized the use of laudanum in Western medicine. “Sydenham’s

laudanum” was a simpler tincture than Paracelsus’s and was widely adopted as a treatment not




10
  At one time, the term “opiate” was used for natural opioids, while “opioid” referred to
 synthetic substances manufactured to mimic opiates. Now, however, most medical
 professionals use “opioid” to refer broadly to natural, semi-synthetic, and synthetic opioids. A
 fourth class of opioids, endogenous opioids (e.g., endorphins), is produced naturally by the
 human body.



                                                 19
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 26 of 162



only for pain, but for coughs, dysentery, and numerous other ailments. Laudanum contains

almost all of the opioid alkaloids and is still available by prescription today.

       89.     Chemists first isolated the morphine and codeine alkaloids in the early 1800s, and

the pharmaceutical company Merck began large-scale production and commercial marketing of

morphine in 1827. During the American Civil War, field medics commonly used morphine,

laudanum, and opium pills to treat the wounded, and many veterans were left with morphine

addictions. It was upper and middle class white women, however, who comprised the majority of

opioid addicts in the late 19th-century United States, using opioid preparations widely available

in pain elixirs, cough suppressants, and patent medicines. By 1900, an estimated 300,000 people

were addicted to opioids in the United States, 11 and many doctors prescribed opioids solely to

prevent their patients from suffering withdrawal symptoms.

       90.     Trying to develop a drug that could deliver opioids’ potent pain relief without

their addictive properties, chemists continued to isolate and refine opioid alkaloids. Heroin, first

synthesized from morphine in 1874, was marketed commercially by the Bayer Pharmaceutical

Company beginning in 1898 as a safe alternative to morphine. Heroin’s market position as a safe

alternative was short-lived, however; Bayer stopped mass-producing heroin in 1913 because of

its dangers. German chemists then looked to the alkaloid thebaine, synthesizing oxymorphone

and oxycodone from thebaine in 1914 and 1916, respectively, with the hope that the different

alkaloid source might provide the benefits of morphine and heroin without the drawbacks.




11
  Nick Miroff, From Teddy Roosevelt to Trump: How drug companies triggered an opioid crisis
 a century ago, Washington Post (Oct. 17, 2017),
 https://www.washingtonpost.com/news/retropolis/wp/2017/09/29/the-greatest-drug-fiends-in-
 the-world-an-american-opioid-crisis-in-1908/?utm_term=.7832633fd7ca.



                                                  20
           Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 27 of 162



           91.   But each opioid was just as addictive as the one before it, and eventually the issue

of opioid addiction could not be ignored. The nation’s first Opium Commissioner, Hamilton

Wright, remarked in 1911, “The habit has this nation in its grip to an astonishing extent. Our

prisons and our hospitals are full of victims of it, it has robbed ten thousand businessmen of

moral sense and made them beasts who prey upon their fellows . . . it has become one of the

most fertile causes of unhappiness and sin in the United States.”12

           92.   Concerns over opioid addiction led to national legislation and international

agreements regulating narcotics: the International Opium Convention, signed at the Hague in

1912, and, in the U.S., the Harrison Narcotics Tax Act of 1914. Opioids were no longer marketed

as cure-alls and instead were relegated to the treatment of acute pain.

           93.   Throughout the twentieth century, pharmaceutical companies continued to

develop prescription opioids, but these opioids were generally produced in combination with

other drugs, with relatively low opioid content. For example, Percodan, produced by Defendant

Endo since 1950, is oxycodone and aspirin, and contains just under 5 mg of oxycodone.

Percocet, manufactured by Endo since 1971, is the combination of oxycodone and

acetaminophen, with dosage strengths delivering between 2.5 mg and 10 mg of oxycodone.

Vicodin, a combination of hydrocodone and acetaminophen, was introduced in the U.S. in 1978

and is sold in strengths of 5 mg, 7.5 mg, and 10 mg of hydrocodone. Defendant Janssen also

manufactured a drug with 5 mg of oxycodone and 500 mg of acetaminophen, called Tylox, from

1984 to 2012.

           94.   In contrast, OxyContin, the product with the dubious honor of the starring role in

the opioid epidemic, is pure oxycodone. Purdue initially made it available in the following



12
     Id.



                                                  21
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 28 of 162



dosage strengths: 10 mg, 15 mg, 20 mg, 30 mg, 40 mg, 60 mg, 80 mg, and 160 mg. In other

words, the weakest OxyContin delivers as much narcotic as the strongest Percocet, and some

OxyContin tablets delivered sixteen times as much as that.

       95.     Prescription opioids are essentially pharmaceutical heroin; they are synthesized

from the same plant, have similar molecular structures, and bind to the same receptors in the

human brain. It is no wonder then that there is a straight line between prescription opioid abuse

and heroin addiction. Indeed, studies show that over 80% of new heroin addicts between 2008

and 2010 started with prescription opioids.13

             Oxycodone                          Heroin                     Morphine




       96.     Medical professionals describe the strength of various opioids in terms of

“morphine milligram equivalents” (“MME”). According to the CDC, dosages at or above 50

MME/day double the risk of overdose compared to 20 MME/day, and one study found that

patients who died of opioid overdose were prescribed an average of 98 MME/day.

       97.     Different opioids provide varying levels of MMEs. For example, just 33 mg of

oxycodone provides 50 MME. Thus, at OxyContin’s twice-daily dosing, the 50 MME/day




13
  CM Jones, Heroin use and heroin use risk behaviors among nonmedical users of prescription
 opioid pain relievers - United States, 2002-2004 and 2008-2010, 132(1-2) Drug Alcohol
 Depend. 95-100 (Sept. 1, 2013), https://www.ncbi.nlm.nih.gov/pubmed/23410617.



                                                  22
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 29 of 162



threshold is reached by a prescription of 15 mg twice daily. One 160 mg tablet of OxyContin,

which Purdue took off the market in 2001, delivered 240 MME.14

       98.     As journalist Barry Meier wrote in his 2003 book Pain Killer: A “Wonder”

Drug’s Trail of Addiction and Death, “In terms of narcotic firepower, OxyContin was a nuclear

weapon.”15

       99.     Fentanyl, an even more potent and more recent arrival in the opioid tale, is a

synthetic opioid that is 100 times stronger than morphine and 50 times stronger than heroin. First

developed in 1959 by Dr. Paul Janssen under a patent held by Janssen Pharmaceuticals, fentanyl

is increasingly prevalent in the market for opioids created by Defendants’ promotion, with

particularly lethal consequences. In many instances, illicit fentanyl is manufactured to look like

oxycodone tablets, in the light blue color and with the “M” stamp of Defendant Mallinckrodt’s

30mg oxycodone pills. These lookalike pills have been found around the country.16

B.     The Sackler Family Played a Pivotal Role in Setting the Stage for the Worst Man-
       Made Epidemic in Modern Medical History

       1.      The Sackler family pioneered the integration of advertising and medicine.

       100.    Given the history of opioid use in the U.S. and the medical profession’s resulting

wariness, the commercial success of Defendants’ prescription opioids would not have been



14
   The wide variation in the MME strength of prescription opioids renders misleading any effort
  to capture “market share” by the number of pills or prescriptions attributed to Purdue or other
  manufacturers. Purdue, in particular, focuses its business on branded, highly potent pills,
  causing it to be responsible for a significant percent of the total amount of MME in circulation
  even though it currently claims to have a small percent of the market share in terms of pills or
  prescriptions.
15
   Barry Meier, Pain Killer: A “Wonder” Drug’s Trail of Addiction and Death (Rodale 2003).
16
   See e.g., Sharon Bogan, Illicit fentanyl found locally in fake opioid pills, Public Health Insider
  (Oct. 2, 2017), https://publichealthinsider.com/2017/10/02/illicit-fentanyl-found-locally-in-
  fake-opioid-pills/; Mislabeled painkillers “a fatal overdose waiting to happen,” CBS News
  (Feb. 29, 2016, 10:46am), https://www.cbsnews.com/news/mislabeled-painkillers-a-fatal-
  overdose-waiting-to-happen/.



                                                 23
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 30 of 162



possible without a fundamental shift in prescribers’ perception of the risks and benefits of long-

term opioid use.

        101.    As it turned out, Purdue was uniquely positioned to execute just such a maneuver,

thanks to the legacy of a man named Arthur Sackler. The Sackler family is the sole owner of

Purdue and one of the wealthiest families in America, surpassing the wealth of storied families

like the Rockefellers, the Mellons, and the Busches.17 Because of Purdue and, in particular,

OxyContin, the Sacklers’ net worth was $13 billion as of 2016. Today, all nine members of the

Purdue board are family members, and all of the company’s profits go to Sackler family trusts

and entities.18 Yet the Sacklers have avoided publicly associating themselves with Purdue, letting

others serve as the spokespeople for the company.

        102.    The Sackler brothers—Arthur, Mortimer, and Raymond—purchased a small

patent-medicine company called The Purdue Frederick Company in 1952. While all three

brothers were accomplished psychiatrists, it was Arthur, the oldest, who directed the Sackler

story, treating his brothers more as his protégés than colleagues, putting them both through

medical school and essentially dictating their paths. It was Arthur who created the Sackler

family’s wealth, and it was Arthur who created the pharmaceutical advertising industry as we

know it—laying the groundwork for the OxyContin promotion that would make the Sacklers

billionaires.




17
   Alex Morrell, The OxyContin Clan: The $14 Billion Newcomer to Forbes 2015 List of Richest
  U.S. Families, Forbes (July 1, 2015, 10:17am),
  https://www.forbes.com/sites/alexmorrell/2015/07/01/the-oxycontin-clan-the-14-billion-
  newcomer-to-forbes-2015-list-of-richest-u-s-families/#3045688775e0.
18
   David Armstrong, The man at the center of the secret OxyContin files, Stat News (May 12,
  2016), https://www.statnews.com/2016/05/12/man-center-secret-oxycontin-files/.



                                                24
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 31 of 162



       103.    Arthur Sackler was both a psychiatrist and a marketing executive, and, by many

accounts, a brilliant and driven man. He pursued two careers simultaneously, as a psychiatrist at

Creedmoor State Hospital in New York and the president of an advertising agency called

William Douglas McAdams. Arthur pioneered both print advertising in medical journals and

promotion through physician “education” in the form of seminars and continuing medical

education courses. He understood intuitively the persuasive power of recommendations from

fellow physicians and did not hesitate to manipulate information when necessary. For example,

one promotional brochure produced by his firm for Pfizer showed business cards of physicians

from various cities as if they were testimonials for the drug, but when a journalist tried to contact

these doctors, he discovered that they did not exist.19

       104.    It was Arthur who, in the 1960s, made Valium into the first $100-million drug, so

popular it became known as “Mother’s Little Helper.” His expertise as a psychiatrist was key to

his success; as his biography in the Medical Advertising Hall of Fame notes, it “enabled him to

position different indications for Roche’s Librium and Valium—to distinguish for the physician

the complexities of anxiety and psychic tension.”20 When Arthur’s client, Roche, developed

Valium, it already had a similar drug, Librium, another benzodiazepine, on the market for

treatment of anxiety. So Arthur invented a condition he called “psychic tension”—essentially

stress—and pitched Valium as the solution.21 The campaign, for which Arthur was compensated

based on volume of pills sold,22 was a remarkable success.



19
   Meier, supra note 15, at 204.
20
   MAHF Inductees, Arthur M. Sackler, Med. Advert. Hall of Fame,
  https://www.mahf.com/mahf-inductees/ (last visited June 10, 2019).
21
   Meier, supra note 15, at 202; One Family Reaped Billions From Opioids, WBUR On Point
  (Oct. 23, 2017), http://www.wbur.org/onpoint/2017/10/23/one-family-reaped-billions-from-
  opioids.
22
   WBUR On Point interview, supra note 21.



                                                 25
          Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 32 of 162



          105.   Arthur’s entrepreneurial drive led him to create not only the advertising for his

clients but also the vehicle to bring their advertisements to doctors—a biweekly newspaper

called the Medical Tribune, which he distributed for free to doctors nationwide. Arthur also

conceived a company now called IMS Health Holdings Inc., which monitors prescribing

practices of every doctor in the U.S. and sells this valuable data to pharmaceutical companies

like Defendants, who utilize it to tailor their sales pitches to individual physicians.

          106.   Even as he expanded his business dealings, Arthur was adept at hiding his

involvement in them. When, during a 1962 Senate hearing about deceptive pharmaceutical

advertising, he was asked about a public relations company called Medical and Science

Communications Associates, which distributed marketing from drug companies disguised as

news articles, Arthur was able to truthfully testify that he never was an officer for nor had any

stock in that company. But the company’s sole shareholder was his then-wife. Around the same

time, Arthur also successfully evaded an investigative journalist’s attempt to link the Sacklers to

a company called MD Publications, which had funneled payments from drug companies to an

FDA official named Henry Welch, who was forced to resign when the scandal broke.23 Arthur

had set up such an opaque and layered business structure that his connection to MD Publications

was only revealed decades later when his heirs were fighting over his estate.

          107.   Arthur Sackler did not hesitate to manipulate information to his advantage. His

legacy is a corporate culture that prioritizes profits over people. In fact, in 2007, federal

prosecutors conducting a criminal investigation of Purdue’s fraudulent advertising of OxyContin

found a “corporate culture that allowed this product to be misbranded with the intent to defraud




23
     Meier, supra note 15, at 210-14.



                                                  26
          Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 33 of 162



and mislead.”24 Court documents from the prosecution state that “certain Purdue supervisors and

employees, with the intent to defraud or mislead, marketed and promoted OxyContin as less

addictive, less subject to abuse and diversion, and less likely to cause tolerance and withdrawal

than other pain medications . . .”25 Half a century after Arthur Sackler wedded advertising and

medicine, Purdue employees were following his playbook, putting product sales over patient

safety.

          2.     The Sacklers were personally involved in the development and aggressive
                 marketing of OxyContin.

          108.   After the Sackler brothers acquired The Purdue Frederick Company in 1952,

Purdue sold products ranging from earwax remover to antiseptic, and it became a profitable

business. As an advertising executive, Arthur Sackler was not involved, on paper at least, in

running Purdue because that would have been a conflict of interest. Raymond Sackler became

Purdue’s head executive while Mortimer Sackler ran Purdue’s UK affiliate.

          109.   Raymond’s son, Richard S. Sackler, began working for Purdue as an assistant to

the president in 1971. In addition to holding various other roles at Purdue, including leading the

firm’s R&D division and the sales and marketing division, Richard Sackler was named president

in 1999. In 2003, Richard Sackler resigned from his role as president to become co-chair of

Purdue’s board of directors.26 He participated extensively in the invention, marketing, and sale of

OxyContin.




24
   Naomi Spencer, OxyContin manufacturer reaches $600 million plea deal over false marketing
  practices, World Socialist Web Site (May 19, 2007),
  https://www.wsws.org/en/articles/2007/05/oxy-m19.html.
25
   Agreed Statement of Facts, United States v. Purdue Frederick Co., No. 1:07-cr-00029 (W.D.
  Va. May 10, 2007).
26
   Christopher Glazek, The Secretive Family Making Billions from the Opioid Crisis, Esquire
  (Oct. 16, 2017), http://www.esquire.com/news-politics/a12775932/sackler-family-oxycontin/.



                                                27
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 34 of 162



       110.    In addition to Richard Sackler’s involvement, other members of the Sackler family

have maintained substantial control over Purdue by occupying the majority of the board seats at

Purdue from 1990 to the present. In 1999, when Richard Sackler became Purdue’s president,

Jonathan, Kathe, and Mortimer Sackler were all vice presidents of Purdue.27 Years later, when

Purdue was mired in investigations by federal and state authorities, they resigned their positions

as vice presidents, but they remained members of Purdue’s board of directors. Ilene Sackler

Lefcourt, Beverly Sackler, and Theresa Sackler have served on Purdue’s board of directors since

the 1990s. David A. Sackler has served on Purdue’s board of directors since 2012.

       111.    In the 1980s, Purdue, through its UK affiliate, acquired a Scottish drug producer

that had developed a sustained-release technology suitable for morphine. Purdue marketed this

extended-release morphine as MS Contin. It quickly became Purdue’s best seller. As the patent

expiration for MS Contin loomed, Purdue searched for a drug to replace it. Around that time,

Raymond Sackler’s oldest son, Richard Sackler, who was also a trained physician, became more

involved in the management of the company. Richard Sackler had grand ambitions for the

company; according to a long-time Purdue sales representative, “Richard really wanted Purdue

to be big—I mean really big.”28 Richard Sackler believed Purdue should develop another use for

its “Contin” timed-release system.

       112.    In 1990, Purdue’s VP of clinical research, Robert Kaiko, sent a memo to Richard

Sackler and other executives recommending that the company work on a pill containing

oxycodone. At the time, oxycodone was perceived as less potent than morphine, largely because

it was most commonly prescribed as Percocet, the relatively weak oxycodone-acetaminophen



27
   First Amended Complaint at ¶179, Commonwealth of Mass. v. Purdue Pharma L.P., C.A. No.
  1884-cv-01808 (BLS2) (Mass. Super. Ct. Jan. 31, 2019) (“MA Complaint”).
28
   Christopher Glazek, supra note 26.



                                               28
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 35 of 162



combination pill. MS Contin was not only approaching patent expiration but had always been

limited by the stigma associated with morphine. Oxycodone did not have that problem, and

what’s more, it was sometimes mistakenly called “oxycodeine,” which also contributed to the

perception of relatively lower potency, because codeine is weaker than morphine. Purdue

acknowledged using this to its advantage when it eventually pled guilty to criminal charges of

“misbranding” in 2007, admitting that it was “well aware of the incorrect view held by many

physicians that oxycodone was weaker than morphine” and “did not want to do anything ‘to

make physicians think that oxycodone was stronger or equal to morphine’ or to ‘take any steps . .

. that would affect the unique position that OxyContin’” held among physicians.29

       113.   Moreover, Purdue’s internal emails reveal that Richard Sackler, Kathe Sackler, and

other Purdue executives personally knew that doctors incorrectly believed that OxyContin was

weaker than morphine, leading them to prescribe it much more frequently. 30 Despite knowing that

oxycodone is 1.5 times more potent than morphine, Richard Sackler directed staff not to tell

doctors the truth about oxycodone’s potency—as that would have likely reduced sales. 31

       114.   For Purdue and OxyContin to be “really big,” Purdue needed to both distance its

new product from the traditional view of narcotic addiction risk and broaden the drug’s uses

beyond cancer pain and hospice care. A marketing memo sent to Purdue’s top sales executives in

March 1995 recommended that if Purdue could show that the risk of abuse was lower with

OxyContin than with traditional immediate-release narcotics, sales would increase.32 As




29
   United States v. Purdue Frederick Co., supra note 25.
30
   MA Complaint ¶ 176.
31
   Id.
32
   Meier, supra note 15, at 269.



                                               29
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 36 of 162



discussed below, Purdue did not find or generate any such evidence, but this did not stop Purdue

from making that claim regardless.

       115.    The Sackler Family Defendants recognized OxyContin as the means by which

Purdue, and their own fortune, could become “really big.” As Purdue’s Senior Vice President in

charge of sales, Richard Sackler made an ominous prediction at the launch party for OxyContin.

He foretold that “the launch of OxyContin Tablets will be followed by a blizzard of prescriptions

that will bury the competition. The prescription blizzard will be so deep, dense, and white….”33

To create this “blizzard of prescriptions,” the Sackler Family Defendants perpetuated deceptions

about the safety of OxyContin and pressed Purdue’s sales team to sell ever-increasing volumes of

OxyContin, incentivizing sales of the more expensive (and more dangerous) higher doses.

       116.    Internal documents also reveal the extent to which the Sackler Family Defendants’

greed motivated their unrelenting drive to sell more pills. For example, in one such email, Richard

Sackler reacted to sales of over $20 million per week with a “yawn”:

       In 1999, when employee Michael Friedman reported to Richard Sackler that Purdue
       was making more than $20,000,000 per week, Richard replied immediately, at
       midnight, that the sales were “not so great.” “After all, if we are to do 900M this
       year, we should be running at 75M/month. So it looks like this month could be 80
       or 90M. Blah, humbug. Yawn. Where was I?”34

       117.    Despite the fact that there has been little or no change in the amount of pain

reported in the U.S. over the last twenty years, Purdue recognized an enormous untapped market

for its new drug. As Dr. David Haddox, a Senior Medical Director at Purdue, declared on the

Early Show, a CBS morning talk program, “There are 50 million patients in this country who




33
   First Amended Complaint at ¶ 273, The People of the State of New York v. Purdue Pharma
  L.P., et al., No. 400016/2018 (Sup. Ct. Suffolk Cnty. Mar. 28, 2019) (“NY Complaint”).
34
   MA Complaint ¶ 178.



                                                30
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 37 of 162



have chronic pain that’s not being managed appropriately every single day. OxyContin is one of

the choices that doctors have available to them to treat that.”35

       118.    In pursuit of these 50 million potential customers and Richard Sackler’s “blizzard

of prescriptions,” Purdue poured resources into OxyContin’s sales force and advertising. As

shown below, Purdue’s early promotional spending on OxyContin dwarfed spending on MS

Contin or Defendant Janssen’s spending on Duragesic:36




35
  Id. at 156.
36
  OxyContin Abuse and Diversion and Efforts to Address the Problem, U.S. Gen. Acct. Off.
 Rep. to Cong. Requesters at 22 (Dec. 2003), http://www.gao.gov/new.items/d04110.pdf.



                                                 31
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 38 of 162



       119.       Prior to Purdue’s launch of OxyContin, no drug company had ever promoted such

a pure, high-strength Schedule II narcotic to so wide an audience of general practitioners. Today,

one in every five patients who present themselves to physicians’ offices with non-cancer pain

symptoms or pain-related diagnoses (including acute and chronic pain) receives an opioid

prescription.37

       3.         Following reports of OxyContin abuse and federal investigations, the
                  Sacklers continued to promote opioids but took steps to shield their assets
                  from judgment.

       120.       Purdue’s aggressive sales push quickly led to reports of OxyContin abuse and

fatal overdoses. Both Purdue as a company and the Sacklers as individuals knew about

significant abuse of OxyContin in the first years after the drug’s introduction in 1996.38 In early

1999, Purdue’s general counsel, Howard Udell, wrote to another Purdue official that the

company had learned of references on the internet to the abuse of Purdue’s opioid products.39

Prosecutors wrote that Richard Sackler was told in 1999 about discussions in internet chatrooms

about snorting OxyContin.40 Richard Sackler’s knowledge in the late 1990s of OxyContin’s

status as a highly sought-after street drug was confirmed in his deposition testimony from earlier

litigation, only released to the public in February 2019.41



37
   Deborah Dowell, M.D., Tamara M. Haegerich, Ph.D., and Roger Chou, M.D., CDC Guideline
  for Prescribing Opioids for Chronic Pain — United States, 2016, Ctrs. for Disease Control and
  Prevention (Mar. 18, 2016), https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm
  [hereinafter 2016 CDC Guideline].
38
   Barry Meier, Origins of an Epidemic: Purdue Pharma Knew Its Opioids Were Widely Abused,
  New York Times (May 29, 2018), https://www.nytimes.com/2018/05/29/health/purdue-
  opioids-oxycontin.html?login=email&auth=login-email.
39
   Id.
40
   Id.
41
   David Armstrong, Sackler Embraced Plan to Conceal OxyContin’s Strength from Doctors,
  Sealed Testimony Shows, ProPublica (Feb. 21, 2019, 1:45pm),
  https://www.propublica.org/article/richard-sackler-oxycontin-oxycodone-strength-conceal-
  from-doctors-sealed-testimony.



                                                 32
         Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 39 of 162



        121.   Yet at a 2001 congressional hearing on the increase in opioid abuse, Purdue

President Michael Friedman testified that Purdue first became aware of the abuse of

OxyContin in April 2000, after news reports of people abusing the drug recreationally in

Maine.42       None of the Sackler Family Defendants attempted to correct this

misrepresentation.

        122.   Purdue has generated estimated sales of more than $35 billion from opioids since

1996, while raking in more than $3 billion in 2015 alone. Remarkably, its opioid sales continued

to climb even after a period of media attention and government inquiries regarding OxyContin

abuse in the early 2000s and a criminal investigation culminating in guilty pleas in 2007. Purdue

proved itself skilled at evading full responsibility and continuing to sell through the controversy.

The company’s annual opioid sales of $3 billion in 2015 represent a four-fold increase from its

2006 sales of $800 million.

        123.   In addition, in November 2007, just months after Purdue pleaded guilty for

deceiving patients and doctors, the Sacklers established Defendant Rhodes Pharmaceuticals L.P.,

a manufacturer of generic opioids, to continue profiting from the epidemic they helped create.

This development expanded the operations of Rhodes Technologies, Inc., which was primarily

involved with manufacture of bulk active pharmaceutical ingredients. The connection between

the Sacklers and Rhodes was not widely known until the publication of a 2018 Financial Times

article.43




42
   Patrick Radden Keefe, The Family That Built an Empire of Pain, New Yorker (Oct. 30, 2017),
  https://www.newyorker.com/magazine/2017/10/30/the-family-that-built-an-empire-of-pain.
43
   See David Crow, How Purdue’s ‘One-Two’ Punch Fueled the Market for Opioids, Financial
  Times (Sept. 9, 2018), https://www.ft.com/content/8e64ec9c-b133-11e8-8d14-6f049d06439c.



                                                 33
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 40 of 162



       124.    In public statements responding to the opioid crisis, Purdue has claimed a

minimal role, stating, for example, that OxyContin accounted for only 1.4% of all opioid

analgesic prescriptions written between October 2017 and September 2018.44 But the Sacklers’

establishment and control of Rhodes Pharmaceuticals L.P. means that the Sacklers are

responsible for a larger market share than that. As Financial Times reported, “Rhodes is a much

larger producer of opioids by volume, and the combined companies accounted for 14.4m

prescriptions that year, giving them an overall market share of 6 percent in 2016.”45

       125.    The Sackler Family Defendants are beneficial owners of and exercise control over

not only Rhodes Pharmaceuticals L.P., but all four Rhodes Defendants. The Sackler Family

Defendants thus have profited not only from Purdue’s earnings on excessive prescription opioid

sales, but also from the sales of opioids by multiple additional corporate entities.

       126.    Purdue did little to change policies regarding the promotion of opioids, and the

Sackler Family Defendants were intimately involved in continuing the misconduct. After the

2007 guilty plea, the Sacklers directed Purdue to hire hundreds of additional sales

representatives.46 The Sacklers also required their sales representatives to average at least 7.5

prescribers daily, as well as having those prescribers agree to increasing prescriptions.

       127.    Richard Sackler was especially involved in overseeing and directing sales

operations. He personally went into the field, for example, to supervise Purdue’s sales

representatives.47 As a result of his time in the field, he argued with Vice President Russell




44
   Common Myths About OxyContin (oxycodone HCI) Extended-Release Tables CII, Purdue
  Pharma, https://www.purduepharma.com/news-media/common-myths-about-oxycontin/ (last
  visited June 10, 2109).
45
   Crow, supra note 43.
46
   NY Complaint ¶ 394.
47
   NY Complaint ¶ 393.



                                                 34
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 41 of 162



Gasdia that legally required warnings about opioids were unnecessary and that a warning

“implies a danger of untoward reactions and hazards that simply aren’t there.”48

       128.    The other Sackler Family Defendants remained deeply involved in sales as well.

In 2012, for example, Mortimer Sackler suggested Purdue reschedule an annual sales meeting

from January to February so that sales representatives could “get back to work for January and

back in front of doctors who enter the new year refreshed…”49 Richard Sackler proposed

canceling the meeting entirely.50

       129.    Despite the company’s outward appearances, the Sacklers recognized that the

increased pressure on the company required loyalty to the family. In 2010, Purdue staff provided

the Sacklers a 10-year plan for Purdue’s opioid sales, under which the Sacklers would receive at

least $700 million per year from 2010 to 2020.51

       130.    Purdue proved itself skilled at evading full responsibility and continuing to sell

through the controversy. The company’s annual opioid sales of $3 billion in 2015 represent a

four-fold increase from its 2006 sales of $800 million.

       131.    Nonetheless, the Sacklers found themselves on the defense more and more often

after 2010. For example, in late 2017, insurance provider Cigna made public statements about

how opioid companies influence prescribing and dosing.52 Cigna also replaced OxyContin on its




48
   MA Complaint ¶ 356.
49
   NY Complaint ¶ 396.
50
   Id.
51
   NY Complaint ¶ 420.
52
   See Karen Eldred, Cigna is Committed to Reducing Opioid Use: Removing Oxycontin from
  Group Commercial Drug Lists on 1/1/18, Cigna (Oct. 4, 2017),
  https://www.cigna.com/newsroom/news-releases/2017/cigna-is-committed-to-reducing-opioid-
  use-removing-oxycontin-from-group-commercial-drug-lists-on-1118 (“While drug companies
  don’t control prescriptions, they can help influence patient and doctor conversations by
  educating people about their medications.”).



                                                35
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 42 of 162



list of covered drugs with a competitor’s drug. Upon learning this, Richard Sackler suggested

Purdue replace Cigna as the insurance provider for Purdue’s company health plan. 53

       132.     Bowing to increasing pressure and scrutiny, the Sacklers resigned from the

Purdue board of directors in 2018.54

       4.      In response to enforcement actions in the United States, the Sacklers have
               moved their aggressive opioid marketing—and their wealth—overseas.

       133.    Since at least 1999, the Sackler Family Defendants have known of the high

potential for abuse of OxyContin. Rather than take steps to ameliorate the damage they have

caused—or to prevent additional harm—the Sackler Family Defendants instead began to shift

profits from Purdue and related entities to their own private trusts and accounts in order to shield

them from creditors. The entities to which the Sackler Family Defendants transferred funds

include PLP Associates Holding L.P., Rosebay Medical Company L.P, and Beacon Company.

These transfers were and are fraudulent, unjustly enriching the Sackler Family Defendants and

shielding funds available for the execution of any judgment against Purdue.

       134.    At the time of Purdue’s 2007 guilty plea—in which only one of the Purdue

Defendants, The Purdue Frederick Company, Inc., officially pled guilty—Purdue Pharma L.P.

identified a total of 215 “related and associated entities” in its Non-Prosecution Agreement with

the United States. These associated entities include, for example, petroleum and real estate

companies, and twenty-five entities registered in Bermuda or the British Virgin Islands. The

Sacklers—while directing Purdue to push its highly addictive drug into the poorest corners of

Appalachia and to target Medicaid patients and veterans—availed themselves of the legal gray



53
  MA Complaint at ¶ 490.
54
  See Beth Mole, Damning court docs show just how far Sacklers went to push OxyContin, ARS
 Technica (Jan. 19, 2019, 5:00am), https://arstechnica.com/science/2019/01/family-behind-
 oxycontin-called-addicts-criminals-while-pushing-pills/.



                                                 36
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 43 of 162



area available only to the wealthy, establishing international shell companies to hold and reinvest

their profits. Securities filings show, for example, that the Sacklers have directed Purdue to

purchase shares in various pharmaceutical investments, and then transferred those shares

immediately to Rosebay Medical Company L.P. and Beacon Company.

       135.    Over the years, the Sacklers have voted to distribute billions of dollars to

themselves through such associated entities. Between 2008 and 2016, the Sacklers voted to

distribute over $2 billion of Purdue’s profits to PLP Associates Holding L.P.55 The Sacklers also

voted to distribute approximately $1.8 billion to Rosebay Medical Company L.P. and Beacon

Company between 2008 and 2014.56

       136.    Many of the associated entities identified in Purdue’s 2007 list of “associated

entities” are part of the Mundipharma network of companies, which was started by the Sacklers

and remains under their control. Mundipharma is integral in allowing the Sacklers to both move

their wealth overseas and continue to profit from the sale of addictive opioids as government

entities in the United States work to rein in opioid prescribing. In contrast to the Sacklers’ well-

documented obsession with attaching their family name to art museum wings, endowed chairs at

universities, and the like, the Sacklers have omitted their name from official statements about

Mundipharma’s founding. Press release after press release describes the Mundipharma networks

as “founded in 1956 by doctors.”57 Mundipharma International’s website provides more detail



55
   Amended Complaint at ¶ 151, State of Connecticut v. Purdue Pharma L.P., C.A. No. X07
  HHD-CV-XX-XXXXXXX-S (Conn. Super. Ct. May 6, 2019) (“CT Complaint”).
56
   CT Complaint ¶¶ 153-154.
57
   See, e.g., Purdue Pharma L.P. Announces Strategic Investment in Oncology R&D, Purdue
  Pharma (Nov. 14, 2017), https://www.purduepharma.com/news-media/2017/11/purdue-
  pharma-l-p-announces-strategic-investment-in-oncology-rd/; Mundipharma strengthens
  position as a leader in biosimilars with acquisition of development company Cinfa Biotech,
  Mundipharma (Oct. 2018), https://www.mundipharma.com/wp-
  content/uploads/2018/10/201008-Deal-release-FINAL.pdf.



                                                 37
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 44 of 162



(and corrects the date), but still leaves it founders nameless: “Founded in the US by two

physicians in 1952 and still privately owned, the network has a presence in over 120

countries.”58 But the Austrian arm of the network is more forthright:

       The Austrian company Mundipharma Ges.m.b.H. is part of a privately owned
       network of independent associated companies that operates internationally. The
       founding history dates back to 1952, when the two brothers Mortimer D. Sackler,
       M.D. and Raymond R. Sackler, M.D. bought the US-based company Purdue.
       Blessed with the necessary pioneering spirit, the owners developed a network of
       independent associated companies that is currently represented in numerous
       European countries and worldwide. The tradition of a family business has
       propagated over the years and is still reflected, e.g. in long-term and trusting
       relationships.59

       137.    As the corporate history webpages of various Mundipharma entities explain, it

was Mundipharma that developed the prolonged-release morphine sulfate tablet in 1973,60 which

was later sold in the U.S. as MS Contin and which would be applied to oxycodone to create

OxyContin. At that time, “Mundipharma” included Purdue, the UK-based Napp Pharmaceuticals

Limited, which the Sacklers had acquired in 1966, and Ireland-based Napp Laboratories, which

developed the fateful timed-release coating in 1973.

       138.    Today, the Mundipharma network generates over $3.4 billion in annual revenue,

primarily from opioids.61 As noted above, Mundipharma is privately owned. Little public

information is available regarding that ownership. However, the information that is available



58
   About Mundipharma, Mundipharma, https://www.mundipharma.com/about-mundipharma/
  (last visited June 10, 2019).
59
   History, Mundipharma, https://mundipharma.at/en/history/ (last visited June 10, 2019).
60
   See, e.g., Mundipharma Malaysia website stating “Mundipharma developed prolonged release
  technology for treating chronic pain” in 1973, Mundipharma,
  http://www.mundipharma.com.my/about-us (last visited June 10, 2019); History,
  Mundipharma, http://www.mundipharma.ie/history (last visited June 10, 2019).
61
   Bruce Einhorn, Timothy Annett, and Tim Loh, OxyContin Billionaires Chase Global Profits to
  Offset U.S. Woes, Bloomberg (March 30, 2019),
  https://www.bloomberg.com/news/articles/2019-03-30/oxycontin-billionaires-chase-global-
  profits-to-offset-u-s-woes.



                                               38
           Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 45 of 162



reveals that companies and trusts established by the Sacklers own various parts of the

Mundipharma network. For example, trusts for the benefit of Richard and Jonathan Sackler

owned half of Mundipharma Research Ltd. in Cambridge, England.62 Rosebay Medical

Company L.P.—owned by trusts for the benefit of the Sackler Family Defendants—is one of the

two owners of Mundipharma’s Australian business, according to data from the Australian

Securities and Investments Commission, and is one of the two current shareholders in

Mundipharma Pharmaceuticals Sdn. Bhd., the network’s Malaysian branch, according to the

Companies Commission of Malaysia.63

           139.   Under the name of Mundipharma, the Sacklers are employing the exact same

playbook in South America, China, India, and other developing markets as they did in the United

States.

           140.   In May 2017, a dozen members of Congress sent a letter to the World Health

Organization, warning it of the deceptive practices Purdue is unleashing on the rest of the world

through Mundipharma:

           We write to warn the international community of the deceptive and dangerous
           practices of Mundipharma International—an arm of Purdue Pharmaceuticals. The
           greed and recklessness of one company and its partners helped spark a public health
           crisis in the United States that will take generations to fully repair. We urge the
           World Health Organization (WHO) to do everything in its power to avoid allowing
           the same people to begin a worldwide opioid epidemic. Please learn from our
           experience and do not allow Mundipharma to carry on Purdue’s deadly legacy on
           a global stage. . .

           Internal documents revealed in court proceedings now tell us that since the early
           development of OxyContin, Purdue was aware of the high risk of addiction it
           carried. Combined with the misleading and aggressive marketing of the drug by its
           partner, Abbott Laboratories, Purdue began the opioid crisis that has devastated
           American communities since the end of the 1990s. Today, Mundipharma is using
           many of the same deceptive and reckless practices to sell OxyContin abroad. . .


62
     Id.
63
     Id.



                                                   39
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 46 of 162



       In response to the growing scrutiny and diminished U.S. sales, the Sacklers have
       simply moved on. On December 18, the Los Angeles Times published an extremely
       troubling report detailing how in spite of the scores of lawsuits against Purdue for
       its role in the U.S. opioid crisis, and tens of thousands of overdose deaths,
       Mundipharma now aggressively markets OxyContin internationally. In fact,
       Mundipharma uses many of the same tactics that caused the opioid epidemic to
       flourish in the U.S., though now in countries with far fewer resources to devote to
       the fallout.64

       141.    The Sacklers’ pivot to untapped markets, after extracting substantial profits from

communities like Ada County and leaving the County to address the resulting damage,

underscores that their actions have been knowing, intentional, and motivated by profits

throughout this entire tragic story.

C.     The Booming Business of Addiction.

       1.      Other Manufacturing Defendants leapt at the opioid opportunity.

       142.    Purdue created a market in which the prescription of powerful opioids for a range

of common aches and pains was not only acceptable but encouraged—but it was not alone.

Defendants Endo, Janssen, Mallinckrodt, Teva, and Actavis positioned themselves to take

advantage of the opportunity Purdue created, developing both branded and generic opioids to

compete with OxyContin while misrepresenting the safety and efficacy of their products. In

addition, Defendant Rhodes manufactured multiple generic opioids, profiting from the same

misleading marketing and expanded market for these dangerous drugs.

       143.    Endo, which for decades had sold Percocet and Percodan, both containing

relatively low doses of oxycodone, moved quickly to develop a generic version of extended-

release oxycodone to compete with OxyContin, receiving tentative FDA approval for its generic

version in 2002. As Endo stated in its 2003 Form 10-K, it was the first to file an application with


64
  Letter from Cong. of the U.S., to Dr. Margaret Chan, Dir.-Gen., World Health Org. (May 3,
 2017), http://katherineclark.house.gov/_cache/files/a577bd3c-29ec-4bb9-bdba-
 1ca71c784113/mundipharma-letter-signatures.pdf.



                                                40
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 47 of 162



the FDA for bioequivalent versions of the 10, 20, and 40 mg strengths of OxyContin, which

potentially entitled it to 180 days of generic marketing exclusivity—“a significant advantage.”65

Purdue responded by suing Endo for patent infringement, litigating its claims through a full trial

and a Federal Circuit appeal—unsuccessfully. As the trial court found, and the appellate court

affirmed, Purdue obtained the oxycodone patents it was fighting to enforce through “inequitable

conduct”—namely, suggesting that its patent applications were supported by clinical data when

in fact they were based on an employee’s “insight and not scientific proof.”66 Endo began selling

its generic extended-release oxycodone in 2005.

       144.    At the same time as Endo was battling Purdue over generic OxyContin—and as

the U.S. was battling increasingly widespread opioid abuse—Endo was working on getting

another branded prescription opioid on the market. In 2002, Endo submitted applications to the

FDA for both immediate-release and extended-release tablets of oxymorphone, branded as

Opana and Opana ER.

       145.    Like oxycodone, oxymorphone is not a new drug; it was first synthesized in

Germany in 1914 and sold in the U.S. by Endo beginning in 1959 under the trade name

Numorphan, in injectable, suppository, and oral tablet forms. But the oral tablets proved highly

susceptible to abuse. Called “blues” after the light blue color of the 10 mg pills, Numorphan

provoked, according to some users, a more euphoric high than heroin, and even had its moment

in the limelight as the focus of the movie Drugstore Cowboy. As the National Institute on Drug

Abuse observed in its 1974 report, “Drugs and Addict Lifestyle,” Numorphan was extremely




65
   Endo Pharm. Holdings, Inc. Form 10-K, U.S. Sec. and Exchange Comm’n, at 4 (Mar. 15,
  2004), http://media.corporate-ir.net/media_files/irol/12/123046/reports/ 10K_123103.pdf.
66
   Purdue Pharma L.P. v. Endo Pharm. Inc., 438 F.3d 1123, 1131 (Fed. Cir. 2006).



                                                41
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 48 of 162



popular among addicts for its quick and sustained effect.67 Endo withdrew oral Numorphan from

the market in 1979, reportedly for “commercial reasons.”68

       146.    Two decades later, however, as communities around the U.S. were first sounding

the alarm about prescription opioids and Purdue executives were being called to testify before

Congress about the risks of OxyContin, Endo essentially reached back into its inventory, dusted

off a product it had previously shelved after widespread abuse, and pushed it into the

marketplace with a new trade name and a potent extended-release formulation.

       147.    The clinical trials submitted with Endo’s first application for approval of Opana

were insufficient to demonstrate efficacy, and some subjects in the trials overdosed and had to be

revived with naloxone, an opioid antagonist used to counter the effects of an overdose. Endo

then submitted new “enriched enrollment” clinical trials, in which trial subjects who do not

respond to the drug are excluded from the trial, and obtained approval. Endo began marketing

Opana and Opana ER in 2006.

       148.    Like Numorphan, Opana ER was highly susceptible to abuse. On June 8, 2017,

the FDA sought removal of Opana ER. In its press release, the FDA indicated that “the agency is

seeking removal based on its concern that the benefits of the drug may no longer outweigh its

risks. This is the first time the agency has taken steps to remove a currently marketed opioid pain

medication from sale due to the public health consequences of abuse.”69 On July 6, 2017, Endo




67
   John Fauber and Kristina Fiore, Abandoned Painkiller Makes a Comeback, MedPage Today
  (May 10, 2015), https://www.medpagetoday.com/psychiatry/addictions/51448.
68
   Id.
69
   Press Release, U.S. Food & Drug Administration, FDA requests removal of Opana ER for
  risks related to abuse (June 8, 2017), https://www.fda.gov/NewsEvents/
  Newsroom/PressAnnouncements/ucm562401.htm.



                                                42
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 49 of 162



agreed to withdraw Opana ER from the market.70 Before its withdrawal from the market, Opana

ER generated substantial profits for Endo—more than $1 billion in revenue in 2010, for example,

and again in 2013.

       149.       Janssen, which already marketed the Duragesic (fentanyl) patch, developed a new

opioid compound called tapentadol in 2009, marketed as Nucynta for the treatment of moderate

to severe pain. Janssen launched the extended-release version, Nucynta ER, for treatment of

chronic pain in 2011. Janssen earned more than $1 billion in sales of Duragesic in 2009, and

Nucynta and Nucynta ER accounted for $172 million in sales in 2014.

       150.       Teva also manufactures Actiq, a fentanyl lozenge, and Fentora, a fentanyl tablet.

As noted above, fentanyl is an extremely powerful synthetic opioid. According to the DEA, as

little as two milligrams is a lethal dosage for most people. Actiq has been approved by the FDA

only for the “management of breakthrough cancer pain in patients 16 years and older with

malignancies who are already receiving and who are tolerant to around-the-clock opioid therapy

for the underlying persistent cancer pain.”71 Fentora has been approved by the FDA only for the

“management of breakthrough pain in cancer patients 18 years of age and older who are already

receiving and who are tolerant to around-the-clock opioid therapy for their underlying persistent

cancer pain.”72




70
   Endo pulls opioid as U.S. seeks to tackle abuse epidemic, Reuters (July 6, 2017, 9:59am),
  https://www.reuters.com/article/us-endo-intl-opana-idUSKBN19R2II.
71
   Prescribing Information, ACTIQ®, U.S. Food & Drug Admin.,
  https://www.accessdata.fda.gov/drugsatfda_docs/label/2009/020747s030lbl.pdf (last visited
  June 10, 2019).
72
   Prescribing Information, FENTORA®, U.S. Food & Drug Admin.,
  https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/021947s015lbl.pdf (last visited
  June 10, 2019).



                                                  43
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 50 of 162



       151.    In 2008, Teva subsidiary Cephalon pled guilty to a criminal violation of the

Federal Food, Drug and Cosmetic Act for its misleading promotion of Actiq and two other drugs

and agreed to pay $425 million.

       152.    Actavis acquired the rights to Kadian, extended-release morphine, in 2008, and

began marketing Kadian in 2009. Actavis’s opioid products also include Norco, a brand-name

hydrocodone and acetaminophen pill, first approved in 1997. But Actavis, primarily a generic

drugmaker, pursued opioid profits through generics, selling generic versions of OxyContin,

Opana, and Duragesic. In 2013, it settled a patent lawsuit with Purdue over its generic version of

“abuse-deterrent” OxyContin, striking a deal that would allow it to market its abuse-deterrent

oxycodone formulation beginning in 2014. Actavis anticipated over $100 million in gross profit

from generic OxyContin sales in 2014 and 2015.

       153.    Mallinckrodt’s generic oxycodone achieved enough market saturation to have

several street names: “M’s,” based on the imprint on the pills, “blues” because of the pale blue

color of the pills, “roxies,” or “mallies.” Mallinckrodt’s oxy 30s were extremely popular pills for

misuse and abuse, and enormous quantities of Mallinckrodt’s pills went to cash purchases and

non-medical use. As noted above, Mallinckrodt was the subject of a federal investigation based

on diversion of its oxycodone in Florida, where 500 million of its pills were shipped between

2008 and 2012. Federal prosecutors alleged that 43,991 orders from distributors and retailers

were excessive enough be considered suspicious and should have been reported to the DEA.

       154.    Mallinckrodt also pursued a share of the branded opioid market. In 2007,

Mallinckrodt launched Magnacet, an oxycodone and acetaminophen combination pill. In 2008,

Mallinckrodt (then Covidien) launched TussiCaps, a hydrocodone and chlorpheniramine capsule,

marketed as a cough suppressant. And in 2009, Mallinckrodt acquired the U.S. rights to Exalgo,




                                                44
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 51 of 162



a potent extended-release hydromorphone tablet, and began marketing it in 2012. Mallinckrodt

further expanded its branded opioid portfolio in 2012 by purchasing Roxicodone from Xanodyne

Pharmaceuticals. In addition, Mallinckrodt developed Xartemis XR, an extended-release

combination of oxycodone and acetaminophen, which the FDA approved in March 2014. In

anticipation of Xartemis XR’s approval, Mallinckrodt hired approximately 200 sales

representatives to promote it, and CEO Mark Trudeau said the drug could generate “hundreds of

millions in revenue.”73

       155.    These companies’ aggressive promotion of their branded opioids dramatically

expanded the market for these potent and addictive drugs as a class—and much of the demand

was filled by generic opioids. Defendants Mallinckrodt, Actavis, Endo, and Teva all sold generic

opioids in addition to their branded products. Purdue and the Sackler Family Defendants were

also in the generic business through Rhodes. These Defendants manufactured and shipped

massive quantities of generic opioids to communities across the U.S., including Plaintiff’s, while

failing to uphold their responsibilities to monitor and report suspicious orders.

       156.    All told, the Manufacturing Defendants have reaped enormous profits from the

addiction crisis they spawned.

       2.      Distributor Defendants knowingly supplied dangerous quantities of opioids
               while advocating for limited oversight and enforcement.

       157.    The Distributor Defendants track and keep a variety of information about the

pharmacies and other entities to which they sell pharmaceuticals. For example, the Distributor

Defendants use “know your customer” questionnaires that track the number and types of pills

their customers sell, absolute and relative amounts of controlled substances they sell, whether the



73
  Samantha Liss, Mallinckrodt banks on new painkillers for sales, St. Louis Bus. Journal (Dec.
 30, 2013), http://argentcapital.com/mallinckrodt-banks-on-new-painkillers-for-sales/.



                                                 45
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 52 of 162



customer purchases from other distributors, and types of medical providers in the areas, among

other information.

       158.    These questionnaires and other sources of information available to the Distributor

Defendants provide ample data to put the Distributor Defendants on notice of suspicious orders,

pharmacies, and doctors.

       159.    Nevertheless, the Distributor Defendants refused or failed to identify, investigate,

or report suspicious orders of opioids to the DEA. Even when the Distributor Defendants had

actual knowledge that they were distributing opioids to drug diversion rings, they refused or

failed to report these sales to the DEA.

       160.    By not reporting suspicious opioid orders or known diversions of prescription

opioids, not only were the Defendants able to continue to sell opioids to questionable customers,

Defendants ensured that the DEA had no basis for decreasing or refusing to increase production

quotas for prescription opioids.

       161.    The Distributor Defendants collaborated with each other and with the

Manufacturing Defendants to maintain distribution of excessive amounts of opioids. One

example of this collaboration came to light through Defendants’ work in support of legislation

called the Ensuring Patient Access and Effective Drug Enforcement (EPAEDE) Act, which was

signed into law in 2016 and limited the DEA’s ability to stop the flow of opioids. Prior to this

law, the DEA could use an “immediate suspension order” to halt suspicious shipments of pills

that posed an “imminent” threat to the public. The EPAEDE Act changed the required showing

to an “immediate” threat—an impossible standard given the fact that the drugs may sit on a shelf

for a few days after shipment. The law effectively neutralized the DEA’s ability to bring

enforcement actions against distributors.




                                                46
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 53 of 162



       162.    The legislation was drafted by a former DEA lawyer, D. Linden Barber, who is

now a senior vice president at Defendant Cardinal Health. Prior to leaving the DEA, Barber had

worked with Joseph Rannazzisi, then the chief of the DEA’s Office of Diversion Control, to plan

the DEA’s fight against the diversion of prescription drugs. So when Barber began working for

Cardinal Health, he knew just how to neutralize the effectiveness of the DEA’s enforcement

actions. Barber and other promoters of the EPAEDE Act portrayed the legislation as maintaining

patient access to medication critical for pain relief. In a 2014 hearing on the bill, Barber testified

about the “unintended consequences in the supply chain” of the DEA’s enforcement actions. But

by that time, communities across the United States, including Plaintiff Ada County, were

grappling with the “unintended consequences” of Defendants’ reckless promotion and

distribution of narcotics.

       163.    Despite egregious examples of drug diversion from around the country, the

promoters of the EPAEDE Act were successful in characterizing the bill as supporting patients’

rights. One of the groups supporting this legislation was the Alliance for Patient Access, a “front

group” as discussed further below, which purports to advocate for patients’ rights to have access

to medicines, and whose 2017 list of “associate members and financial supporters” included

Defendants Purdue, Endo, Johnson & Johnson, Actavis, Mallinckrodt, and Teva. In a 2013

“white paper” titled “Prescription Pain Medication: Preserving Patient Access While Curbing

Abuse,” the Alliance for Patient Access asserted multiple “unintended consequences” of

regulating pain medication, including a decline in prescriptions as physicians feel burdened by

regulations and stigmatized.74



74
  Prescription Pain Medication: Preserving Patient Access While Curbing Abuse, Inst. for
 Patient Access (Oct. 2013), http://1yh21u3cjptv3xjder1dco9mx5s.wpengine.netdna-
 cdn.com/wp-content/uploads/2013/12/PT_White-Paper_Finala.pdf.



                                                  47
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 54 of 162



       164.    The Distributor Defendants are also part of the activities of the Alliance for

Patient Access, although their involvement is hidden. One example of their involvement was

revealed by the metadata of an electronic document: the letter from the Alliance for Patient

Access in support of the EPAEDE Act. That document was created by Kristen Freitas, a

registered lobbyist and the vice president for federal government affairs of the Healthcare

Distributors Alliance (HDA)—the trade group that represents Defendants McKesson, Cardinal

Health, and AmerisourceBergen.

       165.    Upon information and belief, the collaboration on the EPAEDE Act is just one

example of how the Manufacturing Defendants and the Distributor Defendants, through third-

party “front groups” like the Alliance for Patient Access and trade organizations like HDA,

worked together behind the scenes to ensure that the flow of dangerous narcotics into

communities across the country would not be restricted, and Defendants collaborated in other

ways that remain hidden from public view.

       166.    Another example of collaboration between the Manufacturing Defendants,

Distributor Defendants, and Front Groups is the Pain Care Forum, a coalition of drug makers,

trade groups and non-profit organizations supported by funding from the pharmaceutical

industry. The Pain Care Forum worked behind the scenes to shape federal and state policies

regarding the use of prescription opioids, working to prevent national, state, or local responses to

the growing opioid crisis from interrupting industry profits. The Manufacturing Defendants

worked together through the Pain Care Forum, and the Distributor Defendants actively

participated in the Pain Care Forum through the HDA as well.

       167.    The Distributor Defendants have been the subject of numerous enforcement

actions by the DEA. In 2008, for example, McKesson was fined $13.3 million and agreed to




                                                48
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 55 of 162



strengthen its controls by implementing a three-tiered system that would flag buyers who

exceeded monthly thresholds for opioids. As the opioid crisis deepened, the DEA’s Office of

Diversion Control, led by Rannazzisi, stepped up enforcement, filing 52 immediate suspension

orders against suppliers and pill mills in 2010 alone. Defendant Cardinal Health was fined $34

million by the DEA in 2013 for failing to report suspicious orders.

       168.    The Distributor Defendants were not simply passive transporters of opioids. They

intentionally failed to report suspicious orders and actively pushed back against efforts to enforce

the law and restrict the flow of opioids into communities like Ada County.

       3.      Pill mills and overprescribing doctors also placed their financial interests
               ahead of their patients’ interests.

       169.    Prescription opioid manufacturers and distributors were not the only ones to

recognize an economic opportunity. Around the country, including in Ada County, certain

doctors or pain clinics ended up doing brisk business dispensing opioid prescriptions. As Dr.

Andrew Kolodny, cofounder of Physicians for Responsible Opioid Prescribing, observed, this

business model meant doctors would “have a practice of patients who’ll never miss an

appointment and who pay in cash.”75

       170.    Moreover, the Manufacturing Defendants’ sales incentives rewarded sales

representatives who happened to have pill mills within their territories, enticing those

representatives to look the other way even when their in-person visits to such clinics should have

raised numerous red flags. In one example, a pain clinic in South Carolina was diverting

enormous quantities of OxyContin. People traveled to the clinic from towns as far as 100 miles

away to get prescriptions. Eventually, the DEA’s diversion unit raided the clinic, and prosecutors



75
  Sam Quinones, Dreamland: The True Tale of America’s Opiate Epidemic 314 (Bloomsbury
 Press 2015).



                                                49
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 56 of 162



filed criminal charges against the doctors. But Purdue’s sales representative for that territory,

Eric Wilson, continued to promote OxyContin sales at the clinic. He reportedly told another local

physician that this clinic accounted for 40% of the OxyContin sales in his territory. At that time,

Wilson was Purdue’s top-ranked sales representative.76 In response to news stories about this

clinic, Purdue issued a statement, declaring that “if a doctor is intent on prescribing our

medication inappropriately, such activity would continue regardless of whether we contacted the

doctor or not.”77

       171.    Another pill mill, this one in Los Angeles, supplied OxyContin to a drug dealer in

Everett, Washington. Purdue was alerted to the existence of this pill mill by one of its regional

sales managers, who in 2009 reported to her supervisors that when she visited the clinic with her

sales representative, “it was packed with a line out the door, with people who looked like gang

members,” and that she felt “very certain that this was an organized drug ring[.]” She wrote,

“This is clearly diversion. Shouldn’t the DEA be contacted about this?” But her supervisor at

Purdue responded that while they were “considering all angles,” it was “really up to [the

wholesaler] to make the report.” This clinic was the source of 1.1 million pills trafficked to

Everett, which is a city of around 100,000 people. Purdue waited until after the clinic was shut

down in 2010 to inform the authorities.78 Similarly, Purdue received repeated reports in 2008

from a sales representative who visited a family practice doctor in Bothell, Washington; the sales




76
   Meier, supra note 15, at 298-300.
77
   Id.
78
   Harriet Ryan, Scott Glover, and Lisa Girion, How black-market OxyContin spurred a town's
  descent into crime, addiction and heartbreak, Los Angeles Times (July 10, 2016),
  http://www.latimes.com/projects/la-me-oxycontin-everett/; Harriet Ryan, Lisa Girion, and Scott
  Glover, More than 1 million OxyContin pills ended up in the hands of criminals and addicts.
  What the drugmaker knew, Los Angeles Times (July 10, 2016),
  http://www.latimes.com/projects/la-me-oxycontin-part2/.



                                                 50
          Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 57 of 162



representative informed Purdue that many of this doctor’s patients were men in their twenties

who did not appear to be in pain, who sported diamond studs and $350 sneakers, and who always

paid for their 80 mg OxyContin prescriptions in cash. Despite being repeatedly alerted to the

doctor’s conduct, Purdue did not take any action to report it until three years later.

          172.   Whenever examples of opioid diversion and abuse have drawn media attention,

the Manufacturing Defendants have consistently blamed “bad actors.” For example, in 2001,

during a Congressional hearing, Purdue’s attorney Howard Udell answered pointed questions

about how it was that Purdue could utilize IMS Health data to assess their marketing efforts but

not notice a particularly egregious pill mill in Pennsylvania run by a doctor named Richard

Paolino. Udell asserted that Purdue was “fooled” by the “bad actor” doctor: “The picture that is

painted in the newspaper [of Dr. Paolino] is of a horrible, bad actor, someone who preyed upon

this community, who caused untold suffering. And he fooled us all. He fooled law enforcement.

He fooled the DEA. He fooled local law enforcement. He fooled us.”79

          173.   But given the closeness with which all Defendants monitored prescribing patterns,

including through IMS Health data, it is highly improbable that they were “fooled.” In fact, a

local pharmacist had noticed the volume of prescriptions coming from Paolino’s clinic and

alerted authorities. Purdue had the prescribing data from the clinic and alerted no one. Rather, it

appears Purdue and other Defendants used the IMS Health data to target pill mills and sell more

pills. Indeed, a Purdue executive referred to Purdue’s tracking system and database as a “gold

mine” and acknowledged that Purdue could identify highly suspicious volumes of prescriptions.

          174.   In addition, the Manufacturing Defendants had the ability to know who the

ultimate customers of their pills were due to their control of “chargeback” data. Chargebacks are



79
     Meier, supra note 15 at 179.



                                                 51
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 58 of 162



available when distributors purchase the drugs at an established wholesale price, but then sell the

drugs at a discounted price based on contract pricing the Manufacturing Defendants have offered

to the indirect customers. The distributor honors the contract pricing but then submits a

chargeback request to the manufacturer to recover the difference. In order to get the chargeback,

distributors must provide detailed information about the indirect customer and about the product

sold. As a result, Manufacturing Defendants are collecting data on the indirect customers of their

products and know exactly how many of their pills are going where. And like the Distributor

Defendants, Manufacturing Defendants are also subject to the monitoring and reporting

requirements of the CSA.

       175.     The Manufacturing Defendants tracked their pills through chargeback and IMS

data and/or received reports from sales representatives making in-person visits. They had the

ability, and the obligation, to monitor and report suspicious orders. But pill mills were highly

lucrative. Defendants knowingly allowed certain clinics to dispense staggering quantities of

potent opioids and then feigned surprise when the most egregious examples eventually made the

nightly news.

       4.       Widespread prescription opioid use broadened the market for heroin and
                fentanyl.

       176.     Defendants’ scheme achieved a dramatic expansion of the U.S. market for

opioids, prescription and non-prescription alike. Heroin and fentanyl use has surged—a

foreseeable consequence of Defendants’ successful promotion of opioid use coupled with the

sheer potency of their products.

       177.     In his book Dreamland: The True Tale of America’s Opiate Epidemic, journalist

Sam Quinones summarized the easy entrance of black tar heroin in a market primed by

prescription opioids:




                                                52
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 59 of 162



       His black tar, once it came to an area where OxyContin had already tenderized the
       terrain, sold not to tapped-out junkies but to younger kids, many from the suburbs,
       most of whom had money and all of whom were white. Their transition from Oxy
       to heroin, he saw, was a natural and easy one. Oxy addicts began by sucking on and
       dissolving the pills’ timed-release coating. They were left with 40 or 80 mg of pure
       oxycodone. At first, addicts crushed the pills and snorted the powder. As their
       tolerance built, they used more. To get a bigger bang from the pill, they liquefied it
       and injected it. But their tolerance never stopped climbing. OxyContin sold on the
       street for a dollar a milligram and addicts very quickly were using well over 100
       mg a day. As they reached their financial limits, many switched to heroin, since
       they were already shooting up Oxy and had lost any fear of the needle.80

       178.    In a study examining the relationship between the abuse of prescription opioids

and heroin, researchers found that 75% of those who began their opioid abuse in the 2000s

reported that their first opioid was a prescription drug.81 As the graph below illustrates,

prescription opioids replaced heroin as the first opioid of abuse beginning in the 1990s.




80
  Quinones, supra note 75, at 165-66.
81
  Theodore J. Cicero, PhD, Matthew S. Ellis, MPE, Hilary L. Surratt, PhD, The Changing Face
 of Heroin Use in the United States: A Retrospective Analysis of the Past 50 Years, 71(7) JAMA
 Psychiatry 821-826 (2014),
 https://jamanetwork.com/journals/jamapsychiatry/fullarticle/1874575.



                                                 53
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 60 of 162




       179.     The researchers also found that nearly half of the respondents who indicated that

their primary drug was heroin actually preferred prescription opioids, because the prescription

drugs were legal, and perceived as “safer and cleaner.” But, heroin’s lower price point is a

distinct advantage. While an 80 mg OxyContin might cost $80 on the street, the same high can

be had from $20 worth of heroin.

       180.     As noted above, there is little difference between the chemical structures of heroin

and prescription opioids. Between 2005 and 2009, Mexican heroin production increased by over

600%. And between 2010 and 2014, the amount of heroin seized at the U.S.-Mexico border more

than doubled.




                                                 54
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 61 of 162



       181.    From 2000 to 2017, fatal overdoses related to heroin in the U.S. increased by

766%–from 1,842 deaths in 2000 to 15,958 deaths in 2017.82

       182.    Along with heroin use, fentanyl use is on the rise, as a result of America’s

expanded appetite for opioids. But fentanyl, as noted above, is fifty times more potent than

heroin, and overdosing is all too easy. In 2013, fentanyl caused 3,000 overdose deaths. By 2017,

the number of deaths attributed to the potent synthetic opioid had risen to 29,000. Deaths

involving fentanyl increased more than 45 percent in 2017 alone. 83

       183.    As Dr. Caleb Banta-Green, senior research scientist at the University of

Washington’s Alcohol and Drug Abuse Institute, told The Seattle Times in August 2017, “The

bottom line is opioid addiction is the overall driver of deaths. People will use whatever opioid

they can get. It’s just that which one they’re buying is changing a bit.”84

       184.    In addition to the expanded market for opioids of all kinds, the opioid epidemic

has contributed to a resurgence in methamphetamine use, as some opioid users turn to the

stimulant to counter the effects of opioids.85 Co-use of methamphetamine and opioids has nearly

doubled in the last six years. From 2011 to 2017, the percentage of opioid users seeking

treatment who reported also using methamphetamine in the prior month jumped from 19% to




82
   Overdose Death Rates, supra note 4.
83
   Josh Katz and Margot Sanger-Katz, ‘The Numbers Are So Staggering.’ Overdose Deaths Set a
  Record Last Year, The New York Times (Nov. 29, 2018),
  https://www.nytimes.com/interactive/2018/11/29/upshot/fentanyl-drug-overdose-deaths.html.
84
   Opioids: The Leading Cause of Drug Deaths in Seattle Area, U. of Wash. Sch. of Pub. Health
  (Aug. 25, 2017), http://sph.washington.edu/news/article.asp?content_ID=8595.
85
   See, e.g., Opioids and methamphetamine: a tale of two crises, 391(10122) The Lancet 713
  (Feb. 24, 2018), https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(18)30319-
  2/fulltext; Brenda Goodman, MA, Experts Warn of Emerging ‘Stimulant Epidemic’, WebMD
  (Apr. 3, 2018), https://www.webmd.com/mental-health/addiction/news/20180403/experts-
  warn-of-emerging-stimulant-epidemic.



                                                 55
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 62 of 162



34%.86 This increase in co-use did not occur with any other drug class.87 The two drugs’ opposite

modes of action balance each other out, making co-use appealing to opioid users who need to be

active at certain times. As one article explained, “[f]or addicts, the drugs pair: Heroin is a downer

and methamphetamine is an upper.”88 Researchers studying the “twin epidemics” have found

that some opioid users will turn to methamphetamine as a substitute to opioids to stave off

withdrawals if they cannot obtain opioids.89 And as opioids become more difficult to obtain and

afford, users increasingly turn to cheap methamphetamine.90 Co-use of opioids and

methamphetamines is rising around the United States, compounding the issues that local

governments face in combating the opioid epidemic.91

D.     The Marketing Defendants Promoted Prescription Opioids Through Several
       Channels.

       185.    Despite knowing the devastating consequences of widespread opioid use, the

Marketing Defendants engaged in a sophisticated and multi-pronged promotional campaign

designed to achieve just that. By implementing the strategies pioneered by Arthur Sackler, these

Defendants were able to achieve the fundamental shift in the perception of opioids that was key

to making them blockbuster drugs.



86
   Matthew Ellis, Zarchary Kasper, Theodore Cicero, Twin epidemics: The surging rise of
  methamphetamine use in chronic opioid users. 193 Drug and Alcohol Depend. 14 (Dec. 2018),
  https://doi.org/10.1016/j.drugalcdep.2018.08.029.
87
   Id.
88
   Michelle Theriault Boots, The silent fallout of the opioid epidemic? Meth., Anchorage Daily
  News (Mar. 30, 2018), https://www.adn.com/alaska-news/2018/03/19/the-silent-fallout-of-the-
  opioid-epidemic-meth/#.
89
   Randy Dotinga, Methamphetamine use climbing among opioid users, Clinical Psychology
  News (June 29, 2018), https://www.mdedge.com/psychiatry/article/169254/addiction-
  medicine/methamphetamine-use-climbing-among-opioid-users.
90
   Rachel Martin, In Rural Ohio, An Opioid Crisis Becomes A Meth Crisis, NPR (June 6, 2018,
  5:11am), https://www.npr.org/2018/06/06/617422943/in-rural-ohio-an-opioid-crisis-becomes-
  a-meth-crisis.
91
   Ellis, supra note 86.



                                                 56
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 63 of 162



       186.     The Marketing Defendants disseminated their deceptive statements about opioids

through several channels.92 First, these Defendants aggressively and persistently pushed opioids

through sales representatives. Second, these Defendants funded third-party organizations that

appeared to be neutral, but in fact served as additional marketing departments for drug

companies. Third, these Defendants utilized prominent physicians as paid spokespeople—“Key

Opinion Leaders”—to take advantage of doctors’ respect for and reliance on the

recommendations of their peers. Finally, these Defendants also used print and online advertising,

including unbranded advertising, which is not reviewed by the FDA.

       187.     The Marketing Defendants spent substantial sums and resources in making these

communications. For example, Purdue spent more than $200 million marketing OxyContin in

2001 alone.93

       1.       The Marketing Defendants aggressively deployed sales representatives to
                push their products.

       188.     The Marketing Defendants communicated to prescribers directly in the form of

in-person visits and communications from sales representatives. The Marketing Defendants’

sales representatives provided health care providers with pamphlets, visual aids, and other

marketing materials designed to increase the rate of opioids prescribed to patients. These sales

representatives knew the doctors they visited relied on the information they provided, and that

the doctors had minimal time or resources to investigate the materials’ veracity independently.




92
  The specific misrepresentations and omissions are discussed below in Section E.
93
  Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health, Education,
 Labor and Pensions, 107th Cong. 2 (Feb. 12, 2002) (testimony of Paul Goldenheim, Vice
 President for Research, Purdue Pharma), https://www.gpo.gov/fdsys/pkg/CHRG-
 107shrg77770/html/CHRG-107shrg77770.htm.



                                                57
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 64 of 162



       189.    The Marketing Defendants’ tactics through their sales representatives—also

known as “detailers”—were particularly aggressive. In 2014, the Marketing Defendants

collectively spent well over $100 million on detailing branded opioids to doctors.

       190.    Each sales representative has a specific sales territory and is responsible for

developing a list of about 105 to 140 physicians to call on who already prescribe opioids or who

are candidates for prescribing opioids.

       191.    When Purdue launched OxyContin in 1996, its 300-plus sales force had a total

physician call list of approximately 33,400 to 44,500. By 2000, nearly 700 representatives had a

total call list of approximately 70,500 to 94,000 physicians. Each sales representative was

expected to make about thirty-five physician visits per week and typically called on each

physician every three to four weeks, while each hospital sales representative was expected to

make about fifty physician visits per week and call on each facility every four weeks.94

       192.    One of Purdue’s early training memos compared doctor visits to “firing at a

target,” declaring that “[a]s you prepare to fire your ‘message,’ you need to know where to aim

and what you want to hit!”95 According to the memo, the target is physician resistance based on

concern about addiction: “The physician wants pain relief for these patients without addicting

them to an opioid.”96

       193.    Former sales representative Steven May, who worked for Purdue from 1999 to

2005, explained to a journalist that the most common objection he heard about prescribing




94
   OxyContin Abuse and Diversion and Efforts to Address the Problem, supra note 36, at 20.
95
   Meier, supra note 15, at 102.
96
   Id.



                                                58
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 65 of 162



OxyContin was that “it’s just too addictive.”97 In order to overcome that objection and hit their

“target,” May and other sales representatives were taught to say, “The delivery system is

believed to reduce the abuse liability of the drug.”98 May repeated that line to doctors even

though he “found out pretty fast that it wasn’t true.”99 He and his coworkers learned quickly that

people were figuring out how to remove the time-releasing coating, but they continued making

this misrepresentation until Purdue was forced to remove it from the drug’s label.

       194.    Purdue trained its sales representatives to misrepresent the addiction risk in other

ways. May explained that he and his coworkers were trained to “refocus” doctors on “legitimate”

pain patients, and to represent that “legitimate” patients would not become addicted. In addition,

they were trained to say that the 12-hour dosing made the extended-release opioids less “habit-

forming” than painkillers that need to be taken every four hours. Similarly, former Purdue sales

manager William Gergely told a Florida state investigator in 2002 that sales representatives were

instructed to say that OxyContin was “virtually non-addicting” and “non-habit-forming.”100

       195.    As Shelby Sherman, a Purdue sales representative from 1974 to 1998, told a

reporter regarding OxyContin promotion, “It was sell, sell, sell. We were directed to lie. Why

mince words about it?”101




97
   David Remnick, How OxyContin Was Sold to the Masses (Steven May interview with Patrick
  Radden Keefe), New Yorker (Oct. 27, 2017), https://www.newyorker.com/podcast/the-new-
  yorker-radio-hour/how-oxycontin-was-sold-to-the-masses.
98
   Keefe, supra note 42; see also Meier, supra note 15, at 102 (“Delayed absorption, as provided
  by OxyContin tablets, is believed to reduce the abuse liability of the drug.”).
99
   Keefe, supra note 42.
100
    Fred Schulte and Nancy McVicar, Oxycontin Was Touted As Virtually Nonaddictive, Newly
  Released State Records Show, Sun Sentinel (Mar. 6, 2003), http://articles.sun-
  sentinel.com/2003-03-06/news/0303051301_1_purdue-pharma-oxycontin-william-gergely.
101
    Glazek, supra note 28.



                                                59
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 66 of 162



        196.    The Marketing Defendants utilized lucrative bonus systems to encourage their

sales representatives to stick to the script and increase opioid sales in their territories. Purdue

paid $40 million in sales incentive bonuses to its sales representatives in 2001 alone, with annual

bonuses ranging from $15,000 to nearly $240,000.102 The training memo described above, in

keeping with a Wizard of Oz theme, reminded sales representatives: “A pot of gold awaits you

‘Over the Rainbow’!”103

        197.    As noted above, these Defendants have also spent substantial sums to purchase,

manipulate, and analyze prescription data available from IMS Health, which allows them to track

initial prescribing and refill practices by individual doctors, and in turn to customize their

communications with each doctor. The Marketing Defendants’ use of this marketing data was a

cornerstone of their marketing plan,104 and continues to this day.

        198.    The Marketing Defendants also aggressively pursued family doctors and primary

care physicians perceived to be susceptible to their marketing campaigns. The Marketing

Defendants knew that these doctors relied on information provided by pharmaceutical companies

when prescribing opioids, and that, as general practice doctors seeing a high volume of patients

on a daily basis, they would be less likely to scrutinize the companies’ claims.

        199.    Furthermore, the Marketing Defendants knew or should have known the doctors

they targeted were often poorly equipped to treat or manage pain comprehensively, as they often

had limited resources or time to address behavioral or cognitive aspects of pain treatment or to

conduct the necessary research themselves to determine whether opioids were as beneficial as



102
    Art Van Zee, M.D., The Promotion and Marketing of OxyContin: Commercial Triumph,
  Public Health Tragedy, 99(2) Am J Public Health 221-27 (Feb. 2009),
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2622774/.
103
    Meier, supra note 15, at 103.
104
    Van Zee, The Promotion and Marketing of OxyContin, supra note 102.



                                                  60
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 67 of 162



these Defendants claimed. In fact, the majority of doctors and dentists who prescribe opioids are

not pain specialists. For example, a 2014 study conducted by pharmacy benefit manager Express

Scripts reviewing narcotic prescription data from 2011 to 2012 concluded that of the more than

500,000 prescribers of opioids during that time period, only 385 were identified as pain

specialists.105

        200.      When the Marketing Defendants presented these doctors with sophisticated

marketing material and apparently scientific articles that touted opioids’ ability to easily and

safely treat pain, many of these doctors began to view opioids as an efficient and effective way to

treat their patients.

        201.      In addition, sales representatives aggressively pushed doctors to prescribe

stronger doses of opioids. For example, one Purdue sales representative in Florida wrote about

working for a particularly driven regional manager named Chris Sposato and described how

Sposato would drill the sales team on their upselling tactics:

        It went something like this. “Doctor, what is the highest dose of OxyContin you
        have ever prescribed?” “20mg Q12h.” “Doctor, if the patient tells you their pain
        score is still high you can increase the dose 100% to 40mg Q12h, will you do that?”
        “Okay.” “Doctor, what if that patient then came back and said their pain score was
        still high, did you know that you could increase the OxyContin dose to 80mg Q12h,
        would you do that?” “I don’t know, maybe.” “Doctor, but you do agree that you
        would at least Rx the 40mg dose, right?” “Yes.”

        The next week the rep would see that same doctor and go through the same
        discussion with the goal of selling higher and higher doses of OxyContin. Miami
        District reps have told me that on work sessions with [Sposato] they would sit in
        the car and role play for as long as it took until [Sposato] was convinced the rep
        was delivering the message with perfection.

        202.      The Marketing Defendants used not only incentives but competitive pressure to

push sales representatives into increasingly aggressive promotion. One Purdue sales


105
   A Nation in Pain, Express Scripts (Dec. 9, 2014), http://lab.express-scripts.com/lab
 /publications/a-nation-in-pain.



                                                  61
          Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 68 of 162



representative recalled the following scene: “I remember sitting at a round table with others from

my district in a regional meeting while everyone would stand up and state the highest dose that

they had suckered a doctor to prescribe. The entire region!!”

          203.   Sales representatives knew that the prescription opioids they were promoting were

dangerous. For example, May had only been at Purdue for two months when he found out that a

doctor he was calling on had just lost a family member to an OxyContin overdose.106 And as

another sales representative wrote on a public forum:

          Actions have consequences - so some patient gets Rx’d the 80mg OxyContin when
          they probably could have done okay on the 20mg (but their doctor got “sold” on
          the 80mg) and their teen son/daughter/child’s teen friend finds the pill bottle and
          takes out a few 80’s... next they’re at a pill party with other teens and some kid
          picks out a green pill from the bowl... they go to sleep and don’t wake up (because
          they don’t understand respiratory depression) Stupid decision for a teen to
          make...yes... but do they really deserve to die?

          204.   The Marketing Defendants rewarded their sales representatives with bonuses

when doctors whom they had detailed wrote prescriptions for their company’s drug. Because of

this incentive system, sales representatives stood to gain significant bonuses if they had a pill

mill in their sales region. Indeed, Defendants often helped their sales representatives find and

target such pill mills.

          205.   The high volume of prescriptions written by doctors at pill mills translated

directly to higher bonuses for the sales representatives detailing those pill mills. As a result, sales

representatives continued to promote opioids even at known pill mills.

          206.   The Marketing Defendants applied this combination of intense competitive

pressure and lucrative financial incentives because they knew that sales representatives, with

their frequent in-person visits with prescribers, were incredibly effective. In fact, manufacturers’



106
      Remnick, supra note 97.



                                                  62
           Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 69 of 162



internal documents reveal that they considered sales representatives their “most valuable

resource.”

       2.       The Marketing Defendants bankrolled seemingly independent “front
                groups” to promote opioid use and fight restrictions on opioids.

       207.     The Marketing Defendants funded, controlled, and operated third-party

organizations that communicated to doctors, patients, and the public the benefits of opioids to

treat chronic pain. These organizations—also known as “front groups”—appeared independent

and unbiased. But in fact, they were but additional paid mouthpieces for the drug manufacturers.

These front groups published prescribing guidelines and other materials that promoted opioid

treatment as a way to address patients’ chronic pain. The front groups targeted doctors, patients,

and lawmakers, all in coordinated efforts to promote opioid prescriptions.

       208.     The Marketing Defendants spent significant financial resources contributing to

and working with these various front groups to increase the number of opioid prescriptions

written.

       209.     The most prominent front group utilized by the Marketing Defendants was the

American Pain Foundation (APF), which received more than $10 million from opioid drug

manufacturers, including Defendants, from 2007 through 2012. For example, Purdue contributed

$1.7 million and Endo also contributed substantial sums to the APF.107

       210.     Throughout its existence, APF’s operating budget was almost entirely comprised

of contributions from prescription opioid manufacturers. For instance, nearly 90% of APF’s $5

million annual budget in 2010 came from “donations” from some of the Marketing Defendants,

and by 2011, APF was entirely dependent on grants from drug manufacturers, including from



107
  Charles Ornstein and Tracy Weber, The Champion of Painkillers, ProPublica (Dec. 23, 2011,
 9:15am), https://www.propublica.org/article/the-champion-of-painkillers.



                                                63
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 70 of 162



Purdue and Endo. Not only did Defendants control APF’s purse strings, APF’s board of directors

was comprised of doctors who were on Defendants’ payrolls, either as consultants or speakers at

medical events.108

       211.    Although holding itself out as an independent advocacy group promoting patient

well-being, APF consistently lobbied against federal and state proposals to limit opioid use.

       212.    Another prominent front group was the American Academy of Pain Medicine

(AAPM), which has received over $2.2 million in funding since 2009 from opioid drug

manufacturers, including Defendants. Like APF, AAPM presented itself as an independent and

non-biased advocacy group representing physicians practicing in the field of pain medicine, but

in fact was just another mouthpiece the Marketing Defendants used to push opioids on doctors

and patients.109

       213.    Both the APF and the AAPM published treatment guidelines and sponsored and

hosted medical education programs that touted the benefits of opioids to treat chronic pain while

minimizing and trivializing their risks. The treatment guidelines the front groups published—

many of which are discussed in detail below—were particularly important to Defendants in

ensuring widespread acceptance for opioid therapy to treat chronic pain. Defendants realized,

just as the CDC has, that such treatment guidelines can “change prescribing practices,” because

they appear to be unbiased sources of evidence-based information, even when they are in reality

marketing materials.




108
   Id.
109
   Tracy Weber and Charles Ornstein, Two Leaders in Pain Treatment Have Long Ties to Drug
 Industry, ProPublica (Dec. 23, 2011, 9:14am), https://www.propublica.org/article/two-leaders-
 in-pain-treatment-have-long-ties-to-drug-industry.



                                                64
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 71 of 162



       214.    For instance, the AAPM, in conjunction with the American Pain Society (APS),

issued comprehensive guidelines in 2009 titled “Guideline for the Use of Chronic Opioid

Therapy in Chronic Noncancer Pain – Evidence Review” (“2009 Guidelines”). The 2009

Guidelines promoted opioids as “safe and effective” for treating chronic pain, despite

acknowledging limited evidence to support this statement. Unsurprisingly, the Marketing

Defendants have widely referenced and promoted these guidelines, issued by front groups these

Defendants funded and controlled. These 2009 Guidelines are still available online today.110

       215.    The Alliance for Patient Access (APA), discussed above, was established in

2006, along with the firm that runs it, Woodberry Associates LLC. The APA describes itself as

“a national network of physicians dedicated to ensuring patient access to approved therapies and

appropriate clinical care,” but its list of “Associate Members and Financial Supporters” contains

thirty drug companies, including each of the Marketing Defendants named in this lawsuit. In

addition, the APA’s board members include doctors who have received hundreds of thousands of

dollars in payments from drug companies. As discussed above, the APA has been a vocal critic

of policies restricting the flow of opioids and has supported efforts to curtail the DEA’s ability to

stop suspicious orders of prescription drugs.

       216.    The “white paper” issued by the APA in 2013 also echoed a favorite narrative of

the Marketing Defendants, the supposed distinction between “legitimate patients” on the one

hand and “addicts” on the other, asserting that one “unintended consequence” of regulating pain




110
   Clinical Guideline for the Use of Chronic Opioid Therapy in Chronic Noncancer Pain, Am.
 Pain Soc’y, http://americanpainsociety.org/uploads/education/guidelines/chronic-opioid-
 therapy-cncp.pdf (last visited June 10, 2019).



                                                 65
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 72 of 162



medication would be that “[p]atients with legitimate medical needs feel stigmatized, treated like

addicts.”111

        217.   Another group utilized by the Marketing Defendants to encourage opioid

prescribing practices, a University of Wisconsin-based organization known as the Pain & Policy

Studies Group, received $2.5 million from pharmaceutical companies to promote opioid use and

discourage the passing of regulations against opioid use in medical practice. The Pain & Policy

Studies Group wields considerable influence over the nation’s medical schools as well as within

the medical field in general.112 Purdue was the largest contributor to the Pain & Policy Studies

Group, paying approximately $1.6 million between 1999 and 2010.113

        218.   The Federation of State Medical Boards (FSMB) of the United States is a

national non-profit organization that represents the seventy-state medical and osteopathic boards

of the United States and its territories and co-sponsors the United States Medical Licensing

Examination. Beginning in 1997, FSMB developed model policy guidelines around the treatment

of pain, including opioid use. The original initiative was funded by the Robert Wood Johnson

Foundation, but subsequently AAPM, APS, the University of Wisconsin Pain & Policy Studies

Group, and the American Society of Law, Medicine, & Ethics all made financial contributions to

the project.




111
    Prescription Pain Medication: Preserving Patient Access While Curbing Abuse, supra note
  74.
112
    The Role of Pharmaceutical Companies in the Opioid Epidemic, Addictions.com,
  https://www.addictions.com/opiate/the-role-of-pharmaceutical-companies-in-the-opioid-
  epidemic/ (last visited June 10, 2019).
113
    John Fauber, UW group ends drug firm funds, Journal Sentinel (Apr. 20, 2011),
  http://archive.jsonline.com/watchdog/watchdogreports/120331689.html.



                                                66
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 73 of 162



       219.    FSMB’s 2004 Model Policy encourages state medical boards “to evaluate their

state pain policies, rules, and regulations to identify any regulatory restrictions or barriers that

may impede the effective use of opioids to relieve pain.”114 (Emphasis added).

       220.    One of the most significant barriers to convincing doctors that opioids were safe

to prescribe to their patients for long-term treatment of chronic pain was the fact that many of

those patients would, in fact, become addicted to opioids. If patients began showing up at their

doctors’ offices with obvious signs of addiction, the doctors would, of course, become concerned

and likely stop prescribing opioids. And, doctors might stop believing the Marketing Defendants’

claims that addiction risk was low.

       221.    To overcome this hurdle, the Marketing Defendants promoted a concept called

“pseudoaddiction.” These Defendants told doctors that when their patients appeared to be

addicted to opioids—for example, asking for more and higher doses of opioids, increasing doses

themselves, or claiming to have lost prescriptions in order to get more opioids—this was not

actual addiction. Rather, the Marketing Defendants told doctors what appeared to be classic signs

of addiction were actually just signs of undertreated pain. The solution to this “pseudoaddiction”:

more opioids. Instead of warning doctors of the risk of addiction and helping patients to wean

themselves off powerful opioids and deal with their actual addiction, the Marketing Defendants

pushed even more dangerous drugs onto patients.

       222.    The FSMB’s Model Policy gave a scientific veneer to this fictional and overstated

concept. The policy defines “pseudoaddiction” as “[t]he iatrogenic syndrome resulting from the




114
   Model Policy for the Use of Controlled Substances for the Treatment of Pain, Fed’n of St.
 Med. Boards of the U.S., Inc. (May 2004),
 http://www.painpolicy.wisc.edu/sites/default/files/sites/www.painpolicy.wisc.edu/files/model_
 0.pdf.



                                                 67
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 74 of 162



misinterpretation of relief seeking behaviors as though they are drug-seeking behaviors that are

commonly seen with addiction” and states that these behaviors “resolve upon institution of

effective analgesic therapy.”115

       223.    In May 2012, Senate Finance Committee Chairman Max Baucus and senior

Committee member Chuck Grassley initiated an investigation into the connections of the

Marketing Defendants with medical groups and physicians who have advocated increased opioid

use.116 In addition to Purdue, Endo, and Janssen, the senators sent letters to APF, APS, AAPM,

FSMB, the University of Wisconsin Pain & Policy Studies Group, the Joint Commission on

Accreditation of Healthcare Organization, and the Center for Practical Bioethics, requesting from

each “a detailed account of all payments/transfers received from corporations and any related

corporate entities and individuals that develop, manufacture, produce, market, or promote the use

of opioid-based drugs from 1997 to the present.”117

       224.    On the same day as the senators’ investigation began, APF announced that it

would “cease to exist, effective immediately.”118

       3.      “It was pseudoscience”: the Marketing Defendants paid prominent
               physicians to promote their products.

       225.    The Marketing Defendants retained highly credentialed medical professionals to

promote the purported benefits and minimal risks of opioids. Known as “Key Opinion Leaders”


115
    Id.
116
    Baucus, Grassley Seek Answers about Opioid Manufacturers’ Ties to Medical Groups, U.S.
  Senate Comm. on Fin. (May 8, 2012), https://www.finance.senate.gov/chairmans-news/baucus-
  grassley-seek-answers-about-opioid-manufacturers-ties-to-medical-groups.
117
    Letter from U.S. Senate Comm. on Fin. to Am. Pain Found. (May 8, 2012),
  https://www.finance.senate.gov/imo/media/doc/05092012%20Baucus%20Grassley%20Opioid
  %20Investigation%20Letter%20to%20American%20Pain%20Foundation2.pdf.
118
    Charles Ornstein and Tracy Weber, American Pain Foundation Shuts Down as Senators
  Launch Investigation of Prescription Narcotics, ProPublica (May 8, 2012, 8:57pm),
  https://www.propublica.org/article/senate-panel-investigates-drug-company-ties-to-pain-
  groups.



                                               68
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 75 of 162



or “KOLs,” these medical professionals were often integrally involved with the front groups

described above. The Marketing Defendants paid these KOLs substantial amounts to present at

Continuing Medical Education (“CME”) seminars and conferences, and to serve on their

advisory boards and on the boards of the various front groups.

       226.    The Marketing Defendants also identified doctors to serve as speakers or attend

all-expense-paid trips to programs with speakers. 119 The Marketing Defendants used these trips

and programs—many of them lavish affairs—to incentivize the use of opioids while

downplaying their risks, bombarding doctors with messages about the safety and efficacy of

opioids for treating long-term pain. Although often couched in scientific certainty, the Marketing

Defendants’ messages were false and misleading, and helped to ensure that millions of

Americans would be exposed to the profound risks of these drugs.

       227.    It is well documented that this type of pharmaceutical company symposium

influences physicians’ prescribing, even though physicians who attend such symposia believe

that such enticements do not alter their prescribing patterns.120 For example, doctors who were

invited to these all-expenses-paid weekends in resort locations like Boca Raton, Florida, and

Scottsdale, Arizona, wrote twice as many prescriptions as those who did not attend.121

       228.    The KOLs gave the impression they were independent sources of unbiased

information, while touting the benefits of opioids through their presentations, articles, and books.

KOLs also served on committees and helped develop guidelines such as the 2009 Guidelines

described above that strongly encouraged the use of opioids to treat chronic pain.



119
    Van Zee, The Promotion and Marketing of OxyContin, supra note 102.
120
    Id.
121
    Harriet Ryan, Lisa Girion and Scott Glover, OxyContin goes global — “We’re only just
  getting started”, Los Angeles Times (Dec. 18, 2016), http://www.latimes.com/projects/la-me-
  oxycontin-part3/.



                                                69
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 76 of 162



       229.     One of the most prominent KOLs for the Marketing Defendants’ opioids was Dr.

Russell Portenoy. A respected leader in the field of pain treatment, Dr. Portenoy was highly

influential. Dr. Andrew Kolodny, cofounder of Physicians for Responsible Opioid Prescribing,

described him “lecturing around the country as a religious-like figure. The megaphone for

Portenoy is Purdue, which flies in people to resorts to hear him speak. It was a compelling

message: ‘Docs have been letting patients suffer; nobody really gets addicted; it’s been

studied.’”122

       230.     As one organizer of CME seminars, who worked with Portenoy and Purdue,

pointed out, “had Portenoy not had Purdue’s money behind him, he would have published some

papers, made some speeches, and his influence would have been minor. With Purdue’s millions

behind him, his message, which dovetailed with their marketing plans, was hugely magnified.”123

       231.     In recent years, some of the Marketing Defendants’ KOLs have conceded that

many of their past claims in support of opioid use lacked evidence or support in the scientific

literature.124 Dr. Portenoy himself specifically admitted that he overstated the drugs’ benefits and

glossed over their risks, and that he “gave innumerable lectures in the late 1980s and ‘90s about

addiction that weren’t true.”125 He mused, “Did I teach about pain management, specifically




122
    Quinones, supra note 75, at 314.
123
    Id. at 136.
124
    See, e.g., John Fauber, Painkiller boom fueled by networking, Journal Sentinel (Feb. 18,
  2012), http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-
  networking-dp3p2rn-139609053.html/ (finding that a key Endo KOL acknowledged that opioid
  marketing went too far).
125
    Thomas Catan and Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall Street
  Journal (Dec. 17, 2012, 11:36am),
  https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.



                                                70
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 77 of 162



about opioid therapy, in a way that reflects misinformation? Well, against the standards of 2012,

I guess I did . . . We didn’t know then what we know now.”126

       232.    Dr. Portenoy did not need “the standards of 2012” to discern evidence-based

science from baseless claims, however. When interviewed by journalist Barry Meier for his 2003

book, Pain Killer, Dr. Portenoy was more direct: “It was pseudoscience. I guess I’m going to

have always to live with that one.”127

       233.    Dr. Portenoy was perhaps the most prominent KOL for prescription opioids, but

he was far from the only one. In fact, Dr. Portenoy and a doctor named Perry Fine co-wrote A

Clinical Guide to Opioid Analgesia, which contained statements that conflict with the CDC’s

2016 Guideline for Prescribing Opioids for Chronic Pain, such as the following examples

regarding respiratory depression and addiction:

       At clinically appropriate doses, . . . respiratory rate typically does not decline.
       Tolerance to the respiratory effects usually develops quickly, and doses can be
       steadily increased without risk.

       Overall, the literature provides evidence that the outcomes of drug abuse and
       addiction are rare among patients who receive opioids for a short period (ie, for
       acute pain) and among those with no history of abuse who receive long-term
       therapy for medical indications.128

       234.    Dr. Fine is a Professor of Anesthesiology at the University of Utah School of

Medicine’s Pain Research Center. He has served on Purdue’s advisory board, provided medical

legal consulting for Janssen, and participated in CME activities for Endo, along with serving in

these capacities for several other drug companies. He co-chaired the APS-AAPM Opioid




126
    Id.
127
    Meier, supra note 15, at 277.
128
    Perry G. Fine, MD and Russell K. Portenoy, MD, A Clinical Guide to Opioid Analgesia 20
  and 34, McGraw-Hill Companies (2004),
  http://www.thblack.com/links/RSD/OpioidHandbook.pdf.



                                                  71
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 78 of 162



Guideline Panel, served as treasurer of the AAPM from 2007 to 2010 and as president of that

group from 2011 to 2013, and was also on the board of directors of APF.129

        235.    In 2011, he and Dr. Scott Fishman, discussed below, published a letter in JAMA

called “Reducing Opioid Abuse and Diversion,” which emphasized the importance of

maintaining patient access to opioids.130 The editors of JAMA found that both doctors had

provided incomplete financial disclosures and made them submit corrections listing all their ties

to the prescription painkiller industry.131

        236.    Dr. Fine also failed to provide full disclosures as required by his employer, the

University of Utah. For example, Dr. Fine told the university that he had received under $5,000

in 2010 from Johnson & Johnson for providing “educational” services, but Johnson & Johnson’s

website states that the company paid him $32,017 for consulting, promotional talks, meals and

travel that year.132

        237.    In 2012, along with other KOLs, Dr. Fine was investigated for his ties to drug

companies as part of the Senate investigation of front groups described above. When Marianne

Skolek, a reporter for the online news outlet Salem-News.com and a critic of opioid overuse,

wrote an article about him and another KOL being investigated, Dr. Fine fired back, sending a

letter to her editor accusing her of poor journalism and saying that she had lost whatever

credibility she may have had. He criticized her for linking him to Purdue, writing, “I have never



129
    Scott M. Fishman, MD, Incomplete Financial Disclosures in a Letter on Reducing Opioid
  Abuse and Diversion, 306 (13) JAMA 1445 (Oct. 5, 2011), https://jama
  network.com/journals/jama/article-abstract/1104464?redirect=true.
130
    Perry G. Fine, MD and Scott M. Fishman, MD, Reducing Opioid Abuse and Diversion, 306
  (4) JAMA 381 (July 27, 2011), https://jamanetwork.com/journals/jama/article-
  abstract/1104144?redirect=true.
131
    Incomplete Financial Disclosures in: Reducing Opioid Abuse and Diversion, 306 (13) JAMA
  1446 (Oct. 5, 2011), https://jamanetwork.com/journals/jama/fullarticle/1104453.
132
    Weber and Ornstein, Two Leaders in Pain Treatment, supra note 109.



                                                 72
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 79 of 162



had anything to do with Oxycontin development, sales, marketing or promotion; I have never

been a Purdue Pharma speaker”—neglecting to mention, of course, that he served on Purdue’s

advisory board, as the JAMA editors had previously forced him to disclose. 133

       238.    Another Utah physician, Dr. Lynn Webster, was the director of Lifetree Clinical

Research & Pain Clinic in Salt Lake City from 1990 to 2010, and in 2013 was the president of

AAPM (one of the front groups discussed above). Dr. Webster developed a five-question survey

he called the Opioid Risk Tool, which he asserted would “predict accurately which individuals

may develop aberrant behaviors when prescribed opioids for chronic pain.”134 He published

books titled The Painful Truth: What Chronic Pain Is Really Like and Why It Matters to Each of

Us and Avoiding Opioid Abuse While Managing Pain.

       239.    Dr. Webster and the Lifetree Clinic were investigated by the DEA for

overprescribing opioids after twenty patients died from overdoses. In keeping with the opioid

industry’s promotional messages, Dr. Webster apparently believed the solution to patients’

tolerance or addictive behaviors was more opioids: he prescribed staggering quantities of pills.

Tina Webb, a Lifetree patient who overdosed in 2007, was taking as many as thirty-two pain

pills a day in the year before she died, all while under doctor supervision.135 Carol Ann Bosley,

who sought treatment for pain at Lifetree after a serious car accident and multiple spine




133
    Marianne Skolek, Doctor Under Senate Investigation Lashes Out at Journalist, Salem News
  (Aug. 12, 2012, 8:45pm), http://www.salem-news.com/articles/august122012/perry-fine-folo-
  ms.php.
134
    Lynn Webster and RM Webster, Predicting aberrant behaviors in opioid-treated patients:
  preliminary validation of the Opioid Risk Tool 6 (6) Pain Med. 432 (Nov.-Dec. 2005),
  https://www.ncbi.nlm.nih.gov/pubmed/16336480.
135
    Jesse Hyde and Daphne Chen, The untold story of how Utah doctors and Big Pharma helped
  drive the national opioid epidemic, Deseret News (Oct. 26, 2017, 12:01am),
  https://www.deseretnews.com/article/900002328/the-untold-story-of-how-utah-doctors-and-
  big-pharma-helped-drive-the-national-opioid-epidemic.html.



                                                73
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 80 of 162



surgeries, quickly became addicted to opioids and was prescribed increasing quantities of pills; at

the time of her death, she was on seven different medications totaling approximately 600 pills a

month.136 Another woman, who sought treatment from Lifetree for chronic low back pain and

headaches, died at age forty-two after Lifetree clinicians increased her prescriptions to fourteen

different drugs, including multiple opioids, for a total of 1,158 pills a month.137

       240.     By these numbers, Lifetree resembles the pill mills and “bad actors” that the

Marketing Defendants blame for opioid overuse. But Dr. Webster was an integral part of

Defendants’ marketing campaigns, a respected pain specialist who authored numerous CMEs

sponsored by Endo and Purdue. And the Marketing Defendants promoted his Opioid Risk Tool

and similar screening questionnaires as measures that allow powerful opioids to be prescribed for

chronic pain.

       241.     Even in the face of patients’ deaths, Dr. Webster continues to promote a pro-

opioid agenda, even asserting that alternatives to opioids are risky because “[i]t’s not hard to

overdose on NSAIDs or acetaminophen.”138 He argued on his website in 2015 that DEA

restrictions on the accessibility of hydrocodone harm patients, and in 2017 tweeted in response to

CVS Caremark’s announcement that it will limit opioid prescriptions that “CVS Caremark’s new

opioid policy is wrong, and it won’t stop illegal drugs.”139

       242.     Another prominent KOL is Dr. Scott M. Fishman, the Chief of the Department of

Pain Medicine at University of California, Davis. He has served as president of APF and AAPM,



136
    Stephanie Smith, Prominent pain doctor investigated by DEA after patient deaths, CNN (Dec.
  20, 2013, 7:06am), http://www.cnn.com/2013/12/20/health/pain-pillar/index.html.
137
    Id.
138
    APF releases opioid medication safety module, Drug Topics (May 10, 2011),
  http://www.drugtopics.com/clinical-news/apf-releases-opioid-medication-safety-module.
139
    Lynn Webster, MD (@LynnRWebsterMD), Twitter (Dec. 7, 2017, 1:45pm),
  https://twitter.com/LynnRWebsterMD/status/938887130545360898.



                                                 74
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 81 of 162



and as a consultant and a speaker for Purdue, in addition to providing the company grant and

research support. He also has had financial relationships with Endo and Janssen. He wrote a

book for the FSMB called Responsible Opioid Use: A Physician’s Guide, which was distributed

to over 165,000 physicians in the U.S.

       243.    Dr. Fishman and Dr. Fine, along with Dr. Seddon Savage, published an editorial

in The Seattle Times in 2010, arguing that Washington legislation proposed to combat

prescription opioid abuse would harm patients, particularly by requiring chronic pain patients to

consult with a pain specialist before receiving a prescription for a moderate to high dose of an

opioid.140

       244.    These KOLs and others—respected specialists in pain medicine—proved to be

highly effective spokespeople for the Marketing Defendants.

       4.      The Marketing Defendants used “unbranded” advertising as a platform for
               their misrepresentations about opioids.

       245.    The Marketing Defendants also aggressively promoted opioids through

“unbranded advertising” to generally tout the benefits of opioids without specifically naming a

particular brand-name opioid drug. Instead, unbranded advertising is usually framed as “disease

awareness”—encouraging consumers to “talk to your doctor” about a certain health condition

without promoting a specific product. A trick often used by pharmaceutical companies,

unbranded advertising gives the pharmaceutical companies considerable leeway to make

sweeping claims about health conditions or classes of drugs. In contrast, a “branded”

advertisement that identifies a specific medication and its indication (i.e., the condition which the

drug is approved to treat) must also include possible side effects and contraindications—what the


140
   Perry G. Fine, Scott M. Fishman, and Seddon R. Savage, Bill to combat prescription abuse
 really will harm patients in pain, Seattle Times (Mar. 16, 2010, 4:39pm),
 http://old.seattletimes.com/html/opinion/2011361572_guest17fine.html.



                                                 75
         Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 82 of 162



FDA Guidance on pharmaceutical advertising refers to as “fair balance.” Branded advertising is

also subject to FDA review for consistency with the drug’s FDA-approved label.

         246.   Unbranded advertising allows pharmaceutical manufacturers to sidestep those

requirements; “fair balance” and consistency with a drug’s label are not required.

         247.   By engaging in unbranded advertising, the Marketing Defendants were and are

able to avoid FDA review and issue general statements to the public including that opioids

improve function, that addiction usually does not occur, and that withdrawal can easily be

managed. The Marketing Defendants’ unbranded advertisements either did not disclose the risks

of addiction, abuse, misuse, and overdose, or affirmatively denied or minimized those risks.

         248.   Through the various marketing channels described above—all of which the

Marketing Defendants controlled, funded, and facilitated, and for which they are legally

responsible—these Defendants made false or misleading statements about opioids despite the

lack of scientific evidence to support their claims, while omitting the true risk of addiction and

death.

E.       Specific Misrepresentations Made by the Marketing Defendants.

         249.   All the Marketing Defendants have made and/or continue to make false or

misleading claims in the following areas: (1) the low risk of addiction to opioids, (2) opioids’

efficacy for chronic pain and ability to improve patients’ quality of life with long-term use, (3)

the lack of risk associated with higher dosages of opioids, (4) the need to prescribe more opioids

to treat withdrawal symptoms, and (5) that risk-mitigation strategies and abuse-deterrent

technologies allow doctors to safely prescribe opioids for chronic use. These illustrative but non-

exhaustive categories of the Marketing Defendants’ misrepresentations about opioids are

described in detail below.




                                                 76
          Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 83 of 162



         1.     The Marketing Defendants falsely claimed that the risk of opioid abuse and
                addiction was low.

         250.   Collectively, the Marketing Defendants have made a series of false and

misleading statements about the low risk of addiction to opioids over the past twenty years. The

Marketing Defendants have also failed to take sufficient remedial measures to correct their false

and misleading statements.

         251.   The Marketing Defendants knew that many physicians were hesitant to prescribe

opioids other than for acute or cancer-related pain because of concerns about addiction. Because

of this general perception, sales messaging about the low risk of addiction was a fundamental

prerequisite misrepresentation.

         252.   Purdue launched OxyContin in 1996 with the statement that OxyContin’s

patented continuous-release mechanism “is believed to reduce the abuse liability.” This

statement, which appeared in OxyContin’s label and which sales representatives were taught to

repeat verbatim, was unsupported by any studies, and was patently false. The continuous-release

mechanism was simple to override, and the drug correspondingly easy to abuse. This fact was

known, or should have been known, to Purdue prior to its launch of OxyContin, because people

had been circumventing the same continuous-release mechanism for years with MS Contin,

which in fact commanded a high street price because of the dose of pure narcotic it delivered. In

addition, with respect to OxyContin, Purdue researchers notified company executives, including

Raymond and Richard Sackler, by email that patients in their clinical trials were abusing the drug

despite the timed-release mechanism.141

         253.   In 2007, as noted above, Purdue pleaded guilty to misbranding a drug, a felony

under the Food, Drug, and Cosmetic Act. 21 U.S.C. § 331(a)(2). As part of its guilty plea,


141
      WBUR On Point interview, supra note 21.



                                                77
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 84 of 162



Purdue agreed that certain Purdue supervisors and employees had, “with the intent to defraud or

mislead, marketed and promoted OxyContin as less addictive, less subject to abuse and

diversion, and less likely to cause tolerance and withdrawal than other pain medications” in the

following ways:

       Trained PURDUE sales representatives and told some health care providers that it
       was more difficult to extract the oxycodone from an OxyContin tablet for the
       purpose of intravenous abuse, although PURDUE’s own study showed that a drug
       abuser could extract approximately 68% of the oxycodone from a single 10mg
       OxyContin tablet by crushing the tablet, stirring it in water, and drawing the
       solution through cotton into a syringe;

       Told PURDUE sales representatives they could tell health care providers that
       OxyContin potentially creates less chance for addiction than immediate-release
       opioids;

       Sponsored training that taught PURDUE sales supervisors that OxyContin had
       fewer “peak and trough” blood level effects than immediate-release opioids
       resulting in less euphoria and less potential for abuse than short-acting opioids;

       Told certain health care providers that patients could stop therapy abruptly without
       experiencing withdrawal symptoms and that patients who took OxyContin would
       not develop tolerance to the drug; and

       Told certain health care providers that OxyContin did not cause a “buzz” or
       euphoria, caused less euphoria, had less addiction potential, had less abuse
       potential, was less likely to be diverted than immediate-release opioids, and could
       be used to “weed out” addicts and drug seekers.142

       254.    All these statements were false and misleading. But Purdue had not stopped there.

Purdue—and later the other Defendants—manipulated scientific research and utilized respected

physicians as paid spokespeople to convey its misrepresentations about low addiction risk in

much more subtle and pervasive ways, so that the idea that opioids used for chronic pain posed a

low addiction risk became so widely accepted in the medical community that Defendants were




142
   United States v. Purdue Frederick Co., supra note 25; see also, Plea Agreement, United
 States v. Purdue Frederick Co., No. 1:07-cr-00029 (W.D. Va. May 10, 2007).



                                               78
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 85 of 162



able to continue selling prescription opioids for chronic pain—even after Purdue’s criminal

prosecution.

       255.    When it launched OxyContin, Purdue knew it would need data to overcome

decades of wariness regarding opioid use. It needed some sort of research to back up its

messaging. But Purdue had not conducted any studies about abuse potential or addiction risk as

part of its application for FDA approval for OxyContin. Purdue (and, later, the other Defendants)

found this “research” in the form of a one-paragraph letter to the editor published in the New

England Journal of Medicine (NEJM) in 1980.

       256.    This letter, by Dr. Hershel Jick and Jane Porter, declared the incidence of

addiction “rare” for patients treated with opioids.143 They had analyzed a database of hospitalized

patients who were given opioids in a controlled setting to ease suffering from acute pain. These

patients were not given long-term opioid prescriptions or provided opioids to administer to

themselves at home, nor was it known how frequently or infrequently and in what doses the

patients were given their narcotics. Rather, it appears the patients were treated with opioids for

short periods of time under in-hospital doctor supervision.




143
  Jane Porter and Herschel Jick, MD, Addiction Rare in Patients Treated with Narcotics, 302(2)
 New Eng. J. Med. 123 (Jan. 10, 1980), http://www.nejm.org/doi/pdf/
 10.1056/NEJM198001103020221.



                                                 79
          Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 86 of 162




          257.   As Dr. Jick explained to a journalist years later, he submitted the statistics to

NEJM as a letter because the data were not robust enough to be published as a study, and that

one could not conclude anything about long-term use of opioids from his figures.144 Dr. Jick also

recalled that no one from drug companies or patient advocacy groups contacted him for more

information about the data.145

          258.   Nonetheless, the Marketing Defendants regularly invoked this letter as proof of

the low addiction risk in connection with taking opioids despite its obvious shortcomings. These

Defendants’ egregious misrepresentations based on this letter included claims that less than one

percent of opioid users become addicted.




144
      Meier, supra note 15, at 174.
145
      Id.



                                                   80
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 87 of 162



       259.    The limited facts of the study did not deter the Marketing Defendants from using

it as definitive proof of opioids’ safety. The enormous impact of the Marketing Defendants’

misleading amplification of this letter was well documented in another letter published in NEJM

on June 1, 2017, describing the way the one-paragraph 1980 letter had been irresponsibly cited

and in some cases “grossly misrepresented.” In particular, the authors of this letter explained:

       [W]e found that a five-sentence letter published in the Journal in 1980 was heavily
       and uncritically cited as evidence that addiction was rare with long-term opioid
       therapy. We believe that this citation pattern contributed to the North American
       opioid crisis by helping to shape a narrative that allayed prescribers’ concerns about
       the risk of addiction associated with long-term opioid therapy . . .146

       260.    Unfortunately, by the time of this analysis and the CDC’s findings in 2016, the

damage had already been done. “It’s difficult to overstate the role of this letter,” said Dr. David

Juurlink of the University of Toronto, who led the analysis. “It was the key bit of literature that

helped the opiate manufacturers convince front-line doctors that addiction is not a concern.”147

       261.    The Marketing Defendants successfully manipulated the 1980 Porter and Jick

letter as the “evidence” supporting their fundamental misrepresentation that the risk of opioid

addiction was low when opioids were prescribed to treat pain. For example, in its 1996 press

release announcing the release of OxyContin, Purdue advertised that the “fear of addiction is

exaggerated” and quoted the chairman of the American Pain Society Quality of Care Committee,




146
    Pamela T.M. Leung, B.Sc. Pharm., Erin M. Macdonald, M.Sc., Matthew B. Stanbrook, M.D.,
  Ph.D., Irfan Al Dhalla, M.D., David N. Juurlink, M.D., Ph.D., A 1980 Letter on the Risk of
  Opioid Addiction, 376 New Eng. J. Med. 2194-95 (June 1, 2017),
  http://www.nejm.org/doi/full/10.1056/NEJMc1700150#t=article.
147
    Painful words: How a 1980 letter fueled the opioid epidemic, STAT News (May 31, 2017),
  https://www.statnews.com/2017/05/31/opioid-epidemic-nejm-letter/.



                                                 81
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 88 of 162



who claimed that “there is very little risk of addiction from the proper uses of these [opioid]

drugs for pain relief.”148




        262.    Dr. Portenoy, the Purdue KOL mentioned previously, also stated in a promotional

video from the 1990s that “the likelihood that the treatment of pain using an opioid drug which is

prescribed by a doctor will lead to addiction is extremely low.”149




148
    Press Release, OxyContin, New Hope for Millions of Americans Suffering from Persistent
  Pain: Long-Acting OxyContin Tablets Now Available to Relieve Pain (May 31, 1996, 3:47pm),
  http://documents.latimes.com/oxycontin-press-release-1996/.
149
    Catan and Perez, supra note 125.



                                                 82
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 89 of 162




       263.    Purdue also specifically used the Porter and Jick letter in its 1998 promotional

video, “I got my life back,” in which Dr. Alan Spanos says, “In fact, the rate of addiction

amongst pain patients who are treated by doctors is much less than 1%.”150




       264.    The Porter and Jick letter was also used on Purdue’s “Partners Against Pain”

website, which was available in the early 2000s, where Purdue claimed that the addiction risk

with OxyContin was very low.151



150
    Our Amazing World, Purdue Pharma OxyContin Commercial, https://www.youtube.
  com/watch?v=Er78Dj5hyeI (last visited June 10, 2019) (emphasis added).
151
    Van Zee, The Promotion and Marketing of OxyContin, supra note 102.



                                                83
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 90 of 162



       265.    The Porter and Jick letter was used frequently in literature given to prescribing

physicians and to patients who were prescribed OxyContin.152

       266.    In addition to the Porter and Jick letter, the Marketing Defendants exaggerated the

significance of a study published in 1986 regarding cancer patients treated with opioids.

Conducted by Dr. Portenoy and another pain specialist, Dr. Kathleen Foley, the study involved

only 38 patients, who were treated for non-malignant cancer pain with low doses of opioids (the

majority were given less than 20 MME/day, the equivalent of only 13 mg of oxycodone). 153 Of

these thirty-eight patients, only two developed problems with opioid abuse, and Dr. Portenoy and

Dr. Foley concluded that “opioid maintenance therapy can be a safe, salutary and more humane

alternative to the options of surgery or no treatment in those patients with intractable non-

malignant pain and no history of drug abuse . . .”154 Notwithstanding the small sample size, low

doses of opioids involved, and the fact that all the patients were cancer patients, the Marketing

Defendants used this study as “evidence” that high doses of opioids were safe for the treatment

of chronic non-cancer pain.

       267.    The Marketing Defendants’ repeated misrepresentations about the low risk of

opioid addiction were so effective that this concept became part of the conventional wisdom. Dr.

Nathaniel Katz, a pain specialist, recalls learning in medical school that previous fears about

addiction were misguided, and that doctors should feel free to allow their patients the pain relief

that opioids can provide. He did not question this until one of his patients died from an overdose.



152
    Art Van Zee, M.D., The OxyContin Abuse Problem: Spotlight on Purdue Pharma’s
  Marketing (Aug. 22, 2001), https://web.archive.org/web/20170212210143/
  https://www.fda.gov/ohrms/dockets/dockets/01n0256/c000297-A.pdf.
153
    Russell K. Portenoy and Kathleen M. Foley, Chronic Use of Opioid Analgesics in Non-
  Malignant Pain: Report of 38 Cases, 25 Pain 171-86 (1986), https://www.ncbi.
  nlm.nih.gov/pubmed/2873550.
154
    Id.



                                                 84
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 91 of 162



Then, he searched the medical literature for evidence of the safety and efficacy of opioid

treatment for chronic pain. “There’s not a shred of research on the issue. All these so-called

experts in pain are dedicated and have been training me that opioids aren’t as addictive as we

thought. But what is that based on? It was based on nothing.”155

       268.    At a hearing before the House of Representatives’ Subcommittee on Oversight

and Investigations of the Committee on Energy and Commerce in August 2001, Purdue

continued to emphasize “legitimate” treatment, dismissing cases of overdose and death as

something that would not befall “legitimate” patients: “Virtually all of these reports involve

people who are abusing the medication, not patients with legitimate medical needs under the

treatment of a healthcare professional.”156

       269.    Purdue spun this baseless “legitimate use” distinction out even further in a patient

brochure about OxyContin, called “A Guide to Your New Pain Medicine and How to Become a

Partner Against Pain.” In response to the question, “Aren’t opioid pain medications like

OxyContin Tablets ‘addicting’? Even my family is concerned about this,” Purdue claimed that

there was no need to worry about addiction if taking opioids for legitimate, “medical” purposes:

       Drug addiction means using a drug to get “high” rather than to relieve pain. You
       are taking opioid pain medication for medical purposes. The medical purposes are
       clear and the effects are beneficial, not harmful.

       270.    Similarly, Dr. David Haddox, Senior Medical Director for Purdue, cavalierly

stated, “[w]hen this medicine is used appropriately to treat pain under a doctor’s care, it is not




155
   Quinones, supra note 75, at 188-89.
156
   Oxycontin: Its Use and Abuse: Hearing Before the H. Subcomm. on Oversight and
 Investigations of the Comm. on Energy and Commerce, 107th Cong. 1 (Aug. 28, 2001)
 (statement of Michael Friedman, Executive Vice President, Chief Operating Officer, Purdue
 Pharma, L.P.), https://www.gpo.gov/fdsys/pkg/CHRG-107hhrg75754/pdf/CHRG-
 107hhrg75754.pdf.



                                                 85
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 92 of 162



only effective, it is safe.”157 He went so far as to compare OxyContin to celery, because even

celery would be harmful if injected: “If I gave you a stalk of celery and you ate that, it would be

healthy for you. But if you put it in a blender and tried to shoot it into your veins, it would not be

good.”158

       271.    Purdue sales representatives also repeated these misstatements regarding the low

risk for addiction to doctors across the country.159 Its sales representatives targeted primary care

physicians in particular, downplaying the risk of addiction and, as one doctor observed,

“promot[ing] among primary care physicians a more liberal use of opioids.”160

       272.    Purdue sales representatives were instructed to “distinguish between iatrogenic

addiction (<1% of patients) and substance abusers/diversion (about 10% of the population abuse

something: weed; cocaine; heroin; alcohol; valium; etc.).”161

       273.    Purdue also marketed OxyContin for a wide variety of conditions and to doctors

who were not adequately trained in pain management.162

       274.    As of 2003, Purdue’s Patient Information guide for OxyContin contained the

following language regarding addiction:




157
    Roger Alford, Deadly OxyContin abuse expected to spread in the U.S., Charleston Gazette,
  Feb. 9, 2001.
158
    Id.
159
    Barry Meier, In Guilty Plea, OxyContin Maker to Pay $600 Million, New York Times (May
  10, 2007), http://www.nytimes.com/2007/05/10/business/11drug-web.html.
160
    Van Zee, The Promotion and Marketing of OxyContin, supra note 102.
161
    Meier, supra note 15, at 269.
162
    OxyContin Abuse and Diversion and Efforts to Address the Problem, supra note 36.



                                                 86
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 93 of 162



       275.    Although Purdue has acknowledged it has made some misrepresentations about

the safety of its opioids,163 it has done nothing to address the ongoing harms of their

misrepresentations; in fact, it continues to make those misrepresentations today.

       276.    Defendant Endo also made dubious claims about the low risk of addiction. For

instance, it sponsored a website, PainKnowledge.com, on which in 2009 it claimed that “[p]eople

who take opioids as prescribed usually do not become addicted.”164 The website has since been

taken down.

       277.    In another website, PainAction.com—which is still currently available today—

Endo also claimed that “most chronic pain patients do not become addicted to the opioid

medications that are prescribed for them.”165

       278.    In a pamphlet titled “Understanding Your Pain: Taking Oral Opioid Analgesics,”

Endo assured patients that addiction is something that happens to people who take opioids for

reasons other than pain relief, “such as unbearable emotional problems”166:




163
    Following the conviction in 2007 of three of its executives for misbranding OxyContin,
  Purdue released a statement in which they acknowledged their false statements. “Nearly six
  years and longer ago, some employees made, or told other employees to make, certain
  statements about OxyContin to some health care professionals that were inconsistent with the
  F.D.A.-approved prescribing information for OxyContin and the express warnings it contained
  about risks associated with the medicine. The statements also violated written company policies
  requiring adherence to the prescribing information.”
164
    German Lopez, The growing number of lawsuits against opioid companies, explained, Vox
  (Feb. 27, 2018), https://www.vox.com/policy-and-politics/2017/6/7/ 15724054/opioid-
  companies-epidemic-lawsuits.
165
    Opioid medication and addiction, Pain Action (Aug. 17, 2017), https://www.
  painaction.com/opioid-medication-addiction/.
166
    Understanding Your Pain: Taking Oral Opioid Analgesics, Endo Pharms. (2004),
  http://www.thblack.com/links/RSD/Understand_Pain_Opioid_Analgesics.pdf.



                                                 87
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 94 of 162




       279.    In addition, Endo made statements in pamphlets and publications that most health

care providers who treat people with pain agree that most people do not develop an addiction

problem. These statements also appeared on websites sponsored by Endo, such as Opana.com.

       280.    In its currently active website, PrescribeResponsibly.com, Defendant Janssen

states that concerns about opioid addiction are “overestimated” and that “true addiction occurs

only in a small percentage of patients.”167




167
  Keith Candiotti, M.D., Use of Opioid Analgesics in Pain Management, Prescribe
 Responsibly, http://www.prescriberesponsibly.com/articles/opioid-pain-management (last
 modified July 2, 2015).



                                               88
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 95 of 162




       281.    Similarly, in a 2009 patient education video titled “Finding Relief: Pain

Management for Older Adults,” Janssen sponsored a video by the American Academy of Pain

Medicine that indicated that opioids are rarely addictive. The video has since been taken

down.168




168
   Molly Huff, Finding Relief: Pain Management for Older Adults, Ctrs. for Pain Mgmt. (Mar.
 9, 2011), http://www.managepaintoday.com/news/-Finding-Relief-Pain-Management-for-
 Older-Adults.



                                                89
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 96 of 162



       282.      Janssen also approved and distributed a patient education guide in 2009 that

attempted to counter the “myth” that opioids are addictive, claiming that “[m]any studies show

that opioids are rarely addictive when used properly for the management of chronic pain.”169

       283.      In addition, all the Marketing Defendants used third parties and front groups to

further their false and misleading statements about the safety of opioids.

       284.      For example, in testimony for the Hearing to Examine the Effects of the Painkiller

OxyContin, Focusing on Risks and Benefits, in front of the Senate Health, Education, Labor and

Pensions Committee in February 2002, Dr. John D. Giglio, Executive Director of the APF, the

organization which, as described above, received the majority of its funding from opioid

manufacturers, including Purdue, stated that “opioids are safe and effective, and only in rare

cases lead to addiction.”170 Along with Dr. Giglio’s testimony, the APF submitted a short

background sheet on “the scope of the undertreatment of pain in the U.S.,” which asserted that

“opioids are often the best” treatment for pain that hasn’t responded to other techniques, but that

patients and many doctors “lack even basic knowledge about these options and fear that powerful

pain drugs will [c]ause addiction.” According to the APF, “most studies show that less than 1%

of patients become addicted, which is medically different from becoming physically

dependent.”171

       285.      The APF further backed up Purdue in an amicus curiae brief filed in an Ohio

appeals court in December 2002, in which it claimed that “medical leaders have come to




169
    Lopez, supra note 164.
170
    Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health, Education,
Labor and Pensions, 107th Cong. 2 (Feb. 12, 2002) (testimony of John D. Giglio, M.A., J.D.,
Executive Director, American Pain Foundation), https://www.help.
senate.gov/imo/media/doc/Giglio.pdf.
171
    Id.



                                                 90
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 97 of 162



understand that the small risk of abuse does not justify the withholding of these highly effective

analgesics from chronic pain patients.”172

       286.    In a 2007 publication titled “Treatment Options: A Guide for People Living with

Pain,” APF downplayed the risk of addiction and argued that concern about this risk should not

prevent people from taking opioids: “Restricting access to the most effective medications for

treating pain is not the solution to drug abuse or addiction.”173 APF also tried to normalize the

dangers of opioids by listing opioids as one of several “[c]ommon drugs that can cause physical

dependence,” including steroids, certain heart medications, and caffeine.174

       287.    The Marketing Defendants’ repeated statements about the low risk of addiction

when taking opioids as prescribed for chronic pain were blatantly false and were made with

reckless disregard for the potential consequences.

       2.      The Marketing Defendants falsely claimed that opioids were proven effective
               for chronic pain and would improve quality of life.

       288.    Not only did the Marketing Defendants falsely claim that the risk of addiction to

prescription opioids was low, these Defendants represented that there was a significant upside to

long-term opioid use, including that opioids could restore function and improve quality of life. 175




172
    Brief Amici Curiae of American Pain Foundation, National Foundation for the Treatment of
  Pain, and The Ohio Pain Initiative, in Support of Defendants/Appellants, Howland v. Purdue
  Pharma, L.P., Appeal No. CA 2002 09 0220 (Butler Co., Ohio 12th Court of Appeals, Dec. 23,
  2002), https://ia801005.us.archive.org/23/items/279014-howland-apf-amicus/279014-
  howland-apf-amicus.pdf.
173
    Treatment Options: A Guide for People Living with Pain, Am. Pain Found.,
  https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf (last visited June
  10, 2019).
174
    Id.
175
    This case does not request or require the Court to specifically adjudicate whether opioids are
  appropriate for the treatment of chronic, non-cancer pain—though the scientific evidence
  strongly suggests they are not.



                                                91
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 98 of 162



       289.    Such claims were viewed as a critical part of the Marketing Defendants’

marketing strategies. For example, an internal Purdue report from 2001 noted the lack of data

supporting improvement in quality of life with OxyContin treatment:

       Janssen has been stressing decreased side effects, especially constipation, as well
       as patient quality of life, as supported by patient rating compared to sustained
       release morphine…We do not have such data to support OxyContin promotion…In
       addition, Janssen has been using the “life uninterrupted” message in promotion of
       Duragesic for non-cancer pain, stressing that Duragesic “helps patients think less
       about their pain.” This is a competitive advantage based on our inability to make
       any quality of life claims.176

       290.    Despite the lack of data supporting improvement in quality of life, Purdue ran a

full-page ad for OxyContin in the Journal of the American Medical Association in 2002,

proclaiming, “There Can Be Life With Relief,” and showing a man happily fly-fishing alongside

his grandson.177 This ad earned a warning letter from the FDA, which admonished, “It is

particularly disturbing that your November ad would tout ‘Life With Relief’ yet fail to warn that

patients can die from taking OxyContin.”178

       291.    Purdue also consistently tried to steer any concern away from addiction and focus

on its false claims that opioids were effective and safe for treating chronic pain. At a hearing

before the House of Representatives’ Subcommittee on Oversight and Investigations of the

Committee on Energy and Commerce in August 2001, Michael Friedman, Executive Vice

President and Chief Operating Officer of Purdue, testified that “even the most vocal critics of

opioid therapy concede the value of OxyContin in the legitimate treatment of pain,” and that




176
    Meier, supra note 15, at 281.
177
    Id. at 280.
178
    Chris Adams, FDA Orders Purdue Pharma To Pull Its OxyContin Ads, Wall Street Journal
  (Jan. 23, 2003, 12:01am), https://www.wsj.com/articles/SB1043259665976915824.



                                                 92
          Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 99 of 162



“OxyContin has proven itself an effective weapon in the fight against pain, returning many

patients to their families, to their work, and to their ability to enjoy life.”179

          292.   Purdue sponsored the development and distribution of an APF guide in 2011

which claimed that “multiple clinical studies have shown that opioids are effective in improving

daily function, psychological health, and health-related quality of life for chronic pain patients.”

This guide is still available today.

          293.   Purdue also ran a series of advertisements of OxyContin in 2012 in medical

journals titled “Pain vignettes,” which were styled as case studies of patients with persistent pain

conditions and for whom OxyContin was recommended to improve their function.

          294.   Purdue and Endo also sponsored and distributed a book in 2007 to promote the

claim that pain relief from opioids, by itself, improved patients’ function. The book remains for

sale online today.

          295.   Endo’s advertisements for Opana ER claimed that use of the drug for chronic pain

allowed patients to perform demanding tasks like construction and portrayed Opana ER users as

healthy and unimpaired.

          296.   Endo’s National Initiative on Pain Control (NIPC) website also claimed in 2009

that with opioids, “your level of function should improve; you may find you are now able to

participate in activities of daily living, such as work and hobbies, that you were not able to enjoy

when your pain was worse.”

          297.   Endo further sponsored a series of CME programs through NIPC which claimed

that chronic opioid therapy has been “shown to reduce pain and depressive symptoms and

cognitive functioning.”



179
      Oxycontin: Its Use and Abuse, supra note 156.



                                                   93
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 100 of 162



        298.    Through PainKnowledge.org, Endo also supported and sponsored guidelines that

stated, among other things, that “Opioid Medications are a powerful and often highly effective

tool in treating pain,” and that “they can help restore comfort, function, and quality of life.”180

        299.    In addition, Janssen sponsored and edited patient guides which stated that

“opioids may make it easier for people to live normally.” The guides listed expected functional

improvements from opioid use, including sleeping through the night, and returning to work,

recreation, sex, walking, and climbing stairs.

        300.    Janssen also sponsored, funded, and edited a website which featured an interview

edited by Janssen that described how opioids allowed a patient to “continue to function.” This

video is still available today.

        301.    Furthermore, sales representatives for the Marketing Defendants communicated

and continue to communicate the message that opioids will improve patients’ function, without

appropriate disclaimers.

        302.    The Marketing Defendants’ statements regarding opioids’ ability to improve

function and quality of life are false and misleading. As the CDC’s Guideline for Prescribing

Opioids for Chronic Pain (the “2016 CDC Guideline” or “Guideline”)181 confirms, not a single

study supports these claims.

        303.    In fact, to date, there have been no long-term studies that demonstrate that opioids

are effective for treating long-term or chronic pain. Instead, reliable sources of information,

including from the CDC in 2016, indicate that there is “[n]o evidence” to show “a long-term




180
    Informed Consent for Using Opioids to Treat Pain, Painknowledge.org (2007),
  https://www.mainequalitycounts.org/image_upload/Opioid%20Informed%20Consent%20Form
  atted_1_23_2008.pdf.
181
     2016 CDC Guideline, supra note 37.



                                                 94
            Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 101 of 162



benefit of opioids in pain and function versus no opioids for chronic pain.”182 By contrast,

significant research has demonstrated the colossal dangers of opioids. The CDC, for example,

concluded that “[e]xtensive evidence shows the possible harms of opioids (including opioid use

disorder, overdose, and motor vehicle injury)” and that “[o]pioid pain medication use presents

serious risks, including overdose and opioid use disorder.”183

            3.     The Marketing Defendants falsely claimed doctors and patients could
                   increase opioid usage indefinitely without added risk.

            304.   The Marketing Defendants also made false and misleading statements claiming

that there is no dosage ceiling for opioid treatment. These misrepresentations were integral to the

Marketing Defendants’ promotion of prescription opioids for two reasons. First, the idea that

there was no upward limit was necessary for the overarching deception that opioids are

appropriate treatment for chronic pain. As discussed above, people develop a tolerance to

opioids’ analgesic effects, so that achieving long-term pain relief requires constantly increasing

the dose. Second, the dosing misrepresentation was necessary for the claim that OxyContin and

competitor drugs allowed 12-hour dosing.

            305.   Twelve-hour dosing is a significant marketing advantage for any medication,

because patient compliance is improved when a medication only needs to be taken twice a day.

For prescription painkillers, the 12-hour dosing is even more significant because shorter-acting

painkillers did not allow patients to get a full night’s sleep before the medication wore off. A

Purdue memo to the OxyContin launch team stated that “OxyContin’s positioning statement is

‘all of the analgesic efficacy of immediate-release oxycodone, with convenient q12h dosing,’”




182
      Id.
183
      Id.



                                                  95
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 102 of 162



and further that “[t]he convenience of q12h dosing was emphasized as the most important

benefit.”184

        306.   Purdue executives therefore maintained the messaging of 12-hour dosing even

when many reports surfaced that OxyContin did not last 12 hours. Instead of acknowledging a

need for more frequent dosing, Purdue instructed its representatives to push higher-strength pills.

        307.   For example, in a 1996 sales strategy memo from a Purdue regional manager, the

manager emphasized that representatives should “convinc[e] the physician that there is no need”

for prescribing OxyContin in shorter intervals than the recommended 12-hour interval, and

instead the solution is prescribing higher doses. The manager directed representatives to discuss

with physicians that there is “no[] upward limit” for dosing and ask “if there are any reservations

in using a dose of 240mg-320mg of OxyContin.”185

        308.   As doctors began prescribing OxyContin at shorter intervals in the late 1990s,

Purdue directed its sales representatives to “refocus” physicians on 12-hour dosing. One sales

manager instructed her team that anything shorter “needs to be nipped in the bud. NOW!!”186

        309.   These misrepresentations were incredibly dangerous. As noted above, opioid

dosages at or above 50 MME/day double the risk of overdose compared to 20 MME/day, and 50

MME is equal to just 33 mg of oxycodone. Notwithstanding the risks, Purdue’s 2003 Conversion

Guide for OxyContin contained the following diagram for increasing dosage up to 320 mg:




184
    OxyContin launch, Los Angeles Times (May 5, 2016),
  http://documents.latimes.com/oxycontin-launch-1995/.
185
    Sales manager on 12-hour dosing, Los Angeles Times (May 5, 2016),
  http://documents.latimes.com/sales-manager-on12-hour-dosing-1996/.
186
    Harriet Ryan, Lisa Girion, and Scott Glover, ‘You Want a Description of Hell?’ OxyContin’s
  12-Hour Problem, Los Angeles Times (May 5, 2016),
  http://www.latimes.com/projects/oxycontin-part1/.



                                                96
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 103 of 162




       310.    In a 2004 response letter to the FDA, Purdue tried to address concerns that

patients who took OxyContin more frequently than 12 hours would be at greater risk of side

effects or adverse reactions. Purdue contended that the peak plasma concentrations of oxycodone

would not increase with more frequent dosing, and therefore no adjustments to the package

labeling or 12-hour dosing regimen were needed.187 But these claims were false, and Purdue’s

suggestion that there was no upper limit or risk associated with increased dosage was incredibly

misleading.

       311.    Suggesting that it recognized the danger of its misrepresentations of no dose

ceiling, Purdue discontinued the OxyContin 160 mg tablet in 2007 and stated that this step was

taken “to reduce the risk of overdose accompanying the abuse of this dosage strength.”188




187
    Purdue Response to FDA, 2004, Los Angeles Times (May 5, 2016),
  http://documents.latimes.com/purdue-response-fda-2004/.
188
    OxyContin Tablets Risk Management Program, Purdue Pharma L.P., https://web.
  archive.org/web/20170215064438/https:/www.fda.gov/ohrms/dockets/DOCKETS/07p0232/07
  p-0232-cp00001-03-Exhibit-02-Part-1-vol1.pdf (revised May 18, 2007).



                                               97
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 104 of 162



       312.    But still Purdue and the other Marketing Defendants worked hard to protect their

story. In March 2007, Dr. Gary Franklin, Medical Director for the Washington State Department

of Labor & Industries, published the Interagency Guideline on Opioid Dosing for Chronic Non-

Cancer Pain. Developed in collaboration with providers in Washington State who had extensive

experience in the evaluation and treatment of patients with chronic pain, the guideline

recommended a maximum daily dose of opioids to protect patients.

       313.    In response, Purdue sent correspondence to Dr. Franklin specifically indicating,

among other things, that “limiting access to opioids for persons with chronic pain is not the

answer” and that the “safety and efficacy of OxyContin doses greater than 40 mg every 12 hours

in patients with chronic nonmalignant pain” was well established. Purdue even went so far as to

represent to Dr. Franklin that even if opioid treatment produces significant adverse effects in a

patient, “this does not preclude a trial of another opioid.”

       314.    In 2010, Purdue published a Risk Evaluation and Mitigation Strategy (“REMS”)

for OxyContin, but even the REMS does not address concerns with increasing dosage, and

instead advises prescribers that “dose adjustments may be made every 1-2 days”; “it is most

appropriate to increase the q12h dose”; the “total daily dose can usually be increased by 25% to

50%”; and if “significant adverse reactions occur, treat them aggressively until they are under

control, then resume upward titration.”189




189
   OxyContin Risk Evaluation and Mitigation Strategy, Purdue Pharma L.P.,
 https://web.archive.org/web/20170215190303/https://www.fda.gov/downloads/Drugs/DrugSafe
 ty/PostmarketDrugSafetyInformationforPatientsandProviders/UCM220990.pdf (last modified
 Nov. 2010).



                                                 98
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 105 of 162



       315.    In 2012, APF claimed on its website that there was no “ceiling dose” for opioids

for chronic pain.190 APF also made this claim in a guide sponsored by Purdue, which is still

available online.

       316.    Accordingly, Purdue continued to represent both publicly and privately that

increased opioid usage was safe and did not present additional risk at higher doses.

       317.    Janssen also made the same misrepresentations regarding the disadvantages of

dosage limits for other pain medicines in a 2009 patient education guide, while failing to address

the risks of dosage increases with opioids.

       318.    Endo, on a website it sponsors, PainKnowledge.com, also made the claim in 2009

that opioid dosages could be increased indefinitely.

       319.    In the “Understanding Your Pain” pamphlet discussed above, Endo assures opioid

users that concern about developing tolerance to the drugs’ pain-relieving effect is “not a

problem,” and that “[t]he dose can be increased” and “[y]ou won’t ‘run out’ of pain relief.”191




190
    Noah Nesin, M.D., FAAFP, Responsible Opioid Prescribing, PCHC,
  https://www.mainequalitycounts.org/image_upload/Noah%20Nesin%20Slides_Responsible%2
  0Opioid%20Prescribing%20MCPC2.pdf (last visited June 10, 2019).
191
    Understanding Your Pain: Taking Oral Opioid Analgesics, supra note 166.



                                                99
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 106 of 162




       320.    Dosage limits with respect to opioids are particularly important not only because

of the risk of addiction but also because of the potentially fatal side effect of respiratory

depression. Endo’s “Understanding Your Pain” pamphlet minimized this serious side effect,

calling it “slowed breathing,” declaring that it is “very rare” when opioids are used

“appropriately,” and never stating that it could be fatal:




                                                 100
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 107 of 162



       4.      The Marketing Defendants falsely instructed doctors and patients that more
               opioids were the solution when patients presented symptoms of addiction.

       321.    Not only did the Marketing Defendants hide the serious risks of addiction

associated with opioids, they actively worked to prevent doctors from taking steps to prevent or

address opioid addiction in their patients.

       322.    One way that the Marketing Defendants worked to obstruct appropriate responses

to opioid addiction was to push the concept of “pseudoaddiction.” Dr. David Haddox—who later

became a Senior Medical Director for Purdue—published a study in 1989 coining the term,

which he characterized as “the iatrogenic syndrome of abnormal behavior developing as a direct

consequence of inadequate pain management.”192 (“Iatrogenic” describes a condition induced by

medical treatment.) In other words, he claimed that people on prescription opioids who exhibited

classic signs of addiction—“abnormal behavior”—were not addicted, but rather simply suffering

from under-treatment of their pain. His solution for pseudoaddiction? More opioids.

       323.    Although this concept was formed based on a single case study, it proved to be a

favorite trope in the Marketing Defendants’ marketing schemes. For example, using this study,

Purdue informed doctors and patients that signs of addiction are actually the signs of under-

treated pain which should be treated with even more opioids. Purdue reassured doctors and

patients, telling them that “chronic pain has been historically undertreated.”193

       324.    The Marketing Defendants continued to spread the concept of pseudoaddiction

through the APF, which even went so far as to compare opioid addicts to coffee drinkers. In a

2002 court filing, APF wrote that “[m]any pain patients (like daily coffee drinkers) claim they

are ‘addicted’ when they experience withdrawal symptoms associated with physical dependence


192
    David E. Weissman and J. David Haddox, Opioid pseudoaddiction--an iatrogenic syndrome,
  36(3) Pain 363-66 (Mar. 1989), https://www.ncbi.nlm.nih.gov/pubmed/2710565.
193
    Oxycontin: Its Use and Abuse, supra note 156.



                                                101
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 108 of 162



as they decrease their dose. But unlike actual addicts, such individuals, if they resume their

opioid use, will only take enough medication to alleviate their pain . . .”194

       325.    In a 2007 publication titled “Treatment Options: A Guide for People Living with

Pain,” the APF claimed: “Physical dependence is normal; any patient who is taking an opioid on

a regular basis for a few days should be assumed to be physically dependent. This does NOT

mean you are addicted.”195 In this same publication, the APF asserted that “people who are not

substance abusers” may also engage in “unacceptable” behaviors such as “increasing the dose

without permission or obtaining the opioid from multiple sources,” but that such behaviors do

not indicate addiction and instead reflect a “desire to obtain pain relief.”196




194
    APF Brief Amici Curiae, supra note 172 at 10-11.
195
    Treatment Options: A Guide for People Living with Pain, supra note 173.
196
    Id.



                                                 102
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 109 of 162



       326.    Purdue published a REMS for OxyContin in 2010, and in the associated

Healthcare Provider Training Guide stated that “[b]ehaviors that suggest drug abuse exist on a

continuum, and pain-relief seeking behavior can be mistaken for drug-seeking behavior.”197

       327.    Purdue worked, and continues to work, to create confusion about what addiction

is. For example, Purdue continues to emphasize that abuse and addiction are separate and distinct

from physical dependence. Regardless of whether these statements may be technically correct,

they continue to add ambiguity over the risks and benefits of opioids.

       328.    Endo sponsored an NIPC CME program in 2009 which promoted the concept of

pseudoaddiction by teaching that a patient’s aberrant behavior was the result of untreated pain.

Endo substantially controlled NIPC by funding its projects, developing content, and reviewing

NIPC materials.

       329.    A 2001 paper which was authored by a doctor affiliated with Janssen stated that

“[m]any patients presenting to a doctor’s office asking for pain medications are accused of drug

seeking. In reality, most of these patients may be undertreated for their pain syndrome.”198

       330.    In 2009, on a website it sponsored, Janssen stated that pseudoaddiction is different

from true addiction “because such behaviors can be resolved with effective pain

management.”199




197
    OxyContin Risk Evaluation and Mitigation Strategy, supra note 189.
198
    Howard A. Heit, MD, FACP, FASAM, The truth about pain management: the difference
  between a pain patient and an addicted patient, 5 European Journal of Pain 27-29 (2001),
  http://www.med.uottawa.ca/courses/totalpain/pdf/doc-34.pdf.
199
    Chris Morran, Ohio: Makers Of OxyContin, Percocet & Other Opioids Helped Fuel Drug
  Epidemic By Misleading Doctors, Patients, Consumerist (May 31, 2017, 2:05pm),
  https://consumerist.com/2017/05/31/ohio-makers-of-oxycontin-percocet-other-opioids-helped-
  fuel-drug-epidemic-by-misleading-doctors-patients/.



                                               103
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 110 of 162



       331.    Indeed, on its currently active website PrescribeResponsibly.com, Janssen defines

pseudoaddiction as “a syndrome that causes patients to seek additional medications due to

inadequate pharmacotherapy being prescribed. Typically, when the pain is treated appropriately,

the inappropriate behavior ceases.”200




       332.    As set forth in more detail below, these statements were false and misleading as

evidenced by, inter alia, the findings made by the CDC in 2016. Indeed, there is simply no

evidence that pseudoaddiction is a real phenomenon. As research compiled by the CDC and others




200
   Howard A. Heit, MD, FACP, FASAM and Douglas L. Gourlay, MD, MSc, FRCPC, FASAM,
 What a Prescriber Should Know Before Writing the First Prescription, Prescribe Responsibly,
 http://www.prescriberesponsibly.com/articles/before-prescribing-opioids (last modified July 2,
 2015).



                                              104
         Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 111 of 162



makes clear, pseudoaddiction is pseudoscience—nothing more than a concept Defendants seized

upon to help sell more of their actually addictive drugs.

          5.     The Marketing Defendants falsely claimed that risk-mitigation strategies,
                 including tapering and abuse-deterrent technologies, made it safe to
                 prescribe opioids for chronic use.

          333.   Even when the Marketing Defendants acknowledge that opioids pose some risk of

addiction, they dismiss these concerns by claiming that addiction can be easily avoided and

addressed through simple steps. In order to make prescribers feel more comfortable about

starting patients on opioids, the Marketing Defendants falsely communicated to doctors that

certain screening tools would allow them to reliably identify patients at higher risk of addiction

and safely prescribe opioids, and that tapering the dose would be sufficient to manage cessation

of opioid treatment. Both assertions are false.

          334.   For instance, as noted above, Purdue published a REMS for OxyContin in 2010,

in which it described certain steps that needed to be followed for safe opioid use. Purdue stressed

that all patients should be screened for their risk of abuse or addiction, and that such screening

could curb the incidence of addiction.201

          335.   The APF also proclaimed in a 2007 booklet, sponsored in part by Purdue, that

“[p]eople with the disease of addiction may abuse their medications, engaging in unacceptable

behaviors like increasing the dose without permission or obtaining the opioid from multiple

sources, among other things. Opioids get into the hands of drug dealers and persons with an

addictive disease as a result of pharmacy theft, forged prescriptions, Internet sales, and even

from other people with pain. It is a problem in our society that needs to be addressed through

many different approaches.”202


201
      Oxycontin Risk Evaluation and Mitigation Strategy, supra note 189.
202
      Treatment Options: A Guide for People Living with Pain, supra note 173.



                                                  105
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 112 of 162



        336.     On its current website for OxyContin,203 Purdue acknowledges that certain

patients have higher risk of opioid addiction based on history of substance abuse or mental

illness—a statement which, even if accurate, obscures the significant risk of addiction for all

patients, including those without such a history, and comports with statements it has recently

made that it is “bad apple” patients, and not the opioids, that are arguably the source of the

opioid crisis:




        337.     Additionally, on its current website, Purdue refers to publicly available tools that

can assist with prescribing compliance, such as patient-prescriber agreements and risk

assessments.204

        338.     Purdue continues to downplay the severity of addiction and withdrawal and

claims that dependence can easily be overcome by strategies such as adhering to a tapering

schedule to successfully stop opioid treatment. On the current website for OxyContin, it instructs

that “[w]hen discontinuing OxyContin, gradually taper the dosage. Do not abruptly discontinue

OxyContin.”205 And on the current OxyContin Medication Guide, Purdue also states that one




203
    OxyContin, https://www.oxycontin.com/index.html (last visited June 10, 2019).
204
    ER/LA Opioid Analgesics REMS, Purdue, http://www.purduepharma.com/healthcare-
  professionals/responsible-use-of-opioids/rems/ (last visited Mar. 7, 2019).
205
    Oxycontin.com, supra note 203.



                                                 106
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 113 of 162



should “taper the dosage gradually.”206 As a general matter, tapering is a sensible strategy for

cessation of treatment with a variety of medications, such as steroids or antidepressants. But the

suggestion that tapering is sufficient, or simple, following chronic and continuous opioid use is

misleading and dangerous, and it sets patients up for withdrawal and addiction.

       339.    In its “Dear Healthcare Professional” letter in 2010, Purdue instructed doctors to

gradually taper someone off OxyContin to prevent signs and symptoms of withdrawal in patients

who were physically dependent.207 Nowhere does Purdue warn doctors or patients that tapering

may be inadequate to safely end opioid treatment and avoid addiction.

       340.    Other Marketing Defendants make similar claims. For instance, Endo suggests

that risk-mitigation strategies enable the safe prescription of opioids. In its currently active

website, Opana.com, Endo states that assessment tools should be used to assess addiction risk,

but that “[t]he potential for these risks should not, however, prevent proper management of pain

in any given patient.”208

       341.    On the same website, Endo makes similar statements about tapering, stating

“[w]hen discontinuing OPANA ER, gradually taper the dosage.”209

       342.    Janssen also states on its currently active website, PrescribeResponsibly.com, that

the risk of opioid addiction “can usually be managed” through tools such as “opioid agreements”

between patients and doctors.210




206
    OxyContin Full Prescribing Information, Purdue Pharma LP, http://app.purdue
  pharma.com/xmlpublishing/pi.aspx?id=o (last visited June 10, 2019).
207
    OxyContin Risk Evaluation and Mitigation Strategy, supra note 189.
208
    Opana ER, Endo Pharmaceuticals, Inc., http://www.opana.com (last visited June 10, 2019).
209
    Id.
210
    Heit & Gourlay, supra note 200.



                                                 107
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 114 of 162



       343.    Each Marketing Defendant’s statements about tapering misleadingly implied that

gradual tapering would be sufficient to alleviate any risk of withdrawal or addiction while taking

opioids.

       344.    The Marketing Defendants have also made and continue to make false and

misleading statements about the purported abuse-deterrent properties of their opioid pills to

suggest these reformulated pills are not susceptible to abuse. In so doing, the Marketing

Defendants have increased their profits by selling more pills for substantially higher prices.

       345.    For instance, since at least 2001, Purdue has contended that “abuse resistant

products can reduce the incidence of abuse.”211 Until recently, Purdue’s website touted abuse-

deterrent properties by saying they “can make a difference.”212

       346.    On August 17, 2015, Purdue announced the launch of a new website, “Team

Against Opioid Abuse,” which it said was “designed to help healthcare professionals and

laypeople alike learn about different abuse-deterrent technologies and how they can help in the

reduction of misuse and abuse of opioids.”213 This website appears to no longer be active.

       347.     A 2013 study which was authored by at least two doctors who at one time

worked for Purdue stated that “[a]buse-deterrent formulations of opioid analgesics can reduce

abuse.”214 In another study from 2016 with at least one Purdue doctor as an author, the authors



211
    Oxycontin: Its Use and Abuse, supra note 156.
212
    Opioids with Abuse-Deterrent Properties, Purdue, http://www.purduepharma.com/healthcare-
  professionals/responsible-use-of-opioids/opioids-with-abuse-deterrent-properties/ (last visited
  May 16, 2018); see also
  https://web.archive.org/web/20180302203422/http:/www.purduepharma.com/healthcare-
  professionals/responsible-use-of-opioids/opioids-with-abuse-deterrent-properties/.
213
    Purdue Pharma L.P. Launches TeamAgainstOpioidAbuse.com, Purdue (Aug. 17, 2015),
  http://www.purduepharma.com/news-media/2015/08/purdue-pharma-l-p-launches-
  teamagainstopioidabuse-com/.
214
    Paul M. Coplan, Hrishikesh Kale, Lauren Sandstrom, Craig Landau, and Howard D. Chilcoat,
  Changes in oxycodone and heroin exposures in the National Poison Data System after



                                                108
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 115 of 162



claimed that abuse decreased by as much as 99% in some situations after abuse-deterrent

formulations were introduced.215

       348.    Interestingly, one report found that the original safety label for OxyContin, which

instructed patients not to crush the tablets because it would have a rapid release effect, may have

inadvertently given opioid users ideas for techniques to get high from these drugs.216

       349.    In 2012, Defendant Endo replaced the formula for Opana ER with a new formula

with abuse-deterrent properties that it claimed would make Opana ER resistant to manipulation

from users to snort or inject it. But the following year, the FDA concluded:

       While there is an increased ability of the reformulated version of Opana ER to resist
       crushing relative to the original formulation, study data show that the reformulated
       version’s extended-release features can be compromised when subjected to other
       forms of manipulation, such as cutting, grinding, or chewing, followed by
       swallowing.

       Reformulated Opana ER can be readily prepared for injection, despite Endo’s claim
       that these tablets have “resistance to aqueous extraction (i.e., poor syringeability).”
       It also appears that reformulated Opana ER can be prepared for snorting using
       commonly available tools and methods.

       The postmarketing investigations are inconclusive, and even if one were to treat
       available data as a reliable indicator of abuse rates, one of these investigations also
       suggests the troubling possibility that a higher percentage of reformulated Opana
       ER abuse is via injection than was the case with the original formulation.217




  introduction of extended-release oxycodone with abuse-deterrent characteristics, 22 (12)
  Pharmacoepidemiol Drug Saf. 1274-82 (Sept. 30, 2013),
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4283730/.
215
     Paul M. Coplan, Howard D. Chilcoat, Stephen Butler, Edward M. Sellers, Aditi Kadakia,
  Venkatesh Harikrishnan, J. David Haddox, and Richard C. Dart, The effect of an abuse-
  deterrent opioid formulation (OxyContin) on opioid abuse-related outcomes in the
  postmarketing setting, 100 Clin. Pharmacol. Ther., 275-86 (June 22, 2016),
  http://onlinelibrary.wiley.com/doi/10.1002/cpt.390/full.
216
     OxyContin Abuse and Diversion and Efforts to Address the Problem, supra note 36.
217
     FDA Statement: Original Opana ER Relisting Determination, U.S. Food & Drug Admin.
  (May 10, 2013), https://wayback.archive-
  it.org/7993/20171102214123/https://www.fda.gov/Drugs/DrugSafety/ucm351357.htm.



                                                109
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 116 of 162



       350.    Despite the FDA’s determination that the evidence did not support Endo’s claims

of abuse-deterrence, Endo advertised its reformulated pills as “crush resistant” and directed its

sales representatives to represent the same to doctors. Endo improperly marketed Opana ER as

crush-resistant, when Endo’s own studies showed that the pill could be crushed and ground. In

2016, Endo reached an agreement with the Attorney General of the State of New York that

required Endo to discontinue making such statements.218

       351.    Mallinckrodt likewise promoted its branded opioids, Exalgo and Xartemis XR, as

having abuse-deterrent properties, even though the FDA did not approve ADF labeling for either

drug. For both Exalgo and Xartemis XR, Mallinckrodt trained its sales representatives to tell

doctors that the pills were tamper-resistant in that they were harder to crush and to inject, and

that the drugs were less likely to provide euphoria to users. Mallinckrodt pushed its branded

products as solutions to rampant opioid abuse while continuing to profit from the high rate of

abuse of its generics.

       352.    The Marketing Defendants’ assertions that their reformulated pills could curb

abuse and that other risk-mitigation strategies enabled doctors to safely prescribe high doses of

long-acting opioids were false and misleading.

       353.    Ultimately, even if a physician prescribes opioids after screening for abuse risk,

advising a patient to taper, and selecting brand-name, abuse-deterrent formulations, chronic and

continuous opioid use still comes with significant risks of addiction and abuse. The Marketing




218
  Press Release, Attorney General Eric T. Schneiderman, A.G. Schneiderman Announces
 Settlement with Endo Health Solutions Inc. & Endo Pharmaceuticals Inc. Over Marketing of
 Prescription Opioid Drugs (Mar. 3, 2016), https://ag.ny.gov/press-release/ag-schneiderman-
 announces-settlement-endo-health-solutions-inc-endo-pharmaceuticals.



                                                 110
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 117 of 162



Defendants’ statements to the contrary were designed to create a false sense of security and

assure physicians that they could safely prescribe potent narcotics to their patients.

F.     Research Demonstrates that the Manufacturing Defendants’ Claims are False.

       354.    Contrary to the Manufacturing Defendants’ misrepresentations about the benefits

and risks of opioids, growing evidence suggests that using opioids to treat chronic pain leads to

overall negative outcomes, delaying or preventing recovery and providing little actual relief, all

while presenting serious risks of overdose.

       355.    For example, Dr. Gary Franklin, Medical Director of the Washington State

Department of Labor and Industries (“L&I”), together with its chief pharmacist, Jaymie Mai,

conducted a thorough analysis of all recorded deaths in the state’s workers’ comp system. They

published their findings in the American Journal of Industrial Medicine in 2005 and again in

2012.219

       356.    Their research showed that the total number of opioid prescriptions paid for by

the Workers’ Compensation Program tripled between 1996 and 2006.220 Not only did the number

of prescriptions balloon, so too did the doses; from 1996 to 2002 the mean daily morphine

equivalent dose (“MED”) nearly doubled, and remained that way through 2006.221 As injured

workers were given more prescriptions of higher doses of opioids, the rates of opioid overdoses

among that population jumped, from zero in 1996 to more than twenty in 2005. And in 2009,



219
    Gary M. Franklin, M.D., MPH, Jaymie Mai, Pharm.D., Thomas Wickizer, Ph.D., Judith A.
  Turner, Ph.D., Deborah Fulton-Kehoe, Ph.D., MPH, and Linda Grant, BSN, MBA, Opioid
  dosing trends and mortality in Washington State Workers’ Compensation, 1996-2002, 48 Am J
  Ind Med 91-99 (2005).
220
    Gary M. Franklin, M.D., MPH, Jaymie Mai, Pharm.D., Thomas Wickizer, Ph.D., Judith
  Turner, Ph.D., Mark Sullivan, M.D., Ph.D., Thomas Wickizer, Ph.D., and Deborah Fulton-
  Kehoe, Ph.D., Bending the Prescription Opioid Dosing and Mortality Curves: Impact of the
  Washington State Opioid Dosing Guideline, 55 Am J Ind Med 325, 327 (2012).
221
    Id. at 327-28.



                                                111
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 118 of 162



over thirty people receiving opioid prescriptions through the workers’ compensation program

died of an opioid overdose.222

       357.    Additional research from L&I demonstrates that the use of opioids to treat pain

after an injury actually prevents or slows a patient’s recovery. In a study of employees who had

suffered a low back injury on the job, Dr. Franklin determined that among those who were

prescribed opioids soon after the injury, employees who were given high doses of opioids, or for

periods of more than a week, were far more likely to experience negative health outcomes than

the employees who were given smaller doses or for a shorter term.

       358.    Specifically, the study showed that, after adjusting for the baseline covariates,

injured workers who received a prescription opioid for more than seven days during the first six

weeks after the injury were 2.2 times more likely to remain disabled a year later than workers

with similar injuries who received no opioids at all. Similarly, those who received two

prescriptions of opioids for the injury were 1.8 times more likely to remain disabled a year after

their injury than workers who received no opioids at all, and those receiving daily doses higher

than 150 MED were more than twice as likely to be on disability a year later, compared to

workers who received no opioids.223

       359.    In sum, not only do prescription opioids present significant risks of addiction and

overdose, but they also hinder patient recovery after an injury. This dynamic presents problems

for employers, too, who bear significant costs when their employees do not recover quickly from




222
   Id. at 328.
223
   Franklin, GM, Stover, BD, Turner, JA, Fulton-Kehoe, D, Wickizer, TM, Early opioid
 prescription and subsequent disability among workers with back injuries: the Disability Risk
 Identification Study Cohort, 33 Spine 199, 201-202.



                                               112
         Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 119 of 162



workplace injuries. Employers are left without their labor force and may be responsible for

paying for the injured employee’s disability for long periods of time.

G.       The 2016 CDC Guideline and Other Recent Analyses Confirm That the Marketing
         Defendants’ Statements About the Risks and Benefits of Opioids Are Patently False.

         360.   Contrary to the statements made by the Marketing Defendants in their well-

orchestrated campaign to tout the benefits of opioids and downplay their risks, recent studies

confirm the Marketing Defendants’ statements were false and misleading.

         361.   The CDC issued its Guideline for Prescribing Opioids for Chronic Pain on March

15, 2016.224 The 2016 CDC Guideline, approved by the FDA, “provides recommendations for

primary care clinicians who are prescribing opioids for chronic pain outside of active cancer

treatment, palliative care, and end-of-life care.” The Guideline also assesses the risks and harms

associated with opioid use.

         362.   The 2016 CDC Guideline is the result of a thorough and extensive process by the

CDC. The CDC issued the Guideline after it “obtained input from experts, stakeholders, the

public, peer reviewers, and a federally chartered advisory committee.” The recommendations in

the 2016 CDC Guideline were further made “on the basis of a systematic review of the best

available evidence . . .”

         363.    The CDC went through an extensive and detailed process to solicit expert

opinions for the Guideline:

         CDC sought the input of experts to assist in reviewing the evidence and providing
         perspective on how CDC used the evidence to develop the draft recommendations.
         These experts, referred to as the “Core Expert Group” (CEG) included subject
         matter experts, representatives of primary care professional societies and state
         agencies, and an expert in guideline development methodology. CDC identified
         subject matter experts with high scientific standing; appropriate academic and
         clinical training and relevant clinical experience; and proven scientific excellence

224
      2016 CDC Guideline, supra note 37.




                                                113
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 120 of 162



       in opioid prescribing, substance use disorder treatment, and pain management.
       CDC identified representatives from leading primary care professional
       organizations to represent the audience for this guideline. Finally, CDC identified
       state agency officials and representatives based on their experience with state
       guidelines for opioid prescribing that were developed with multiple agency
       stakeholders and informed by scientific literature and existing evidence-based
       guidelines.

       364.    The 2016 Guideline was also peer-reviewed pursuant to “the final information

quality bulletin for peer review.” Specifically, the Guideline describes the following independent

peer-review process:

       [P]eer review requirements applied to this guideline because it provides influential
       scientific information that could have a clear and substantial impact on public- and
       private-sector decisions. Three experts independently reviewed the guideline to
       determine the reasonableness and strength of recommendations; the clarity with
       which scientific uncertainties were clearly identified; and the rationale, importance,
       clarity, and ease of implementation of the recommendations. CDC selected peer
       reviewers based on expertise, diversity of scientific viewpoints, and independence
       from the guideline development process. CDC assessed and managed potential
       conflicts of interest using a process similar to the one as described for solicitation
       of expert opinion. No financial interests were identified in the disclosure and review
       process, and nonfinancial activities were determined to be of minimal risk; thus, no
       significant conflict of interest concerns were identified.

       365.    The findings in the 2016 CDC Guideline both confirmed the existing body of

scientific evidence regarding the questionable efficacy of opioid use and contradicted

Defendants’ statements about opioids.

       366.    For instance, the Guideline states “[e]xtensive evidence shows the possible harms

of opioids (including opioid use disorder, overdose, and motor vehicle injury)” and that “[o]pioid

pain medication use presents serious risks, including overdose and opioid use disorder.” The

Guideline further confirms there are significant symptoms related to opioid withdrawal,

including drug cravings, anxiety, insomnia, abdominal pain, vomiting, diarrhea, sweating,

tremor, tachycardia (rapid heartbeat), spontaneous abortion and premature labor in pregnant

women, and the unmasking of anxiety, depression, and addiction. These findings contradict




                                               114
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 121 of 162



statements made by Defendants regarding the minimal risks associated with opioid use,

including that the risk of addiction from chronic opioid use is low.

       367.    The Guideline also concludes that there is “[n]o evidence” to show “a long-term

benefit of opioids in pain and function versus no opioids for chronic pain . . .” Furthermore, the

Guideline indicates that “continuing opioid therapy for 3 months substantially increases the risk

of opioid use disorder.” Indeed, the Guideline indicates that “[p]atients who do not experience

clinically meaningful pain relief early in treatment . . . are unlikely to experience pain relief with

longer-term use,” and that physicians should “reassess[] pain and function within 1 month” in

order to decide whether to “minimize risks of long-term opioid use by discontinuing opioids”

because the patient is “not receiving a clear benefit.” These findings flatly contradict claims

made by the Defendants that there are minimal or no adverse effects of long-term opioid use, or

that long-term opioid use could actually improve or restore a patient’s function.

       368.    In support of these statements about the lack of long-term benefits of opioid use,

the CDC concluded that “[a]lthough opioids can reduce pain during short-term use, the clinical

evidence review found insufficient evidence to determine whether pain relief is sustained and

whether function or quality of life improves with long-term opioid therapy.” The CDC further

found that “evidence is limited or insufficient for improved pain or function with long-term use

of opioids for several chronic pain conditions for which opioids are commonly prescribed, such

as low back pain, headache, and fibromyalgia.”

       369.    With respect to opioid dosing, the Guideline reports that “[b]enefits of high-dose

opioids for chronic pain are not established” while the “risks for serious harms related to opioid

therapy increase at higher opioid dosage.” The CDC specifically explains that “there is now an

established body of scientific evidence showing that overdose risk is increased at higher opioid




                                                 115
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 122 of 162



dosages.” The CDC also states that there is an “increased risk[] for opioid use disorder,

respiratory depression, and death at higher dosages.” As a result, the CDC advises doctors to

“avoid increasing dosage” above 90 MME per day. These findings contradict statements made

by Defendants that increasing dosage is safe and that under-treatment is the cause for certain

patients’ aberrant behavior.

       370.    The 2016 CDC Guideline also contradicts statements made by Defendants that

there are reliable risk-mitigation tactics to reduce the risk of addiction. For instance, the

Guideline indicates that available risk screening tools “show insufficient accuracy for

classification of patients as at low or high risk for [opioid] abuse or misuse” and counsels that

doctors “should not overestimate the ability of these tools to rule out risks from long-term opioid

therapy.”

       371.    Finally, the 2016 CDC Guideline states that “[n]o studies” support the notion that

“abuse-deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,”

noting that the technologies—even when they work—“do not prevent opioid abuse through oral

intake, the most common route of opioid abuse, and can still be abused by nonoral routes.” In

particular, the CDC found as follows:

       The “abuse-deterrent” label does not indicate that there is no risk for abuse. No
       studies were found in the clinical evidence review assessing the effectiveness of
       abuse-deterrent technologies as a risk mitigation strategy for deterring or
       preventing abuse. In addition, abuse-deterrent technologies do not prevent
       unintentional overdose through oral intake. Experts agreed that recommendations
       could not be offered at this time related to use of abuse-deterrent formulations.

Accordingly, the CDC’s findings regarding “abuse-deterrent technologies” directly contradict

Purdue and Endo’s claims that their new pills deter or prevent abuse.

       372.    Notably, in addition to the findings made by the CDC in 2016, the Washington

State Agency Medical Directors’ Group (AMDG)—a collaboration among several Washington




                                                 116
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 123 of 162



State Agencies—published its Interagency Guideline on Prescribing Opioids for Pain in 2015.

The AMDG came to many of the same conclusions as the CDC did. For example, the AMDG

found that “there is little evidence to support long term efficacy of [chronic opioid analgesic

therapy, or “COAT”] in improving function and pain, [but] there is ample evidence of its risk for

harm . . .”225

        373.     In addition, as discussed above, in contrast to Defendants’ statements that the

1980 Porter and Jick letter provided evidence of the low risk of opioid addiction in pain patients,

the NEJM recently published a letter largely debunking the use of the Porter and Jick letter as

evidence for such a claim.226 The researchers demonstrated how the Porter and Jick letter was

irresponsibly cited and, in some cases, “grossly misrepresented,” when in fact it did not provide

evidence supporting the broad claim of low addiction risk for all patients prescribed opioids for

pain. As noted above, Dr. Jick reviewed only files of patients administered opioids in a hospital

setting, rather than patients sent home with a prescription for opioids to treat chronic pain.

        374.     The authors of the 2017 letter described their methodology as follows:

        We performed a bibliometric analysis of this [1980] correspondence from its
        publication until March 30, 2017. For each citation, two reviewers independently
        evaluated the portrayal of the article’s conclusions, using an adaptation of an
        established taxonomy of citation behavior along with other aspects of
        generalizability . . . For context, we also ascertained the number of citations of
        other stand-alone letters that were published in nine contemporaneous issues of the
        Journal (in the index issue and in the four issues that preceded and followed it).

        We identified 608 citations of the index publication and noted a sizable increase
        after the introduction of OxyContin (a long-acting formulation of oxycodone) in
        1995 . . . Of the articles that included a reference to the 1980 letter, the authors
        of 439 (72.2%) cited it as evidence that addiction was rare in patients treated
        with opioids. Of the 608 articles, the authors of 491 articles (80.8%) did not
        note that the patients who were described in the letter were hospitalized at the


225
    Interagency Guideline on Prescribing Opioids for Pain, Agency Med. Directors’ Group (June
  2015), http://www.agencymeddirectors.wa.gov/Files/2015AMDGOpioidGuideline.pdf.
226
    Leung, et al., supra note 146.



                                                 117
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 124 of 162



        time they received the prescription, whereas some authors grossly
        misrepresented the conclusions of the letter . . . Of note, affirmational citations
        have become much less common in recent years. In contrast to the 1980
        correspondence, 11 stand-alone letters that were published contemporaneously by
        the Journal were cited a median of 11 times.227 (Emphasis added).

        375.    The researchers provided examples of quotes from articles citing the 1980 letter

and noted several shortcomings and inaccuracies with the quotations. For instance, the

researchers concluded that these quotations (i) “overstate[] conclusions of the index publication,”

(ii) do[] not accurately specify its study population,” and (iii) did not adequately address

“[l]imitizations to generalizability.”228




227
   Id. (emphasis added).
228
   Supplementary Appendix to Pamela T.M. Leung, B.Sc. Pharm., Erin M. Macdonald, M.Sc.,
 Matthew B. Stanbrook, M.D., Ph.D., Irfan Al Dhalla, M.D., David N. Juurlink, M.D., Ph.D., A
 1980 Letter on the Risk of Opioid Addiction, 376 New Eng. J. Med. 2194-95 (June 1, 2017),
 http://www.nejm.org/doi/suppl/10.1056/NEJMc1700150/suppl_file/
 nejmc1700150_appendix.pdf.



                                                118
Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 125 of 162




376.   Based on this review, the researchers concluded as follows:

[W]e found that a five-sentence letter published in the Journal in 1980 was heavily
and uncritically cited as evidence that addiction was rare with long-term opioid
therapy. We believe that this citation pattern contributed to the North American
opioid crisis by helping to shape a narrative that allayed prescribers’ concerns about
the risk of addiction associated with long-term opioid therapy. In 2007, the
manufacturer of OxyContin and three senior executives pleaded guilty to federal
criminal charges that they misled regulators, doctors, and patients about the risk of
addiction associated with the drug. Our findings highlight the potential




                                        119
          Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 126 of 162



          consequences of inaccurate citation and underscore the need for diligence when
          citing previously published studies.229

          377.    These researchers’ careful analysis demonstrates the falsity of Defendants’ claim

that this 1980 letter was evidence of a low risk of addiction in opioid-treated patients. By casting

this letter as evidence of low risk of addiction, Defendants played fast and loose with the truth,

with blatant disregard for the consequences of their misrepresentations.

H.        Ada County Has Been Directly Affected by the Opioid Epidemic Caused by
          Defendants.

          378.    Ada County, located in southwestern Idaho, has over 450,000 residents and is the

state’s most populous county, comprising nearly a quarter of the state’s population. It contains

multiple cities and towns, including the state’s capital and largest city, Boise.

          379.    Much like the rest of the United States, Ada County has felt the profound

consequences of the opioid epidemic. As a direct result of Defendants’ aggressive marketing

scheme and excessive distribution of prescription opioids, Ada County has suffered significant

and ongoing harms—harms that will continue well into the future. Each day that Defendants

continue to evade responsibility for the epidemic they caused, the County must continue

allocating substantial resources to address it.

          380.    Opioid use has reached crisis levels across the country, including in Idaho.

Idaho’s opioid prescribing rate is consistently higher than the national average, as show in the

graph below. In 2017, Idaho providers wrote 70.3 opioid prescriptions per 100 persons, when the

national average was 58.7.230




229
      Leung, et al., supra note 146.
230
   Idaho Opioid Summary, Nat’l Inst. on Drug Abuse, https://www.drugabuse.gov/drugs-
 abuse/opioids/opioid-summaries-by-state/idaho-opioid-summary (revised May 2019).



                                                  120
            Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 127 of 162




            381.   In 2017, the rate of drug-related deaths in Idaho was 14.4 per 100,000 persons.231

            382.   Between 2015 and 2018, the number of overdose deaths in Ada County nearly

doubled. In 2018, there were 140 overdose deaths in the County, the majority of which were

opioid-related.

            383.   Ada County has been working to confront the emergency caused by Defendants’

reckless promotion and distribution of prescription opioids. The costs described in the following

sections are illustrative but not exhaustive examples of the significant burden the opioid crisis

has imposed on the County.




231
      Id.



                                                  121
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 128 of 162



       1.      Ada County’s law enforcement and criminal justice system have incurred
               substantial costs in responding to the epidemic caused by Defendants.

               a.     Sheriff’s Office

       384.    The Ada County Sheriff’s Office (“ACSO”) provides the County with public

safety services and protects and safeguards the community by upholding and enforcing the law.

The Sheriff’s Office ensures the safety of the entire County and is committed to the protection of

life and property.

       385.    ACSO expends resources fulfilling its critical missions and devotes resources to

opioid-related crimes. ACSO encounters individuals affected by opioid use and abuse daily,

often by interacting with individuals in possession of opioids or responding to opioid overdoses.

       386.    To be able to respond to opioid overdoses, ACSO deputies now carry naloxone.

ACSO has spent resources training its deputies to administer naloxone.

       387.    ACSO has also had to spend resources training its officers to safely and

appropriately handle fentanyl. As noted above, fentanyl is a powerful synthetic opioid—so

powerful that a miniscule amount inhaled through the nose or mouth and absorbed by mucous

membranes can cause severe adverse reactions. Handling fentanyl in its powdered form could

result in accidentally brushing the powder into the air or near the nose or mouth. As such, law

enforcement officers and first responders who might encounter fentanyl are exposed to grave

risks. ACSO officers are also exposed to used syringes and needles on the job, which can expose

officers to blood-borne pathogens.

               b.     Detention Division

       388.    The Ada County Jail, located in the City of Boise, incurs additional costs as a

result of the opioid epidemic. It has experienced an increase in the number of incarcerations for

individuals arrested for possession of opioids and opioid-related crimes.




                                               122
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 129 of 162



       389.    Individuals with opioid-use disorders require extra care and attention from jail

staff. The jail operates a clinic and provides medical care to all inmates, including medication

assisted treatment (MAT) with methadone and buprenorphine.

               c.      Criminal justice system

       390.    There has been a rise in criminal cases related to opioids in Ada County courts. In

particular, the courts have noticed a rise in heroin and fentanyl use in the last five years. Opioids

also play a role in other types of cases even when the charges are not directly related to

controlled substances, and there has been a notable increase in property and theft crimes that are

driven by opioid addiction.

       391.    To offer alternatives to prosecution for opioid users, Ada County operates a three

Drug Courts, a Mental Health Court, and a Veteran’s Court.

       392.    If criminal defendants are sentenced to a term of supervised probation, the court’s

probation department supervises them. Probation also administers drug tests to clients on

supervised probation, and drug-testing costs have increased in recent years.

       393.    In addition to direct costs to the courts, the higher number of opioid-related crimes

has increased the costs for the County Prosecutor’s Office and the Public Defender’s Office.

       2.      Ada County Paramedics has expended extraordinary resources confronting
               the opioid epidemic.

       394.    Ada County Paramedics (which includes both paramedics and emergency medical

technicians, or “EMTs”) is on the front line of the opioid crisis because emergency services

personnel are often the first on the scene to respond to overdoses, deaths, and injuries related to

opioid abuse. Accordingly, Ada County Paramedics incurs costs in dealing with the opioid crisis,

both in terms of responding to these emergencies and in training and preparing for them.




                                                123
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 130 of 162



       395.    To be able to respond to opioid overdoses, most Ada County Paramedics personnel

now carry naloxone. Ada County Paramedics has spent resources training its personnel to

administer naloxone. Because the paramedics in Ada County carry naloxone on their trucks and

are trained to administer the opioid antagonist, they can immediately respond to an overdose.

       396.    Recently, Ada County Paramedics has responded to a dramatically increased

number of opioid overdoses. Between 2014 and 2017, Ada County Paramedics responded to an

average of 43.5 overdose calls per year. In 2018, that number almost doubled to 74 calls. Over

the past five years, Ada County Paramedics has administered an average of 267 naloxone doses

per year; the highest count was 294 naloxone doses administered in 2018.

       397.    Ada County spends money to purchase naloxone for Ada County Paramedics. In

2016 alone, the County spent over $15,000 for naloxone.

       398.    Overdoses are not the only opioid-related health emergencies to which Ada

County Paramedics must respond. For example, opioids have helped to drive a wave of new

health problems that emergency medical service departments must confront. Many of these

health problems, including infections and infectious diseases, fall outside the typical emergencies

that emergency medical services were designed to address. As a result, the prevalence of opioid

use has affected Ada County’s budget beyond the costs related to overdose responses.

       3.      The opioid epidemic has contributed to homelessness in Ada County.

       399.    The opioid epidemic has also contributed to and compounded the issue of

homelessness in Ada County.

       400.    Although the causes of homelessness are multi-faceted and complex, substance

abuse is both a contributing cause and result of homelessness. Prescription opioids have not only

helped to fuel homelessness but have also made it immeasurably more difficult for Ada County

to address. For example, mental health services are critical for many in the homeless population,



                                               124
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 131 of 162



but opioid use and addiction can make it more difficult to provide effective mental health

treatment. Opioids provide a way to self-medicate and avoid getting the treatment that might lead

to long-term success and more positive outcomes. Whether opioid addiction was a contributing

cause or a result of homelessness, opioid addictions now prevent many individuals from

regaining permanent housing.

       401.     Nationally, while the leading cause of death among homeless Americans used to

be HIV, it is now drug overdose. A study published in JAMA Internal Medicine found that

overdoses were the leading cause of death among individuals experiencing homelessness in the

Boston area. Of the overdose deaths, 81% involved opioids.232 Additional research in Boston

found the rate of drug overdose to be 20 times higher among the homeless than in the general

population and noted that similar findings have been documented in New York and in San

Francisco.233

       402.     Homelessness is a problem in Ada County. The 2015 Homeless Point-In-Time

Report indicated there were 755 men, women, and children experiencing homelessness in Ada

County.234 Substance abuse contributes to homelessness in Ada County, just as it does in other

places around the country.




232
    Travis P. Baggett, MD, MPH, Stephen W. Hwang, MD, MPH, James J. O’Connell, MD, et.
  al., Mortality Among Homeless Adults in Boston, Shifts in Causes of Death Over a 15-Year
  Period, 173 (3) JAMA Intern. Med. 189-95 (2013)
  https://jamanetwork.com/journals/jamainternalmedicine/fullarticle/1556797/#qundefined.
233
    Travis P. Baggett, MD, MPH, Yuchiao Chang, PhD, Daniel E. Singer, MD, Bianca C.
  Porneala, MS, et al., Tobacco-, Alcohol-, and Drug-Attributable Deaths and Their Contribution
  to Mortality Disparities in a Cohort of Homeless Adults in Boston, 105(6) Am J Public Health
  1189–1197 (2015), https://www.ncbi.nlm.nih.gov/pubmed/25521869.
234
    Basic Facts on Homelessness, Boise/Ada County Homeless Coalition,
  https://www.homelesscoalitionboise.com/about-homelessness/basic-facts-on-homelessness/
  (last visited June 7, 2019).



                                               125
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 132 of 162



       4.      Defendants’ conduct has increased Ada County’s insurance costs.

       403.    The Marketing Defendants’ misrepresentations regarding the purported safety and

efficacy of opioids have also substantially increased the County’s health insurance and workers’

compensation costs. The County offers a self-insured medical program, which means that when

anyone covered by this health insurance program visits a doctor, fills a prescription, or otherwise

incurs health-related costs—including, for example, opioid-related medical claims—the County

pays for those costs directly. Likewise, the County pays for the increased cost of workers’

compensation benefits due to the opioid related-claims through a risk pool consisting of it and

certain other counties.

       404.    Ada County, like other entities and corporations across the country who are self-

insured, has incurred significant costs for prescription opioids.

       405.    Across the United States, people who are diagnosed with opioid abuse or opioid

dependence cost health insurers approximately $16,000 more per patient than the per-patient

average cost.235 Those costs, including those borne by the County, would have been avoided had

the Marketing Defendants not hidden the truth about the risks and benefits of opioids.

I.     No Federal Agency Action, Including by the FDA, Can Provide the Relief Ada
       County Seeks Here.

       406.    The injuries Ada County has suffered and will continue to suffer cannot be

addressed by agency or regulatory action. There are no rules the FDA could make or actions the

agency could take that would provide the County the relief it seeks in this litigation.

       407.    Even if prescription opioids were entirely banned today or only used for the

intended purpose, millions of Americans, including Ada County residents, would remain


235
  The Impact of the Opioid Crisis on the Healthcare System: A Study of Privately Billed
 Services, FAIR Health (Sept. 2016), http://www.khi.org/assets/uploads/news/
 14560/the_impact_of_the_opioid_crisis.pdf.



                                                126
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 133 of 162



addicted to opioids, and overdoses will continue to claim lives. The County’s public health,

criminal justice, and social welfare services will continue to be burdened by the consequences of

the epidemic.

        408.     Regulatory action would do nothing to compensate the County for the money and

resources it has already expended addressing the impacts of the opioid epidemic and the

resources it will need in the future. Only this litigation has the ability to provide the County with

the relief it seeks.

        409.     Furthermore, the costs Ada County has incurred in responding to the opioid crisis

and in rendering public services described above are recoverable pursuant to the causes of

actions raised by the County. Defendants’ misconduct alleged herein is not a series of isolated

incidents, but instead the result of a sophisticated and complex marketing scheme over the course

of more than twenty years that has caused a substantial and long-term burden on the municipal

services provided by the County. In addition, the public nuisance created by Defendants and the

County’s requested relief in seeking abatement further compels Defendants to reimburse and

compensate Ada County for the substantial resources it has expended to address the opioid crisis.

                                  V.      CLAIMS FOR RELIEF

                       VIOLATIONS OF THE IDAHO UNFAIR AND DECEPTIVE TRADE
                           PRACTICES ACT, I.C. § 48-601, ET SEQ.

        410.     Plaintiff repeats, reasserts, and incorporates the allegations contained above as if

fully set forth herein.

        411.     The Idaho Unfair and Deceptive Trade Practices Act (“UDTPA”) is codified at

I.C. § 48-601, et seq. The UDTPA prohibits “unfair methods of competition and unfair or

deceptive acts or practices in the conduct of any trade or commerce . . . where a person knows, or

in the exercise of due care should know, that he has in the past, or is . . . [r]epresenting that goods




                                                  127
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 134 of 162



or services have . . . characteristics, ingredients, uses, benefits, or quantities that they do not

have[;]” “[e]ngaging in any act or practice which is otherwise misleading, false, or deceptive to

the consumer[;]” or “[e]ngaging in any unconscionable method, act or practice in the conduct of

trade or commerce….” I.C. § 48-603.

        412.    The conduct at issue in this case falls within the scope of the UDTPA. Defendants

have engaged in and continue to engage in the same pattern of unfair methods of competition,

and unfair and/or deceptive conduct pursuant to a common practice of misleading the public

regarding the purported benefits and risks of opioids. At all relevant times, Defendants knew and

should have known of their unfair methods of competition and unfair and deceptive acts and

practices.

        413.    The Marketing Defendants, at all times relevant to this Complaint, directly and/or

through their control of third parties, violated the UDTPA by making deceptive and misleading

representations to physicians and consumers about the safety and effectiveness of chronic and

continuous use of opioids. Each of these Defendants also omitted or concealed material facts and

failed to correct prior misrepresentations and omissions about the purported benefits and risks of

opioids.

        414.    All Defendants, at all times relevant to this Complaint, directly and/or through

their control of third parties, violated the UDTPA by making deceptive and misleading

representations about their compliance with their obligations to maintain effective controls

against diversion of prescription opioids and to report suspicious orders in connection with the

sale of opioids. All Defendants concealed the extent of their opioid sales and distribution in order

to avoid the issuance of restrictive quotas and manipulated the political process to shield

themselves from enforcement actions that would have stopped shipments of opioids.




                                                  128
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 135 of 162



        415.    Ada County has paid money for health care costs associated with prescription

opioids for chronic pain. The County has also paid significant sums of money treating those

covered by its health insurance for other opioid-related health costs. Defendants’ misconduct has

further caused the County to spend substantial sums of money on increased law enforcement,

emergency services, social services, public safety, and other human services in Ada County, as

described above.

        416.    But for these unfair methods of competition and unfair and/or deceptive acts or

practices in the conduct of trade or commerce, Ada County would not have incurred the

significant costs related to the epidemic caused by Defendants above.

        417.    Defendants marketed and supplied opioids and are ultimately responsible for the

unreasonable and unconscionable amount of pills in Ada County. Marketing Defendants knew or

reasonably should have known that their statements regarding the risks and benefits of opioids

were false and misleading, and that their statements were causing harm from their continued

production and marketing of opioids. All Defendants knew or reasonably should have known

that their deceptive conduct regarding the sufficiency of their controls over opioid distribution

was misleading and that the proliferation of prescription opioids was causing damage to the

County. Thus, the harms caused by Defendants’ unfair and deceptive conduct to Ada County

were reasonably foreseeable, including the financial and economic losses incurred by the

County.

                                                 PUBLIC NUISANCE

        418.    Plaintiff repeats, reasserts, and incorporates the allegations contained above as if

fully set forth herein.

        419.    Pursuant to I.C. § 52-111, an actionable nuisance is defined as, inter alia,

“[a]nything which is injurious to health or morals, or indecent, or offensive to the senses . . . .”



                                                 129
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 136 of 162



       420.    Pursuant to I.C. § 52-102, “[a] public nuisance is one which affects at the same time

an entire community or neighborhood, or any considerable number of persons, although the extent

of the annoyance or damage inflicted upon individuals may be unequal.”

       421.    Ada County and its residents have a right to be free from conduct that endangers

their health and safety. Yet Defendants have engaged in conduct which endangers or injures the

health and safety of the residents of the County by their production, promotion, distribution, and

marketing of opioids for use by residents of Ada County and in a manner that substantially

interferes with the welfare of Ada County.

       422.    Each Defendant has created or assisted in the creation of a condition that is injurious

to the health and safety of Ada County and its residents, and interferes with the comfortable

enjoyment of life and property of entire communities and/or neighborhoods in the County.

       423.    Defendants’ conduct has directly caused deaths, serious injuries, and a severe

disruption of the public peace, order and safety, including fueling the homeless and heroin crises

facing the County described herein. Defendants’ conduct is ongoing and continues to inflict long-

lasting harms on the County.

       424.    The health and safety of the residents of Ada County, including those who use, have

used, or will use opioids, as well as those affected by users of opioids, are matters of substantial

public interest and of legitimate concern to the County’s citizens and its residents.

       425.    Defendants’ conduct has affected and continues to affect a substantial number of

people within Ada County and is likely to continue causing significant harm to patients with

chronic pain who are being prescribed and take opioids, their families, and their communities.




                                                130
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 137 of 162



        426.    But for Defendants’ actions, opioid use and ultimately its misuse and abuse would

not be as widespread as it is today, and the massive epidemic of opioid abuse that currently exists

would have been averted.

        427.    Logic, common sense, justice, policy, and precedent indicate Defendants’ unfair

and deceptive conduct has caused the damage and harm complained of herein. Marketing

Defendants knew or reasonably should have known that their statements regarding the risks and

benefits of opioids were false and misleading, and that their false and misleading statements were

causing harm from their continued production and marketing of opioids. Distributor Defendants

knew that the widespread distribution of opioids would endanger the health and safety of residents

of Ada County, and Manufacturing Defendants filled orders for those prescriptions. Thus, the

public nuisance caused by Defendants to Ada County was reasonably foreseeable, including the

financial and economic losses incurred by the County.

        428.    As a direct and proximate cause of Defendants’ conduct creating or assisting in the

creation of a public nuisance, Ada County, its community, and its residents have sustained and

will continue to sustain substantial injuries.

        429.    Pursuant to I.C. § 52-111, Ada County requests an order providing for abatement

of the public nuisance that each Defendant has created or assisted in the creation of, and enjoining

Defendants from future violations of I.C. § 52-111.

        430.    Ada County also seeks the maximum statutory and civil penalties and damages

permitted by law as a result of the public nuisance created by Defendants.

                                                       NEGLIGENCE

        431.    Plaintiff repeats, reasserts, and incorporates the allegations contained above as if

fully set forth herein.




                                                 131
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 138 of 162



       432.     Under Idaho law, a cause of action arises for negligence when a defendant owes a

duty to a plaintiff and breaches that duty, and proximately causes the resulting injury.

       433.     Each Defendant owed a duty of care to Plaintiff, including but not limited to

taking reasonable steps to prevent the misuse, abuse, and over-prescription of opioids.

       434.     In violation of this duty, Defendants failed to take reasonable steps to prevent the

misuse, abuse, and over-prescription of opioids by misrepresenting the risks and benefits

associated with opioids and by distributing dangerous quantities of opioids.

       435.     As set forth above, Marketing Defendants’ misrepresentations include falsely

claiming that the risk of opioid addiction was low, falsely instructing doctors and patients that

prescribing more opioids was appropriate when patients presented symptoms of addiction,

falsely claiming that risk-mitigation strategies could safely address concerns about addiction,

falsely claiming that doctors and patients could increase opioid doses indefinitely without added

risk, deceptively marketing that purported abuse-deterrent technology could curb misuse and

addiction, and falsely claiming that long-term opioid use could actually restore function and

improve a patient’s quality of life. Each of these misrepresentations made by Defendants violated

the duty of care to Ada County.

       436.     The Manufacturing Defendants negligently filed orders for, and the Distributor

Defendants negligently distributed, enormous quantities of potent narcotics and failed to report

such orders and distributions. Distributor Defendants violated their duty of care by moving these

dangerous products into Ada County in such quantities, facilitating diversion, misuse, and abuse

of opioids.

       437.     In committing these negligent acts, Defendants acted maliciously and

outrageously.




                                                132
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 139 of 162



        438.    As a direct and proximate cause of Defendants’ unreasonable and negligent

conduct, Plaintiff has suffered and will continue to suffer harm, and is entitled to damages in an

amount determined at trial.

                                               NEGLIGENCE PER SE

        439.    Plaintiff repeats, reasserts, and incorporates the allegations contained above as if

fully set forth herein.

        440.    Under Idaho law, statutes and administrative regulations may define the

applicable standard of care owed. Violations of such statutes and regulations may constitute

negligence per se.

        441.    Each Defendant owed Plaintiff statutory and regulatory duties, including the duty

to maintain a system to identify and report suspicious orders, such as orders of unusual size or

frequency, or orders deviating from a normal pattern, and to maintain effective controls against

diversion of controlled substances. See 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b); I.C. § 37-2720.

        442.    Each Defendant breached its statutory and regulatory duties. Rather than

maintaining a system to identify and report suspicious orders, the Manufacturing Defendants

incentivized and supplied suspicious sales of opioids, despite their knowledge that their opioids

were being diverted to illicit use. The Manufacturing Defendants also failed to notify the DEA of

such suspicious orders, as required by law. The Distributor Defendants failed to maintain effective

controls against diversion, intentionally evaded their obligation to report suspicious orders to the

DEA, and conspired to prevent limits on the prescription opioids they were oversupplying to

communities like Plaintiff. In committing these acts, Defendants acted maliciously and

outrageously.




                                                133
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 140 of 162



        443.    As a direct and proximate cause of Defendants’ per-se negligent conduct, Plaintiff

has suffered and will continue to suffer harm, and is entitled to damages in an amount

determined at trial.

                                              UNJUST ENRICHMENT

        444.    Plaintiff repeats, reasserts, and incorporates the allegations contained above as if

fully set forth herein.

        445.    Each Defendant was required to take reasonable steps to prevent the misuse,

abuse, and over-prescription of opioids.

        446.    Rather than prevent or mitigate the wide proliferation of opioids into Ada County,

each Defendant instead chose to place its monetary interests first and each Defendant profited

from prescription opioids sold in Ada County.

        447.    Each Defendant also failed to maintain effective controls against the unintended

and illegal use of the prescription opioids it manufactured or distributed, again choosing instead

to place its monetary interests first.

        448.    Each Defendant therefore received a benefit from the sale and distribution of

prescription opioids to and in Ada County, and these Defendants have been unjustly enriched at

the expense of the County.

        449.    As a result, Ada County is entitled to damages on its unjust enrichment claim in

an amount to be proven at trial.

                  VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
                ORGANIZATIONS ACT (“RICO”), 18 U.S.C. § 1961, ET SEQ.

        450.    Plaintiff hereby incorporates by reference the allegations contained in the

preceding paragraphs of this complaint.




                                                134
          Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 141 of 162



          451.   This claim is brought by Plaintiff against each Defendant for actual damages,

treble damages, and equitable relief under 18 U.S.C. § 1964 for violations of 18 U.S.C. § 1961,

et seq.

          452.   At all relevant times, each Defendant is and has been a “person” within the

meaning of 18 U.S.C. § 1961(3), because they are capable of holding, and do hold, “a legal or

beneficial interest in property.”

          453.   Plaintiff is a “person,” as that term is defined in 18 U.S.C. § 1961(3), and has

standing to sue as it was and is injured in its business and/or property as a result of the

Defendants’ wrongful conduct described herein.

          454.   Section 1962(c) makes it “unlawful for any person employed by or associated

with any enterprise engaged in, or the activities of which affect, interstate or foreign commerce,

to conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through

a pattern of racketeering activity . . . ” 18 U.S.C. § 1962(c).

          455.   Section 1962(d) makes it unlawful for “any person to conspire to violate” Section

1962(c), among other provisions. See 18 U.S.C. § 1962(d).

          456.   Each Defendant conducted the affairs of an enterprise through a pattern of

racketeering activity, in violation of 18 U.S.C. § 1962(c) and § 1962(d).

A.        Description of the Defendants’ Enterprises.

          457.   RICO defines an enterprise as “any individual, partnership, corporation,

association, or other legal entity, and any union or group of individuals associated in fact

although not a legal entity.” 18 U.S.C. § 1961(4).

          458.   Under 18 U.S.C. § 1961(4) a RICO “enterprise” may be an association-in-fact

that, although it has no formal legal structure, has (i) a common purpose, (ii) relationships among




                                                 135
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 142 of 162



those associated with the enterprise, and (iii) longevity sufficient to pursue the enterprise’s

purpose. See Boyle v. United States, 556 U.S. 938, 946 (2009).

       459.    Defendants formed two such association-in-fact enterprises—referred to herein as

“the Opioid Marketing Enterprise” and “the Opioid Supply Chain Enterprise.”

       460.    The Opioid Marketing Enterprise consists of Defendants Purdue, the Sackler

Family Defendants, Endo, Janssen, Teva, Actavis, and Mallinckrodt, Front Groups, and KOLs.

In particular, the Opioid Marketing Enterprise consists of (a) Defendant Purdue, including its

employees and agents, and the Sackler Family Defendants, who controlled Purdue, (b)

Defendant Endo, including its employees and agents, (c) Defendant Janssen, including its

employees and agents, (d) Defendant Teva, including its employees and agents, (e) Defendant

Actavis, including its employees and agents, and (f) Defendant Mallinckrodt, including its

employees and agents (collectively, “Marketing Defendants”); certain front groups described

above, including but not limited to (a) the American Pain Foundation, including its employees

and agents, (b) the American Academy of Pain Medicine, including its employees and agents,

and (c) the American Pain Society, including its employees and agents (collectively, the “Front

Groups”); and certain Key Opinion Leaders, including but not limited to (a) Dr. Russell

Portenoy, (b) Dr. Perry Fine, (c) Dr. Lynn Webster, and (d) Dr. Scott Fishman (collectively, the

“KOLs”). The entities in the Opioid Marketing Enterprise acted in concert to create demand for

prescription opioids.

       461.    Alternatively, each of the above-named Marketing Defendants and Front Groups

constitutes a single legal entity “enterprise” within the meaning of 18 U.S.C. § 1961(4), through

which the members of the enterprise conducted a pattern of racketeering activity. The separate




                                                 136
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 143 of 162



legal status of each member of the Enterprise facilitated the fraudulent scheme and provided a

hoped-for shield from liability for Defendants and their co-conspirators.

       462.    Alternatively, each of the Marketing Defendants, together with the Distributor

Defendants, the Front Groups, and the KOLs, constitute separate, associated-in-fact Enterprises

within the meaning of 18 U.S.C. § 1961(4).

       463.    The Opioid Supply Chain Enterprise consists of all Defendants. In particular, the

Opioid Supply Chain Enterprise consists of (a) Defendant Purdue, including its employees and

agents, and the Sackler Family Defendants, who controlled Purdue, (b) Defendant Endo,

including its employees and agents, (c) Defendant Janssen, including its employees and agents,

(d) Defendant Teva, including its employees and agents, (e) Defendant Actavis, including its

employees and agents, (f) Defendant Mallinckrodt, including its employees and agents, (g)

Defendant AmerisourceBergen, including its employees and agents, (h) Defendant Cardinal

Health, including its employees and agents, and (i) Defendant McKesson, including its

employees and agents (collectively, “Defendants”).

       464.    The CSA and its implementing regulations require all manufacturers and

distributors of controlled substances, including opioids, to maintain a system to identify and

report suspicious orders, including orders of unusual size or frequency, or orders deviating from

a normal pattern, and maintain effective controls against diversion of controlled substances. See

21 U.S.C. § 823; 21 C.F.R. §1301.74(b). All Defendants—manufacturers and distributors

alike— are required to become “registrants” under the CSA, 21 U.S.C. § 823(a)-(b), and its

implementing regulations, which provide that “[e]very person who manufactures, distributes,

dispenses, imports, or exports any controlled substance. . . shall obtain a registration[.]” 21

C.F.R. § 1301.11(a). Defendants’ duties as registrants include reporting suspicious orders of




                                                137
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 144 of 162



controlled substances, which are defined as including “orders of unusual size, orders deviating

substantially from a normal pattern, and orders of unusual frequency.” 21 C.F.R. § 1301.74(b).

       465.    The Manufacturing Defendants carried out the Opioid Supply Chain Enterprise by

incentivizing and supplying suspicious sales of opioids, despite their knowledge that their

opioids were being diverted to illicit use, and by failing to notify the DEA of such suspicious

orders as required by law. The Distributor Defendants carried out the Opioid Supply Chain

Enterprise by failing to maintain effective controls against diversion, intentionally evading their

obligation to report suspicious orders to the DEA, and conspiring to prevent limits on the

prescription opioids they were oversupplying to communities like Plaintiff.

       466.    The Opioid Marketing Enterprise is an ongoing and continuing business

organization consisting of “persons” within the meaning of 18 U.S.C. § 1961(3) that created and

maintained systematic links for a common purpose: to sell highly addictive opioids for treatment

of chronic pain while knowing that opioids have little or no demonstrated efficacy for such pain

and have significant risk of addiction, overdose, and death.

       467.    The Opioid Supply Chain Enterprise is an ongoing and continuing business

organization consisting of “persons” within the meaning of 18 U.S.C. § 1961(3) that created and

maintained systematic links for a common purpose: to distribute highly addictive opioids in

quantities that far exceeded amounts that could reasonably be considered medically necessary.

       468.    To accomplish these purposes, the Opioid Marketing Enterprise engaged in a

sophisticated, well-developed, and fraudulent marketing scheme designed to increase the

prescription rate for Defendants’ opioid medications (the “Marketing Scheme”), and the Opioid

Supply Chain Enterprise carried out a scheme to systematically disregard, avoid, or frustrate the

monitoring and reporting requirements intended to prevent the widespread distribution of




                                                138
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 145 of 162



dangerous controlled substances (the “Diversion Scheme”). The Marketing Scheme and the

Diversion Scheme are collectively referred to as the “Schemes.” Together, Defendants engaged

in these broad Schemes with the overarching purposes of materially expanding prescription

opioid use by altering the medical community’s opioid prescribing practices through repeated

fraudulent statements and misrepresentations and materially expanding prescription opioid

supply by avoiding monitoring requirements and actively seeking higher quotas.

B.     The Enterprises Sought to Fraudulently Increase Defendants’ Profits and Revenues

       469.    At all relevant times, each Defendant was aware of the conduct of the Enterprises,

was a knowing and willing participant in that conduct, and reaped profits from that conduct in

the form of increased sales and distribution of prescription opioids. In addition, the Front Groups

and KOLs received direct payments from the Marketing Defendants in exchange for their role in

the Opioid Marketing Enterprise, and to advance the Opioid Marketing Enterprise’s fraudulent

marketing scheme.

       470.    The Enterprises engaged in, and their activities affected, interstate and foreign

commerce because they involved commercial activities across state boundaries, including but not

limited to: (1) the marketing, promotion, and distribution of prescription opioids; (2) advocacy at

the state and federal level for change in the law governing the use and prescription of

prescription opioids; (3) the issuance of prescriptions and prescription guidelines for opioids; (4)

the issuance of fees, bills, and statements demanding payment for prescriptions of opioids; (5)

payments, rebates, and chargebacks between Defendants; and (6) the creation of documents,

reports, and communications related to Defendants’ reporting requirements under the CSA and

its implementing regulations.

       471.    The persons engaged in the Enterprises are systematically linked through

contractual relationships, financial ties, and continuing coordination of activities, as spearheaded



                                                139
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 146 of 162



by Defendants. With respect to the Opioid Marketing Enterprise, each Marketing Defendant

funded and directed the operations of the KOLs and the Front Groups; in fact, the board of

directors of each of the Front Groups are and were full of doctors who were on the Marketing

Defendants’ payrolls, either as consultants or speakers at medical events. Moreover, each

Marketing Defendant coordinated and, at times, co-funded their activities in furtherance of the

goals of the Enterprise. This coordination can also be inferred through the consistent

misrepresentations described below. With respect to the Opioid Supply Chain Enterprise,

Defendants were financially linked through a system of payments, rebates, and chargebacks.

       472.    In the Opioid Marketing Enterprise, there is regular communication between each

Marketing Defendant, each of the Front Groups, and each KOL in which information regarding

the Defendants’ scheme to increase opioid prescriptions is shared. Typically, this communication

occurred, and continues to occur, through the use of the wires and the mail in which Marketing

Defendants, the Front Groups, and the KOL share information regarding the operation of the

Opioid Marketing Enterprise.

       473.    In the Opioid Supply Chain Enterprise, there is regular communication between

each Defendant in which information regarding the Defendants’ scheme to oversupply opioids

and avoid restrictive regulations or quotas is shared. Typically, this communication occurred,

and continues to occur, through the use of the wires and the mail in which Defendants share

information regarding the operation of the Opioid Supply Chain Enterprise.

       474.    The Enterprises functioned as continuing units for the purposes of executing the

Schemes, and when issues arose during the Schemes, each member of the Enterprises agreed to

take actions to hide the Schemes and the existence of the Enterprises.




                                               140
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 147 of 162



       475.    Each Defendant participated in the operation and management of the Enterprises

by directing its affairs as described herein.

       476.    While Defendants participate in, and are members of, the Enterprises, they have

an existence separate from the Enterprises, including distinct legal statuses, affairs, offices and

roles, officers, directors, employees, and individual personhood.

       477.    Each Marketing Defendant orchestrated the affairs of the Opioid Marketing

Enterprise and exerted substantial control over the Opioid Marketing Enterprise by, at least: (1)

making misleading statements about the purported benefits, efficacy, and risks of opioids to

doctors, patients, the public, and others, in the form of telephonic and electronic

communications, CME programs, medical journals, advertisements, and websites; (2) employing

sales representatives to promote the use of opioid medications; (3) purchasing and utilizing

sophisticated marketing data (e.g., IMS data) to coordinate and refine the Marketing Scheme; (4)

employing doctors to serve as speakers at or attend all-expense paid trips to programs

emphasizing the benefits of prescribing opioid medications; (5) funding, controlling, and

operating the Front Groups, including the American Pain Foundation and the Pain & Policy

Studies Group; (6) sponsoring CME programs that claimed that opioid therapy has been shown

to reduce pain and depressive symptoms; (7) supporting and sponsoring guidelines indicating

that opioid medications are effective and can restore patients’ quality of life; (8) retaining KOLs

to promote the use of opioids; and (9) concealing the true nature of their relationships with the

other members of the Marketing Scheme, and the Opioid Marketing Enterprise, including the

Front Groups and the KOLs.

       478.    The Front Groups orchestrated the affairs of the Opioid Marketing Enterprise and

exerted substantial control over the Opioid Marketing Enterprise by, at least: (1) making




                                                141
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 148 of 162



misleading statements about the purported benefits, efficacy, and low risks of opioids described

herein; (2) holding themselves out as independent advocacy groups, when in fact their operating

budgets are entirely comprised of contributions from opioid drug manufacturers; (3) publishing

treatment guidelines that advised the prescription of opioids; (4) sponsoring medical education

programs that touted the benefits of opioids to treat chronic pain while minimizing and

trivializing their risks; and (5) concealing the true nature of their relationship with the other

members of the Opioid Marketing Enterprise.

       479.    The KOLs orchestrated the affairs of the Opioid Marketing Enterprise and exerted

substantial control over the Opioid Marketing Enterprise by, at least: (1) making misleading

statements about the purported benefits, efficacy, and low risks of opioids; (2) holding

themselves out as independent, when in fact they are systematically linked to and funded by

opioid drug manufacturers; and (3) concealing the true nature of their relationship with the other

members of the Opioid Marketing Enterprise.

       480.    Without the willing participation of each member of the Opioid Marketing

Enterprise, the Marketing Scheme and the Opioid Marketing Enterprise’s common course of

conduct would not have been successful.

       481.    Each Distributor Defendant orchestrated the affairs of the Opioid Supply Chain

Enterprise and exerted substantial control over the Opioid Supply Chain Enterprise by, at least:

(1) refusing or failing to identify, investigate, or report suspicious orders of opioids to the DEA;

(2) providing the Manufacturing Defendants with data regarding their prescription opioid sales,

including purchase orders and ship notices; (3) accepting payments from the Manufacturing

Defendants in the form of rebates and/or chargebacks; (4) filling suspicious orders for

prescription opioids despite having identified them as suspicious and knowing opioids were




                                                 142
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 149 of 162



being diverted into the illicit drug market; (5) working with other members of the Enterprise

through groups like the Healthcare Distribution Alliance and the Pain Care Forum to ensure the

free flow of opioids, including by supporting limits on the DEA’s ability to use immediate

suspension orders; and (6) concealing the true nature of their relationships with the other

members of the Opioid Supply Chain Enterprise.

        482.    Each Manufacturing Defendant orchestrated the affairs of the Opioid Supply

Chain Enterprise and exerted substantial control over the Opioid Supply Chain Enterprise by, at

least: (1) refusing or failing to identify, investigate, or report suspicious orders of opioids to the

DEA; (2) obtaining from the Distributor Defendants data regarding their prescription opioid

sales, including purchase orders and ship notices; (3) providing payments to the Distributor

Defendants in the form of rebates and/or chargebacks; (4) working with other members of the

Opioid Supply Chain Enterprise through groups like the Healthcare Distribution Alliance to

ensure the free flow of opioids, including by supporting limits on the DEA’s ability to use

immediate suspension orders; and (5) concealing the true nature of their relationships with the

other members of the Opioid Supply Chain Enterprise.

        483.    Without the willing participation of each member of the Opioid Supply Chain

Enterprise, the Diversion Scheme and the Opioid Supply Chain Enterprise’s common course of

conduct would not have been successful.

C.      Predicate Acts: Mail and Wire Fraud

        484.    To carry out, or attempt to carry out, the Schemes, the members of the

Enterprises, each of whom is a person associated-in-fact with the Enterprises, did knowingly

conduct or participate in, directly or indirectly, the affairs of the Enterprises through a pattern of

racketeering activity within the meaning of 18 U.S.C. §§ 1961(1), 1961(5) and 1962(c), and




                                                 143
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 150 of 162



employed the use of the mail and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud)

and § 1343 (wire fraud).

       485.    Specifically, the members of the Enterprises have committed, conspired to

commit, and/or aided and abetted in the commission of, at least two predicate acts of

racketeering activity (i.e., violations of 18 U.S.C. §§ 1341 and 1343), within the past ten years.

       486.    The multiple acts of racketeering activity which the members of the Enterprises

committed, or aided or abetted in the commission of, were related to each other, posed a threat of

continued racketeering activity, and therefore constitute a “pattern of racketeering activity.”

       487.    The racketeering activity was made possible by the Enterprises’ regular use of the

facilities, services, distribution channels, and employees of the Enterprises.

       488.    The members of the Enterprises participated in the Schemes by using mail,

telephone, and the internet to transmit mailings and wires in interstate or foreign commerce.

       489.    The members of the Enterprises used, directed the use of, and/or caused to be

used, thousands of interstate mail and wire communications in service of their Schemes through

common misrepresentations, concealments, and material omissions.

       490.    In devising and executing the illegal Schemes, the members of the Enterprises

devised and knowingly carried out a material scheme and/or artifice to defraud Plaintiff and the

public to obtain money by means of materially false or fraudulent pretenses, representations,

promises, or omissions of material facts.

       491.    For the purpose of executing the illegal Schemes, the members of the Enterprises

committed these racketeering acts, which number in the thousands, intentionally and knowingly

with the specific intent to advance the illegal Schemes.




                                                144
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 151 of 162



       492.    The Enterprises’ predicate acts of racketeering (18 U.S.C. § 1961(1)) include, but

are not limited to:

       A. Mail Fraud: The members of the Enterprises violated 18 U.S.C. § 1341 by
       sending or receiving, or by causing to be sent and/or received, fraudulent materials
       via U.S. mail or commercial interstate carriers for the purpose of selling and
       distributing excessive quantities of highly addictive opioids.

       B. Wire Fraud: The members of the Enterprises violated 18 U.S.C. § 1343 by
       transmitting and/or receiving, or by causing to be transmitted and/or received,
       fraudulent materials by wire for the purpose of selling and distributing excessive
       quantities of highly addictive opioids.

       493.    The Marketing Defendants falsely and misleadingly used the mails and wires in

violation of 18 U.S.C. § 1341 and § 1343. Illustrative and non-exhaustive examples include the

following: Defendant Purdue’s (1) May 31, 1996 press release announcing the release of

OxyContin and indicating that the fear of OxyContin’s addictive properties was exaggerated; (2)

1990 promotional video in which Dr. Portenoy, a paid Purdue KOL, understated the risk of

opioid addiction; (3) 1998 promotional video which misleadingly cited a 1980 NEJM letter in

support of the use of opioids to treat chronic pain; (4) statements made on its 2000 “Partners

Against Pain” website which claimed that the addiction risk of OxyContin was very low; (5)

literature distributed to physicians which misleadingly cited a 1980 NEJM letter in support of the

use of opioids to treat chronic pain; (6) August 2001 statements to Congress by Purdue

Executive Vice President and Chief Operating Officer Michael Friedman regarding the value of

OxyContin in treating chronic pain; (7) patient brochure entitled “A Guide to Your New Pain

Medicine and How to Become a Partner Against Pain” indicating that OxyContin is non-

addicting; (8) 2001 statement by Senior Medical Director for Purdue, Dr. David Haddox,

indicating that the ‘legitimate’ use of OxyContin would not result in addiction; (9) multiple sales

representatives’ communications regarding the low risk of addiction associated with opioids;




                                               145
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 152 of 162



(10) statements included in promotional materials for opioids distributed to doctors via the mail

and wires; (11) statements in a 2003 Patient Information Guide distributed by Purdue indicating

that addiction to opioid analgesics in properly managed patients with pain has been reported to

be rare; (12) telephonic and electronic communications to doctors and patients indicating that

signs of addiction in the case of opioid use are likely only the signs of under-treated pain; (13)

statements in Purdue’s Risk Evaluation and Mitigation Strategy for OxyContin indicating that

drug-seeking behavior on the part of opioid patients may, in fact, be pain-relief seeking behavior;

(14) statements made on Purdue’s website and in a 2010 “Dear Healthcare Professional” letter

indicating that opioid dependence can be addressed by dosing methods such as tapering; (15)

statements included in a 1996 sales strategy memo indicating that there is no ceiling dose for

opioids for chronic pain; (16) statements on its website that abuse-resistant products can prevent

opioid addiction; (17) statements made in a 2012 series of advertisements for OxyContin

indicating that long-term opioid use improves patients’ function and quality of life; (18)

statements made in advertising and a 2007 book indicating that pain relief from opioids improve

patients’ function and quality of life; (19) telephonic and electronic communications by its sales

representatives indicating that opioids will improve patients’ function; and (20) electronic and

telephonic communications concealing its relationship with the other members of the

Enterprises.

       494.    Defendant Endo Pharmaceuticals, Inc. also made false or misleading claims in

violation of 18 U.S.C. § 1341 and § 1343 including but not limited to: (1) statements made,

beginning in at least 2009, on an Endo-sponsored website, PainKnowledge.com, indicating that

patients who take opioids as prescribed usually do not become addicted; (2) statements made on

another Endo-sponsored website, PainAction.com, indicating that most chronic pain patients do




                                                146
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 153 of 162



not become addicted to opioid medications; (3) statements in pamphlets and publications

described by Endo indicating that most people who take opioids for pain relief do not develop an

addiction; (4) statements made on the Endo-run website, Opana.com, indicating that opioid use

does not result in addiction; (5) statements made on the Endo-run website, Opana.com,

indicating that opioid dependence can be addressed by dosing methods such as tapering; (6)

statements made on its website, PainKnowledge.com, that opioid dosages could be increased

indefinitely; (7) statements made in a publication entitled “Understanding Your Pain: Taking

Oral Opioid Analgesics” suggesting that opioid doses can be increased indefinitely; (8)

electronic and telephonic communications to its sales representatives indicating that the formula

for its medicines is ‘crush resistant;’ (9) statements made in advertisements and a 2007 book

indicating that pain relief from opioids improves patients’ function and quality of life; (10)

telephonic and electronic communications by its sales representatives indicating that opioids will

improve patients’ function; and (11) telephonic and electronic communications concealing its

relationship with the other members of the Enterprises.

       495.    Defendant Janssen made false or misleading claims in violation of 18 U.S.C. §

1341 and § 1343 including but not limited to: (1) statements on its website,

PrescribeResponsibly.com, indicating that concerns about opioid addiction are overestimated; (2)

statements in a 2009 patient education guide claiming that opioids are rarely addictive when used

properly; (3) statements included on a 2009 Janssen-sponsored website promoting the concept of

opioid pseudoaddiction; (4) statements on its website, PrescribeResponsibly.com, advocating the

concept of opioid pseudoaddiction; (5) statements on its website, PrescribeResponsibly.com,

indicating that opioid addiction can be managed; (6) statements in its 2009 patient education

guide indicating the risks associated with limiting the dosages of pain medicines; (7) telephonic




                                                147
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 154 of 162



and electronic communications by its sales representatives indicating that opioids will improve

patients’ function; and (8) telephonic and electronic communications concealing its relationship

with the other members of the Enterprises.

       496.    The American Academy of Pain Medicine made false or misleading claims in

violation of 18 U.S.C. § 1341 and § 1343 including but not limited to: (1) statements made in a

2009 patient education video entitled “Finding Relief: Pain Management for Older Adults”

indicating the opioids are rarely addictive; and (2) telephonic and electronic communications

concealing its relationship with the other members of the Opioid Marketing Enterprise.

       497.    The American Pain Society Quality of Care Committee made a number of false or

misleading claims in violation of 18 U.S.C. § 1341 and § 1343 including but not limited to: (1) a

May 31, 1996 press release in which the organization claimed there is very little risk of addiction

from the proper use of drugs for pain relief; and (2) telephonic and electronic communications

concealing its relationship with the other members of the Opioid Marketing Enterprise.

       498.     The American Pain Foundation (“APF”) made a number of false and misleading

claims in violation of 18 U.S.C. § 1341 and § 1343 including but not limited to: (1) statements

made by an APF Executive Director to Congress indicating that opioids only rarely lead to

addiction; (2) statements made in a 2002 amicus curiae brief filed with an Ohio appeals court

claiming that the risk of abuse does not justify restricting opioid prescriptions for the treatment

of chronic pain; (3) statements made in a 2007 publication entitled “Treatment Options: A Guide

for People Living with Pain” indicating that the risks of addiction associated with opioid

prescriptions have been overstated; (4) statements made in a 2002 court filing indicating that

opioid users are not “actual addicts;” (5) statements made in a 2007 publication entitled

“Treatment Options: A Guide for People Living with Pain” indicating that even physical




                                                148
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 155 of 162



dependence on opioids does not constitute addiction; (6) claims on its website that there is no

ceiling dose for opioids for chronic pain; (7) statements included in a 2011 guide indicating that

opioids can improve daily function; and (8) telephonic and electronic communications

concealing its relationship with the other members of the Opioid Marketing Enterprise.

       499.    The KOLs, including Drs. Russell Portenoy, Perry Fine, Scott Fishman, and Lynn

Webster, made a number of misleading statements in the mail and wires in violation of 18 U.S.C.

§ 1341 and § 1343, described above, including statements made by Dr. Portenoy in a

promotional video indicating that the likelihood of addiction to opioid medications is extremely

low. Indeed, Dr. Portenoy has since admitted that his statements about the safety and efficacy of

opioids were false.

       500.    The Manufacturing Defendants and Distributor Defendants falsely and

misleadingly used the mails and wires in violation of 18 U.S.C. § 1341 and § 1343. Illustrative

and non-exhaustive examples include the following: (1) the transmission of documents and

communications regarding the sale, shipment, and delivery of excessive quantities of

prescription opioids, including invoices and shipping records; (2) the transmission of documents

and communications regarding their requests for higher aggregate production quotas, individual

manufacturing quotas, and procurement quotas; (3) the transmission of reports to the DEA that

did not disclose suspicious orders as required by law; (4) the transmission of documents and

communications regarding payments, rebates, and chargebacks; (5) the transmission of the actual

payments, rebates, and chargebacks themselves; (6) correspondence between Defendants and

their representatives in front groups and trade organizations regarding efforts to curtail

restrictions on opioids and hobble DEA enforcement actions; (7) the submission of false and

misleading certifications required annually under various agreements between Defendants and




                                                149
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 156 of 162



federal regulators; and (8) the shipment of vast quantities of highly addictive opioids. Defendants

also communicated by U.S. mail, by interstate facsimile, and by interstate electronic mail and

with various other affiliates, regional offices, regulators, distributors, and other third-party

entities in furtherance of the scheme.

       501.    In addition, the Distributor Defendants misrepresented their compliance with laws

requiring them to identify, investigate, and report suspicious orders of prescription opioids and/or

diversion into the illicit market. At the same time, the Distributor Defendants misrepresented the

effectiveness of their monitoring programs, their ability to detect suspicious orders, their

commitment to preventing diversion of prescription opioids, and their compliance with

regulations regarding the identification and reporting of suspicious orders of prescription opioids.

       502.    The mail and wire transmissions described herein were made in furtherance of

Defendants’ Schemes and common course of conduct designed to sell drugs that have little or no

demonstrated efficacy for the pain they are purported to treat in the majority of persons

prescribed them; increase the prescription rate for opioid medications; and popularize the

misunderstanding that the risk of addiction to prescription opioids is low when used to treat

chronic pain, and to deceive regulators and the public regarding Defendants’ compliance with

their obligations to identify and report suspicious orders of prescription opioids, while

Defendants intentionally enabled millions of prescription opioids to be deposited into

communities across the United States, including in Ada County. Defendants’ scheme and

common course of conduct was intended to increase or maintain high quotas for the manufacture

and distribution of prescription opioids and their corresponding high profits for all Defendants.

       503.    Many of the precise dates of the fraudulent uses of the U.S. mail and interstate

wire facilities have been deliberately hidden and cannot be alleged without access to Defendants’




                                                 150
       Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 157 of 162



books and records. However, Plaintiff has described the types of predicate acts of mail and/or

wire fraud, including certain specific fraudulent statements and specific dates upon which,

through the mail and wires, Defendants engaged in fraudulent activity in furtherance of the

Schemes.

       504.    The members of the Enterprises have not undertaken the practices described

herein in isolation, but as part of a common scheme and conspiracy. In violation of 18 U.S.C. §

1962(d), the members of the Enterprises conspired to violate 18 U.S.C. § 1962(c), as described

herein. Various other persons, firms, and corporations, including third-party entities and

individuals not named as defendants in this Complaint, have participated as co-conspirators with

Defendants and the members of the Enterprises in these offenses and have performed acts in

furtherance of the conspiracy to increase or maintain revenue, increase market share, and/or

minimize losses for the Defendants and their named and unnamed co-conspirators throughout the

illegal scheme and common course of conduct.

       505.    The members of the Enterprises aided and abetted others in the violations of the

above laws.

       506.    To achieve their common goals, the members of the Enterprises hid from Plaintiff

and the public: (1) the fraudulent nature of the Marketing Defendants’ marketing scheme; (2) the

fraudulent nature of statements made by Defendants and on behalf of Defendants regarding the

efficacy of and risk of addiction associated with prescription opioids; (3) the fraudulent nature of

the Distributor Defendants’ representations regarding their compliance with requirements to

maintain effective controls against diversion and report suspicious orders of opioids; and (4) the

true nature of the relationship between the members of the Enterprises.




                                                151
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 158 of 162



        507.   Defendants and each member of the Enterprises, with knowledge and intent,

agreed to the overall objectives of the Schemes and participated in the common course of

conduct. Indeed, for the conspiracy to succeed, each of the members of the Enterprises and their

co-conspirators had to agree to conceal their fraudulent scheme.

        508.   The members of the Enterprises knew, and intended that, Plaintiff and the public

would rely on the material misrepresentations and omissions made by them and suffer damages

as a result.

        509.   As described herein, the members of the Enterprises engaged in a pattern of

related and continuous predicate acts for years. The predicate acts constituted a variety of

unlawful activities, each conducted with the common purpose of obtaining significant monies

and revenues from Plaintiff and the public based on their misrepresentations and omissions.

        510.   The predicate acts also had the same or similar results, participants, victims, and

methods of commission.

        511.   The predicate acts were related and not isolated events.

        512.   The true purposes of Defendants’ Schemes were necessarily revealed to each

member of the Enterprises. Nevertheless, the members of the Enterprises continued to

disseminate misrepresentations regarding the nature of prescription opioids and the functioning

of the Schemes.

        513.   Defendants’ fraudulent concealment was material to Plaintiff and the public. Had

the members of the Enterprises disclosed the true nature of prescription opioids and their

excessive distribution, Plaintiff would not have acted as it did or incurred the substantial costs in

responding to the crisis caused by Defendants’ conduct.




                                                152
        Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 159 of 162



        514.   The pattern of racketeering activity described above is currently ongoing and

open-ended and threatens to continue indefinitely unless this Court enjoins the racketeering

activity.

D.      Ada County Has Been Damaged by Defendants’ RICO Violations

        515.   By reason of, and as a result of the conduct of the Enterprises and, in particular,

their patterns of racketeering activity, Ada County has been injured in its business and/or

property in multiple ways, including but not limited to increased health care costs, increased

human services costs, costs related to dealing with opioid-related crimes and emergencies, and

other public safety costs, as fully described above. The County will continue incurring these

substantial costs well into the future. The Marketing Defendants’ deceptive marketing scheme

changed the way physicians prescribe opioids, and together with their systemic undermining of

quotas and institutional controls as well as the failure to report suspicious orders by both the

Manufacturing and Distributor Defendants, Defendants achieved an enormous increase in the

number of opioids sold and distributed across the country and in Ada County. Defendants’

conduct caused injuries to the County’s business and property in the following three categories:

(1) public expenditures made in direct response to opioid use and trafficking, (2) lost tax revenue

resulting from abuse, misuse, and addiction; and (3) losses caused by diminished property

values. Specifically, injuries to the County include the following:

               A.      Losses caused by the decrease in funding available for the County’s public

        services for which funding was lost because it was diverted to other public services

        designed to address the opioid epidemic;

               B.      Costs for providing health care to individuals suffering from opioid-use

        disorder or other opioid-related medical conditions;




                                                153
Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 160 of 162



       C.      Costs for providing mental-health services, treatment, counseling,

rehabilitation services, and social services to victims of the opioid epidemic and their

families;

       D.      Costs for providing treatment of infants born with opioid-related medical

conditions, or born with opioid dependence due to prenatal exposure;

       E.      Costs associated with providing care for children whose parents suffer

from opioid-related disability or incapacitation;

       F.      Costs associated with emergency responses by police officers, firefighters,

and emergency and/or first responders to opioid overdoses, including distributing

naloxone to all units and training all personnel on proper naloxone administration and

overdose response;

       G.      Costs associated with law enforcement and public safety relating to the

opioid epidemic, including but not limited to attempts to stop the flow of opioids into the

community, to arrest and prosecute street-level dealers, to prevent the current opioid

epidemic from spreading and worsening, and to deal with increased crime resulting from

increased drug use; and

       H.      Costs associated with increased burden on the County’s judicial system,

including increased security, increased staff, and the increased cost of adjudicating

criminal matters due to the increase in crime directly resulting from opioid addiction;

       I.      Loss of tax revenue due to the decreased efficiency and size of the

working population in Ada County;

       J.      Losses caused by diminished property values in neighborhoods where the

opioid epidemic has taken root; and




                                        154
          Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 161 of 162



                 K.     Losses caused by diminished property values in the form of decreased

          business investment and tax revenue.

          516.   Defendants’ violations of 18 U.S.C. § 1962(c) and (d) have directly and

proximately caused injuries and damages to Ada County, its community, and the public, and the

County is entitled to bring this action for three times its actual damages, as well as

injunctive/equitable relief, costs, and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c).

                                      PUNITIVE DAMAGES

          517.   Plaintiff reserves the right to seek an amendment to this Complaint to claim punitive

damages. See I.C. § 6-1604.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff Ada County respectfully requests the Court order the following

relief:

          A.     An Order that the conduct alleged herein violates the UDTPA;

          B.     An Order that Plaintiff is entitled to damages pursuant to the UDTPA;

          C.     An Order that Defendants are negligent under Idaho law;

          D.     An Order that Representative Defendants have been unjustly enriched at

 Plaintiff’s expense under Idaho law;

          E.     An Order that Defendants’ conduct constitutes violations of the Racketeer

 Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1961, et seq.;

          F.     An Order that Plaintiff is entitled to treble damages pursuant to RICO;

          G.     An Order that Plaintiff is entitled to recover all measure of damages permissible

 under the statutes identified herein and under common law;

          H.     An Order that Defendants are enjoined from the practices described herein;

          I.     An Order that judgment be entered against Defendants in favor of Plaintiff;




                                                 155
      Case 1:19-cv-00216-CWD Document 1 Filed 06/14/19 Page 162 of 162



        J.    An Order that judgment be entered against Defendants in favor of Plaintiff;

        K.    An Order that Plaintiff is entitled to attorneys’ fees and costs pursuant to any

applicable provision of law; and

        L.    An Order awarding any other and further relief deemed just and proper, including

pre-judgment and post-judgment interest on the above amounts.

                                    JURY TRIAL DEMAND

       Plaintiff demands a trial by jury on all claims and of all issues so triable.

        DATED this 14th day of June, 2019.

 ADA COUNTY                                       KELLER ROHRBACK L.L.P.


 By: /s/ Erica J. White                           Lynn L. Sarko (pro hac vice forthcoming)
 Jan M. Bennetts                                  Derek W. Loeser (pro hac vice forthcoming)
 Ada County Prosecuting Attorney                  Gretchen Freeman Cappio (pro hac vice
 Erica J. White, Idaho State Bar No. 7475         forthcoming)
 Deputy Prosecuting Attorney                      David J. Ko (pro hac vice forthcoming)
 Civil Division                                   Daniel P. Mensher (pro hac vice forthcoming)
 200 W. Front Street, Room 3191                   Alison S. Gaffney (pro hac vice forthcoming)
 Boise, ID 83702                                  Gabriel E. Verdugo (pro hac vice forthcoming)
 Telephone: (208) 287-7700                        1201 Third Avenue, Suite 3200
 Facsimile: (208) 287-7719                        Seattle, WA 98101
 civilpafiles@adaweb.net                          Phone: (206) 623-1900
                                                  Fax: (206) 623-3384
                                                  lsarko@kellerrohrback.com
                                                  dloeser@kellerrohrback.com
                                                  gcappio@kellerrohrback.com
                                                  dko@kellerrohrback.com
                                                  dmensher@kellerrohrback.com
                                                  agaffney@kellerrohrback.com
                                                  gverdugo@kellerrorhback.com


Attorneys for Plaintiff Ada County




                                                156
